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In re                USA Commercial Mortgage Company                            ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                           (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address               Loan Name                 Unremitted Principal
        Donald H. Pinsker, an unmarried man                                        8650 W Verde Way            Del Valle Isleton                                 $6,884.05
                                                                                   Las Vegas, NV
                                                                                   89149
        Donald H. Pinsker, an unmarried man                                        8650 W Verde Way            Oak Shores II                                   $28,668.95
                                                                                   Las Vegas, NV
                                                                                   89149
        Donald M. Berman & Janice I. Berman Trustees of the Donald M. & Janice 3775 Clover Way                 Amesbury/Hatters Point                             $679.74
        I. Berman 1996 Revocable Trust                                             Reno, NV
                                                                                   89509
        Donald N. McCord, a single man                                             2713 Hope Forest Drive      Roam Development Group                            $1,164.97
                                                                                   Las Vegas, NV 89134
        Donald P. Clark Trustee of the Donald P. Clark Family Trust dated 10/25/94 305 W Moana Lane            Bay Pompano Beach                               $25,903.59
                                                                                   Reno, NV
                                                                                   89509
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald S. Tomlin 7145 Beverly Glen Ave            Amesbury/Hatters Point                           $4,078.51
        & Dorothy R. Tomlin Revocable Trust dated 10/24/79                         Las Vegas, NV
                                                                                   89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald S. Tomlin 7145 Beverly Glen Ave            Bay Pompano Beach                               $25,903.59
        & Dorothy R. Tomlin Revocable Trust dated 10/24/79                         Las Vegas, NV
                                                                                   89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald S. Tomlin 7145 Beverly Glen Ave            Freeway 101                                    $166,666.67
        & Dorothy R. Tomlin Revocable Trust dated 10/24/79                         Las Vegas, NV
                                                                                   89110
        Donald S. Tomlin & Dorothy R. Tomlin Trustees of the Donald S. Tomlin 7145 Beverly Glen Ave            The Gardens, LLC $2,425,000                     $20,618.56
        & Dorothy R. Tomlin Revocable Trust dated 10/24/79                         Las Vegas, NV
                                                                                   89110
        Donald W. Brehm, a married man dealing with his sole & separate property 16540 Daily Avenue            Amesbury/Hatters Point                             $679.74
                                                                                   Fountain Valley, CA
                                                                                   92708
        Donna J. Brooks, a single woman                                            5555 N Ocean Blvd # 12      Amesbury/Hatters Point                             $742.26
                                                                                   Ft Lauderdale, FL
                                                                                   33308
        Donna J. Brooks, a single woman                                            5555 N Ocean Blvd # 12      Bay Pompano Beach                               $12,951.80
                                                                                   Ft Lauderdale, FL
                                                                                   33308
        Donna J. Brooks, a single woman                                            5555 N Ocean Blvd # 12      Beastar, LLC                                    $21,792.24
                                                                                   Ft Lauderdale, FL
                                                                                   33308
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family Trust          5860 Lausanne Drive         Amesbury/Hatters Point                           $4,078.51
                                                                                   Reno, NV
                                                                                   89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family Trust          5860 Lausanne Drive         Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Reno, NV
                                                                                   89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family Trust          5860 Lausanne Drive         Cabernet                                        $11,538.46
                                                                                   Reno, NV
                                                                                   89511
        Donna M. Cangelosi Trustee of the Donna M. Cangelosi Family Trust          5860 Lausanne Drive         Universal Hawaii                                $43,207.07
                                                                                   Reno, NV
                                                                                   89511
        Dorothea K Kraft, a unmarried woman                                        1010 Barnegat Lane          Bay Pompano Beach                               $25,903.59
                                                                                   Mantoloking, NJ
                                                                                   8738
        Dorothea K Kraft, a unmarried woman                                        1010 Barnegat Lane          Beastar, LLC                                    $43,584.48
                                                                                   Mantoloking, NJ
                                                                                   8738
        Dorothy J. Shope, a married woman dealing with her sole and separate       2833 Maryland Hills Dr      Bay Pompano Beach                               $12,951.80
        property                                                                   Henderson, NV
                                                                                   89052
        Douglas Minter & Elizabeth F. Minter Trustees of the Minter Family 1994 5389 Conte Drive               Bay Pompano Beach                               $12,951.80
        Trust                                                                      Carson City, NV
                                                                                   89701




SCHEDULES                                                                           Exhibit F-1                                                               PAGE 21
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                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                Loan Name                 Unremitted Principal
        Douglas Tichenor & Susan Tichenor, husband & wife, as joint tenants with 6190 Jensen Street              Preserve at Galleria, LLC                          $400.19
        right of survivorship                                                        Las Vegas, NV
                                                                                     89149
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family Trust        7820 Settlers Ridge Lane    Amesbury/Hatters Point                             $679.74
        dated 11-19-04                                                               Las Vegas, NV
                                                                                     89145
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family Trust        7820 Settlers Ridge Lane    Bay Pompano Beach                               $12,951.80
        dated 11-19-04                                                               Las Vegas, NV
                                                                                     89145
        Doyne J. Carson & Elsie L. Carson Trustees of the Carson Family Trust        7820 Settlers Ridge Lane    Roam Development Group                            $1,164.97
        dated 11-19-04                                                               Las Vegas, NV
                                                                                     89145
        Dr. Damon Paul Walton & Rebecca Jean Walton, husband & wife, as joint 19901 Timbered Estates Lane        Oak Shores II                                    $3,071.67
        tenants with right of survivorship                                           Carlinville, IL
                                                                                     62626
        Dr. Dennis G. Campton Trustee of the Dennis G. Campton, MD PSP dated 5741 Ken's Place                    Bay Pompano Beach                               $20,722.87
        3/16/72                                                                      Pahrump, NV
                                                                                     89060
        Dr. James & Tracy Murphy, Trustees of The Murphy Family Trust                13005 Thunderbolt Dr        Cabernet                                        $23,076.92
                                                                                     Reno, NV
                                                                                     89551
        Dr. Joselito Tan Burgos Jr. a single man                                     30080 Oak Ave               Amesbury/Hatters Point                             $271.90
                                                                                     Aitkin, MN
                                                                                     56431
        Dr. Joselito Tan Burgos Jr. a single man                                     30080 Oak Ave               Roam Development Group                            $1,164.97
                                                                                     Aitkin, MN
                                                                                     56431
        Dr. Russell Gordon Tilley Millar Trustee of the R.G.T. Millar Trust dated 6- 923 Ceres Road              Bay Pompano Beach                               $12,951.80
        28-1988                                                                      Palm Springs, CA
                                                                                     92262
        Dr. Russell Gordon Tilley Millar Trustee of the R.G.T. Millar Trust dated 6- 923 Ceres Road              Preserve at Galleria, LLC                          $520.25
        28-1988                                                                      Palm Springs, CA
                                                                                     92262
        Dr. Stanley Alexander and Florence Alexander, husband and wife, as joint 812 Sweetwater Club Blvd.       Roam Development Group                            $2,143.54
        tenants with the rights of survivorship                                      Longwood, FL
                                                                                     32779
        Drs. Raymond J. Clay, Jr. & Joan Marie Clay, husband & wife, as joint        2794 Vista View Drive       Beastar, LLC                                    $21,792.24
        tenants with right of survivorship                                           Lewisville, TX
                                                                                     75067
        Duane R. Haugarth & Nancy K. Haugarth, husband & wife, as joint tenants 20010 N Alta Loma Dr             Roam Development Group                            $1,164.97
        with right of survivorship                                                   Sun City West, AZ
                                                                                     85375
        Duane Steward and Diane J. Steward, husband and wife, as joint tenants       600 Muirfield Court         Del Valle Isleton                               $11,014.49
        with the right of survivorship                                               Modesto, CA 95356
        Duane U. Deverill Trustee, The Duane U. Deverill Family Trust Dated          774 Mays Blvd #10 PMB 186   Beastar, LLC                                   $217,922.40
        10/25/90, Trust #1                                                           Incline Village, NV
                                                                                     89451
        Dunham Trust Company Trustee of the Frederick W. Kewell IRA                  5426 Hidden Valley CT       Freeway 101                                     $41,666.67
                                                                                     Reno, NV
                                                                                     89502
        Dusk Bennett & Alan Bennett, joint tenants with right of survivorship        14225 S Whisperwood Dr      Beau Rivage Homes/$8,000,000                        $58.39
                                                                                     Reno, NV
                                                                                     89511
        E. C. Yegen a married man dealing with his sole & separate property          P O Box 4900                Bay Pompano Beach                               $12,951.80
                                                                                     Casper, WY
                                                                                     82604
        E. C. Yegen a married man dealing with his sole & separate property          P O Box 4900                Universal Hawaii                                $57,609.45
                                                                                     Casper, WY
                                                                                     82604
        E. Christian Nelson & Dan F. Nelson Co-Trustees of The Reva H. Nelson 172 W 1720 N                       Amesbury/Hatters Point                             $679.74
        Family Trust                                                                 Orem, UT
                                                                                     84057




SCHEDULES                                                                            Exhibit F-1                                                                PAGE 22
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In re                 USA Commercial Mortgage Company                               ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address               Loan Name                 Unremitted Principal
        Earl Howsley, Jr. a married man dealing with his sole & separate property   P O Box 11044                  Amesbury/Hatters Point                           $1,359.49
                                                                                    Reno, NV
                                                                                    89510
        Early R. Christian & Phyllis R. Christian, husband & wife, as joint tenants 313 Torrey Pines Drive         Amesbury/Hatters Point                           $1,359.49
        with right of survivorship                                                  Dayton, NV
                                                                                    89403
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried woman, as 115 S Deer Run Road                 Bay Pompano Beach                               $12,951.80
        joint tenants with right of survivorship                                    Carson City, NV
                                                                                    89701
        Eddie Mayo, an unmarried man & Jocelyne Helzer, an unmarried woman, as 115 S Deer Run Road                 Beau Rivage Homes/$8,000,000                       $145.99
        joint tenants with right of survivorship                                    Carson City, NV
                                                                                    89701
        Edmund G. Gaylord and Betty Boese, husband and wife as joint tenants with 4202 Harbor Blvd                 Del Valle Isleton                                 $2,753.64
        the right of survivorship                                                   Port Charlotte, FL 33952
        Edna P. Wilson, a married woman dealing with her sole & separate property 512 Linden Ave                   Lake Helen Partners                                 $98.02
        & Sloan D. Wilson, an unmarried man, as joint tenants with the right of     Grass Valley, CA 95945
        survivorship
        Edward D. Earl and Marceline Earl, husband and wife, as joint tenants with 121 W Highland Dr               Bay Pompano Beach                               $19,427.69
        the right of survivorship                                                   Henderson, NV
                                                                                    89015
        Edward D. Earl, a married man dealing with his sole and separate property 121 W Highland Dr                Beau Rivage Homes/$8,000,000                       $145.99
                                                                                    Henderson, NV
                                                                                    89015
        Edward D. Earl, a married man dealing with his sole and separate property 121 W Highland Dr                Roam Development Group                            $1,747.45
                                                                                    Henderson, NV
                                                                                    89015
        Edward D. Earl, a married man dealing with his sole and separate property 121 W Highland Dr                Universal Hawaii                                $43,207.07
                                                                                    Henderson, NV
                                                                                    89015
        Edward D. Earl, an unmarried man & Marci Maxwell, an unmarried woman 121 W Highland Dr                     Amesbury/Hatters Point                             $679.74
                                                                                    Henderson, NV
                                                                                    89015
        Edward E. Eyre, Jr. & Carol C. Eyre Co-Trustees of the Edward E. Eyre, Jr. 7456 Brothers Lane              Roam Development Group                            $2,329.94
        1998 Trust dated 12/31/98                                                   Washoe Valley, NV 89704
        Edward G. Loughlin                                                          2636 Golden Sands Dr           Amesbury/Hatters Point                             $543.79
                                                                                    Las Vegas, NV 89128
        Edward J. Quinn & Darlene A. Quinn, husband & wife, as joint tenants with 660 NW Brookhaven Dr             Bay Pompano Beach                               $12,951.80
        right of survivorship                                                       Lee's Summit, MO 64081
        Edward J. Quinn & Darlene A. Quinn, husband & wife, as joint tenants with 660 NW Brookhaven Dr             Freeway 101                                     $41,666.67
        right of survivorship                                                       Lee's Summit, MO 64081
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of The               164 Shorett Drive              Bay Pompano Beach                               $15,542.15
        Schoonover Family Trust dated 2/23/04                                       Friday Harbor, WA 98250
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of The               164 Shorett Drive              Freeway 101                                     $41,666.67
        Schoonover Family Trust dated 2/23/04                                       Friday Harbor, WA 98250
        Edward L. Schoonover & Susan A. Schoonover Co-Trustees of The               164 Shorett Drive              Universal Hawaii                                $28,804.73
        Schoonover Family Trust dated 2/23/04                                       Friday Harbor, WA 98250
        Edwin L. Foreman and Dianne E. Foreman, Trustees of The Edwin and           10109 Shenandoah Drive         Preserve at Galleria, LLC                          $600.29
        Dianne Foreman Trust                                                        Santee, CA
                                                                                    92071
        Edwin L. Hausler, Jr., Trustee for the Edwin Lowell Hausler, Jr. Living     4521 Pisa Dr                   Oak Shores II                                   $10,238.91
        Trust dated 1/3/92                                                          Reno, NV
                                                                                    89509
        Edwin L. Perez, an unmarried man                                            806 N Hudson Avenue            Amesbury/Hatters Point                           $1,087.60
                                                                                    Los Angeles, CA 90038
        Egils N. Grieze, a married man dealing with his sole and separate property 10811 Zoeller Ct.               Bay Pompano Beach                               $25,903.59
                                                                                    Reno, NV
                                                                                    89511
        Eileen V. O'Sullivan, an unmarried woman                                    730 E Probert Rd               Amesbury/Hatters Point                             $407.85
                                                                                    Shelton, WA
                                                                                    98584
        Elan Reddell Trustee of the Elan Reddell Revocable Living Trust dated       6770 Hawaii Kai Dr #1006       Bay Pompano Beach                               $12,951.80
        8/4/03                                                                      Honolulu, HI
                                                                                    96825




SCHEDULES                                                                               Exhibit F-1                                                               PAGE 23
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In re                 USA Commercial Mortgage Company                               ,                                                 Case No. 06-10725-LBR
                                         Debtor                                                                                                (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address                  Loan Name                 Unremitted Principal
        Eldon N. Smith or his successor as Trustee under agreement with Eldon and 370 N Pfeifferhorn Drive            Copper Sage Commerce Center, LLC                $35,750.73
        Caroly Smith Trust dated the 7th day of July 2005                              Alpine, UT
                                                                                       84004
        Elizabeth J. Annin Trustee of Annin Family Trust                               17430 Parthenia St             Bay Pompano Beach                               $12,951.80
                                                                                       Northridge, CA
                                                                                       91325
        Elizabeth Stryks Shaw, a single woman                                          1545 Broadway 308              Cabernet                                          $4,846.15
                                                                                       San Francisco, CA
                                                                                       94109
        Ellis L. Elgart and Sivia V. Elgart, Trustees of the Ellis L. Elgart Revocable 4534 White Cedar Lane          Roam Development Group                            $1,164.97
        Living Trust dated 7/8/02                                                      Delray Beach, FL
                                                                                       33445
        Elmer Eugene Gilbert, Jr., a married man dealing with his sole & separate 81590 Chenel Road                   Bay Pompano Beach                               $12,951.80
        property                                                                       Folsom, LA 70437
        Emil Reynolds & Anna Reynolds, husband & wife                                  982 East County Rd 350 South   Amesbury/Hatters Point                             $706.94
                                                                                       Greencastle, IN
                                                                                       46135
        Emilio J. Angeli & Christine E. Angeli, husband & wife, as joint tenants       9675 Irvine Bay Ct             Amesbury/Hatters Point                             $679.74
        with right of survivorship                                                     Las Vegas, NV 89147
        Equity Trust Company Custodian FBO Gary Moberly beneficiary IRA of             420 Warren Terrance            Roam Development Group                            $1,665.91
        Charles Moberly deceased                                                       Hinsdale, IL
                                                                                       60521
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit Sharing Plan 3640 Fairway Drive                 Lake Helen Partners                                 $98.02
                                                                                       Cameron Park, CA
                                                                                       95682
        Eric C. Disbrow Trustee of the Eric C. Disbrow MD Inc. Profit Sharing Plan 3640 Fairway Drive                 Universal Hawaii                                $28,804.73
                                                                                       Cameron Park, CA
                                                                                       95682
        Eric S. Perlman, an unmarried man                                              P O Box 8636                   Lake Helen Partners                             $11,127.47
                                                                                       Truckee, CA
                                                                                       96162
        Eric S. Perlman, an unmarried man                                              P O Box 8636                   Oak Shores II                                   $20,477.82
                                                                                       Truckee, CA
                                                                                       96162
        Eric T. Erickson & Dolores Y. Erickson, husband & wife, as joint tenants       PO Box 5130                    Beau Rivage Homes/$8,000,000                        $87.58
        with right of survivorship                                                     Reno, NV 89513
        Erika Davis, a married woman dealing with her sole & separate property         6201 E Lake Mead Blvd C111     Beau Rivage Homes/$8,000,000                        $52.49
                                                                                       Las Vegas, NV 89156
        Erin Sullivan & Jean Sullivan                                                  30 Palm Springs Court          Amesbury/Hatters Point                             $679.74
                                                                                       Sparks, NV 89436
        Ernest J. Moore, an unmarried man                                              2028 I St                      Amesbury/Hatters Point                            $1,223.55
                                                                                       Sparks, NV
                                                                                       89431
        Ernie C. Young Trustee of The Ernie C. Young Living Trust dated 9/23/96 P.O. Box 19035                        Cabernet                                        $11,538.46
                                                                                       Jean, NV 89019
        Ernie C. Young Trustee of The Ernie C. Young Living Trust dated 9/23/96 P.O. Box 19035                        Preserve at Galleria, LLC                          $400.19
                                                                                       Jean, NV 89019
        Erven J. Nelson & Frankie J. Nelson Trustees of the Erven J. Nelson &          9032 N. Cheyenne Way           Roam Development Group                            $2,329.94
        Frankie J. Nelson Trust                                                        Park City, UT
                                                                                       84098
        Erven J. Nelson Trustee of the Erven J. Nelson LTD PSP dated 10/31/72          9032 N. Cheyenne Way           Del Valle Isleton                                 $5,507.26
                                                                                       Park city, UT
                                                                                       84098
        Ethel C. Bonaldi-Rausch                                                        10708 Brinkwood Ave            Amesbury/Hatters Point                             $815.70
                                                                                       Las Vegas, NV
                                                                                       89134
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W. Cady &               20 Skyline Circle              Amesbury/Hatters Point                             $897.27
        Sandra L. Cady Trust dated 9/24/85                                             Reno, NV
                                                                                       89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W. Cady &               20 Skyline Circle              Bay Pompano Beach                               $25,903.59
        Sandra L. Cady Trust dated 9/24/85                                             Reno, NV
                                                                                       89509




SCHEDULES                                                                               Exhibit F-1                                                                  PAGE 24
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In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                           (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W. Cady &            20 Skyline Circle           Del Valle Isleton                               $11,014.49
        Sandra L. Cady Trust dated 9/24/85                                          Reno, NV
                                                                                    89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W. Cady &            20 Skyline Circle           The Gardens, LLC Timeshare                        $1,699.89
        Sandra L. Cady Trust dated 9/24/85                                          Reno, NV
                                                                                    89509
        Eugene W. Cady & Sandra L. Cady Trustees of the Eugene W. Cady &            20 Skyline Circle           Universal Hawaii                                $63,370.39
        Sandra L. Cady Trust dated 9/24/85                                          Reno, NV
                                                                                    89509
        Evalyn C. Taylor Trustee of the Evalyn C. Taylor Separate Property Trust 1908 Rolling Dunes Ct          The Gardens, LLC Timeshare                        $1,699.89
        dated 2/17/87                                                               Las Vegas, NV 89117
        Evelyn A. Ives Trustee of the Melvin J. Ives & Evelyn A. Ives Bypass Trust 220 First Street #3          Del Valle Isleton                                 $2,753.64
        dated 1/6/93                                                                Seal Beach, CA
                                                                                    90740
        Evelyn A. Ives Trustee of the Mevin J. Ives & Evelyn A. Ives QTIP Trust 220 First Street #3             Bay Pompano Beach                               $19,427.69
                                                                                    Seal Beach, CA 90740
        Evelyn Finnegan Trustee of the Evelyn Finnegan Revocable Trust dated        5525 W 82nd Street          Universal Hawaii                                $28,804.73
        6/24/03                                                                     Burbank, IL
                                                                                    60459
        Evelyn G. Canepa & Scott Krusee Canepa Trustees of the Evelyn G. Canepa 4330 Mt Gate Dr                 Cabernet                                         $5,769.23
        Trust dated 9/19/00                                                         Reno, NV
                                                                                    89509
        Evelyn Matonovich Trustee of the Matonovich Family Trust dated 5/16/73 29 Pheasant Ridge Dr             Beastar, LLC                                    $21,792.24
        (KWA310590)                                                                 Henderson, NV
                                                                                    89014
        Everett H. Johnston Trustee of the Everett H. Johnston Family Trust dated P O Box 3605                  The Gardens, LLC Timeshare                        $3,399.78
        1/24/90                                                                     Incline Village, NV
                                                                                    89450
        Evie Dean Trustee of the Evie Dean 2000 Trust dated 12/12/00                29 Pheasant Ridge Dr        Beastar, LLC                                    $32,688.36
                                                                                    Henderson, NV
                                                                                    89014
        F. R. Inc. DBA Bombard Electric, a Nevada corporation                       3570 W Post Rd              Roam Development Group                            $7,572.30
                                                                                    Las Vegas, NV
                                                                                    89118
        Farrah M. Hobbs Trustee of the Farrah M. Hobbs Revocable Trust dated        3010 Parchment Court        Amesbury/Hatters Point                           $1,359.49
        3/12/04                                                                     Las Vegas, NV
                                                                                    89117
        Farrah M. Hobbs Trustee of the Farrah M. Hobbs Revocable Trust dated        3010 Parchment Court        Roam Development Group                            $1,164.97
        3/12/04                                                                     Las Vegas, NV
                                                                                    89117
        Fernando Cuza & Kristi Cuza, husband & wife, as joint tenants with right of 426 E MacEwen Dr            Oak Shores II                                   $51,194.54
        survivorship                                                                Osprey, FL
                                                                                    34229
        Fertitta Enterprises, Inc.                                                  2960 W Sahara Ave Ste 200   Colt Gateway                                    $91,162.74
                                                                                    Las Vegas, NV
                                                                                    89102
        First American Title Insurance Company                                      First American Title        Roam Development Group                          $23,299.39
                                                                                    3960 Howard Hughes #380
                                                                                    Las Vegas, NV
                                                                                    89109
        First Regional Bank Custodian For Irwin Levine IRA C/O Pollycomp            10024 Button Willow         Oak Shores II                                   $17,201.37
                                                                                    Las Vegas, NV
                                                                                    89134
        First Regional Bank Custodian For Irwin Levine IRA C/O Pollycomp            10024 Button Willow         Roam Development Group                            $2,329.94
                                                                                    Las Vegas, NV
                                                                                    89134
        First Savings Bank Custodian For Amanda Stevens IRA                         256 Redwing Village Court   Lake Helen Partners                               $1,339.88
                                                                                    Henderson, NV
                                                                                    89012
        First Savings Bank Custodian For Anthony Christian IRA                      3369 Shallow Pond           Amesbury/Hatters Point                             $815.70
                                                                                    Las Vegas, NV
                                                                                    89117




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 25
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In re                USA Commercial Mortgage Company                     ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                   (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                     Mailing Address              Loan Name                  Unremitted Principal
        First Savings Bank Custodian for Barbara A. Cecil IRA            899 Timberlake Drive           Oak Shores II                                   $18,430.03
                                                                         Ashland, OR
                                                                         97520
        First Savings Bank Custodian For Bernard Sindler IRA             2112 Plaza Del Fuentes         Amesbury/Hatters Point                             $815.70
                                                                         Las Vegas, NV
                                                                         89102
        First Savings Bank Custodian For Cesari Piazza IRA               1401 Monterey Drive            Bay Pompano Beach                               $19,427.69
                                                                         Boulder City, NV
                                                                         89005
        First Savings Bank Custodian For Daniel O. Conner, IRA           5231 Suzy Saly Place           Amesbury/Hatters Point                             $462.23
                                                                         Las Vegas, NV
                                                                         89122
        First Savings Bank Custodian For Daniel T. Drubin IRA            1363 W Stony Run Pl            Roam Development Group                            $1,164.97
                                                                         Oro Valley, AZ
                                                                         85755
        First Savings Bank Custodian For David M. Berkowitz SEP/IRA      2013 Ottawa Drive              Bay Pompano Beach                               $12,951.80
                                                                         Las Vegas, NV
                                                                         89109
        First Savings Bank Custodian For Dennis Flier IRA                20155 Porto Vita Way 1803      Amesbury/Hatters Point                             $590.33
                                                                         Aventura, FL
                                                                         33180
        First Savings Bank Custodian For Dennis J. Dalton, IRA           P O Box 402                    Amesbury/Hatters Point                           $3,262.80
                                                                         Hatch, UT
                                                                         84735
        First Savings Bank Custodian for Donald C. Dunbar IRA            18124 Wedge Pkwy # 153         Amesbury/Hatters Point                           $3,503.49
                                                                         Reno, NV
                                                                         89511
        First Savings Bank Custodian For Dr. Damon Paul Walton IRA       19901 Timbered Estates Lane    Oak Shores II                                    $7,167.24
                                                                         Carlinville, IL
                                                                         62626
        First Savings Bank Custodian For Earlene E Fitzner IRA           7456 W Mulford Street          Amesbury/Hatters Point                           $1,087.60
                                                                         Niles, IL
                                                                         60714
        First Savings Bank Custodian For Edward Burgess IRA              P O Box 422                    Amesbury/Hatters Point                           $2,039.24
                                                                         Royal, AR
                                                                         71968
        First Savings Bank Custodian For Edward Burgess IRA              P O Box 422                    Beau Rivage Homes/$8,000,000                        $72.99
                                                                         Royal, AR
                                                                         71968
        First Savings Bank Custodian For Edward Galvin IRA               3970 Saddlewood Court          Beau Rivage Homes/$8,000,000                       $145.99
                                                                         Las Vegas, NV
                                                                         89121
        First Savings Bank Custodian For Ernest W. Libman, IRA           1709 Glenview Drive            Amesbury/Hatters Point                             $380.66
                                                                         Las Vegas, NV
                                                                         89134
        First Savings Bank Custodian For Gordon Cross IRA                5009 Forest Oaks               Amesbury/Hatters Point                             $489.42
                                                                         Las Vegas, NV
                                                                         89129
        First Savings Bank Custodian For Gordon Cross IRA                5009 Forest Oaks               Beau Rivage Homes/$8,000,000                        $58.39
                                                                         Las Vegas, NV
                                                                         89129
        First Savings Bank Custodian For Harriet Kutzman IRA             2529 High Range Drive          Universal Hawaii                                $34,565.66
                                                                         Las Vegas, NV
                                                                         89134
        First Savings Bank Custodian For Ian Yamane IRA                  2304 Silver Bluff Ct           Amesbury/Hatters Point                             $761.31
                                                                         Las Vegas, NV
                                                                         89134
        First Savings Bank Custodian For Jack Mennis IRA                 4074 Little Spring Drive       Bay Pompano Beach                               $51,807.18
                                                                         Allison Park, PA
                                                                         15101
        First Savings Bank Custodian For Jack Mennis IRA                 4074 Little Spring Drive       Beastar, LLC                                    $43,584.48
                                                                         Allison Park, PA
                                                                         15101




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                                       Debtor                                                                                   (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                    Mailing Address               Loan Name                 Unremitted Principal
        First Savings Bank Custodian For Jack Mennis IRA                4074 Little Spring Drive       Oak Shores II                                   $20,477.82
                                                                        Allison Park, PA
                                                                        15101
        First Savings Bank Custodian For Janice A. Lucas, IRA           1310 Secret Lake Loop          Bay Pompano Beach                               $12,951.80
                                                                        Lincoln, CA
                                                                        95648
        First Savings Bank Custodian For Jeff Abodeely IRA              2257 Sapphire Ridge Way        Beau Rivage Homes/$8,000,000                        $72.99
                                                                        Reno, NV
                                                                        89523
        First Savings Bank Custodian For John Bauer IRA                 40808 N. Riverbend             Freeway 101                                    $166,666.67
                                                                        Anthem, AZ
                                                                        85086
        First Savings Bank Custodian For John Bauer IRA                 40808 N. Riverbend             Universal Hawaii                               $115,218.87
                                                                        Anthem, AZ
                                                                        85086
        First Savings Bank Custodian For John Cooke IRA                 9790 Brightridge Drive         Beau Rivage Homes/$8,000,000                        $72.99
                                                                        Reno, NV
                                                                        89506
        First Savings Bank Custodian For John Lloyd IRA                 6050 Glowing Cottage Ct        Amesbury/Hatters Point                           $1,468.27
                                                                        Las Vegas, NV
                                                                        89139
        First Savings Bank Custodian For Jorg U. Lenk IRA               10636 Bardilino Street         Del Valle Isleton                                 $2,753.64
                                                                        Las Vegas, NV
                                                                        89141
        First Savings Bank Custodian For Kenneth Addes IRA              100 W Broadway Apt # 7V        Roam Development Group                            $2,329.94
                                                                        Long Beach, NY
                                                                        11561
        First Savings Bank Custodian For Kenneth H. Wyatt IRA           P O Box 370400                 Roam Development Group                            $1,164.97
                                                                        Las Vegas, NV
                                                                        89137
        First Savings Bank Custodian For Kevin Taylor IRA               P O Box 911209                 Amesbury/Hatters Point                             $380.66
                                                                        St. George, UT
                                                                        84791
        First Savings Bank Custodian For Kevin Taylor IRA               P O Box 911209                 Bay Pompano Beach                               $22,018.06
                                                                        St. George, UT
                                                                        84791
        First Savings Bank Custodian For Kevin Taylor IRA               P O Box 911209                 Beastar, LLC                                    $21,792.24
                                                                        St. George, UT
                                                                        84791
        First Savings Bank Custodian For L. Earle Romak IRA             P O Box 6185                   Amesbury/Hatters Point                           $1,359.49
                                                                        Incline Village, NV
                                                                        89450
        First Savings Bank Custodian For Lance M. Patrick IRA           4122 E McLellan # 3            Bay Pompano Beach                               $13,728.93
                                                                        Mesa, AZ
                                                                        85205
        First Savings Bank Custodian For Lloyd Frey IRA                 16 Meredith Drive              Amesbury/Hatters Point                            $2,039.25
                                                                        Nashua, NH
                                                                        3063
        First Savings Bank Custodian For Louise Teeter IRA Rollover     4201 Via Marina 300            Amesbury/Hatters Point                             $815.70
                                                                        Marina Del Rey, CA
                                                                        90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover     4201 Via Marina 300            Bay Pompano Beach                               $15,801.19
                                                                        Marina Del Rey, CA
                                                                        90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover     4201 Via Marina 300            Universal Hawaii                                $47,239.74
                                                                        Marina Del Rey, CA
                                                                        90292
        First Savings Bank Custodian For Lynda L. Pinnell IRA           9915 Saddleback Drive          The Gardens, LLC $2,425,000                     $14,639.18
                                                                        Lakeside, CA
                                                                        92040
        First Savings Bank Custodian For Manuel G. Rice IRA             2061 Sea Cove Lane             Freeway 101                                     $41,666.67
                                                                        Costa Mesa, CA
                                                                        92627




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                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                     Mailing Address               Loan Name                 Unremitted Principal
        First Savings Bank Custodian for Mary Ann Rees IRA               2304 Sun Cliffs Street         Bay Pompano Beach                               $12,951.80
                                                                         Las Vegas, NV
                                                                         89134
        First Savings Bank Custodian for Mary Ann Rees IRA               2304 Sun Cliffs Street         Preserve at Galleria, LLC                          $336.16
                                                                         Las Vegas, NV
                                                                         89134
        First Savings Bank Custodian For Mary Coleman IRA                2270 Silver Ridge Circle       Amesbury/Hatters Point                             $815.70
                                                                         Reno, NV
                                                                         89059
        First Savings Bank Custodian For Mary Coleman IRA                2270 Silver Ridge Circle       Bay Pompano Beach                               $13,728.93
                                                                         Reno, NV
                                                                         89059
        First Savings Bank Custodian For Mary Jellison IRA               1415 Lakeview Ave South        Roam Development Group                            $1,397.97
                                                                         Minneapolis, MN
                                                                         55416
        First Savings Bank Custodian For Mary Monica Cady IRA            3261 Waterview Ct              Amesbury/Hatters Point                           $1,359.50
                                                                         Hayward, CA
                                                                         94542
        First Savings Bank Custodian For Melissa A. Virts IRA            5925 Bar Harbor Crt            Roam Development Group                            $1,164.97
                                                                         Elk Grove, CA
                                                                         95758
        First Savings Bank Custodian For Michael H. Greeley IRA          5631 Granary Way               Roam Development Group                            $1,164.97
                                                                         Athens , AL
                                                                         35611
        First Savings Bank Custodian For Michael Ledbetter IRA           P O Box 2246                   Oak Shores II                                   $10,238.91
                                                                         Roseburg, OR
                                                                         97470
        First Savings Bank Custodian For Michael S. Braida IRA           1168 Dover Lane                Bay Pompano Beach                               $12,951.80
                                                                         Foster City, CA
                                                                         94404
        First Savings Bank Custodian for Nancy Brauer IRA                2222 Albion Street             Bay Pompano Beach                               $12,951.80
                                                                         Denver, CO
                                                                         80207
        First Savings Bank Custodian For Nancy C. Serino IRA             177 Rainbow Dr #7730           The Gardens, LLC Timeshare                        $1,699.89
                                                                         Livingston, TX
                                                                         77399
        First Savings Bank Custodian For Pat Davis IRA                   104 Van Buren Court            Amesbury/Hatters Point                           $1,359.49
                                                                         Colleyville, TX
                                                                         76034
        First Savings Bank Custodian For Pat Davis IRA                   104 Van Buren Court            Beau Rivage Homes/$8,000,000                       $145.99
                                                                         Colleyville, TX
                                                                         76034
        First Savings Bank Custodian For Pat Davis IRA                   104 Van Buren Court            Oak Shores II                                   $14,334.47
                                                                         Colleyville, TX
                                                                         76034
        First Savings Bank Custodian for Paula S. Bender IRA             733 Champagne                  Oak Shores II                                   $51,194.54
                                                                         Incline Village, NV
                                                                         89451
        First Savings Bank Custodian For Phyllis P. Wyatt IRA            P O Box 370400                 Bay Pompano Beach                               $12,951.80
                                                                         Las Vegas, NV
                                                                         89137
        First Savings Bank Custodian For Phyllis P. Wyatt IRA            P O Box 370400                 Roam Development Group                            $1,164.97
                                                                         Las Vegas, NV
                                                                         89137
        First Savings Bank Custodian For R. David Ferrera IRA            621 Mills Road                 Cabernet                                        $11,538.46
                                                                         Sacramento, CA
                                                                         95864
        First Savings Bank Custodian For Randy Sanchez IRA               5713 N White Sands Rd          Cabernet                                        $11,538.46
                                                                         Reno, NV
                                                                         89511
        First Savings Bank Custodian For Randy Sanchez IRA               5713 N White Sands Rd          The Gardens, LLC Timeshare                        $2,549.84
                                                                         Reno, NV
                                                                         89511




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                                        Debtor                                                                                    (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                   Mailing Address                 Loan Name                 Unremitted Principal
        First Savings Bank Custodian For Rena DeHart IRA                NULL                             Amesbury/Hatters Point                           $1,114.78
                                                                        NULL
                                                                        NULL, NULL
        First Savings Bank Custodian For Richard McKnight IRA           330 South Third Street           Roam Development Group                            $2,329.94
                                                                        Las Vegas, NV
                                                                        89101
        First Savings Bank Custodian For Richard Small IRA              4801 Calle Santa Cruz            Amesbury/Hatters Point                             $679.74
                                                                        Prescott Valley, AZ
                                                                        86314
        First Savings Bank Custodian For Richard Small IRA              4801 Calle Santa Cruz            Del Valle Isleton                                 $4,020.28
                                                                        Prescott Valley, AZ
                                                                        86314
        First Savings Bank Custodian For Robert A. Schell IRA           855 Blue Spruce Rd               Brookmere/Matteson $27,050,000                     $318.65
                                                                        Reno, NV
                                                                        89511
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel                 Bay Pompano Beach                               $12,951.80
                                                                        El Paso, TX
                                                                        79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel                 Freeway 101                                     $49,166.67
                                                                        El Paso, TX
                                                                        79903
        First Savings Bank Custodian For Robert G. Fuller IRA           5172 English Daisy Way           Del Valle Isleton                                 $3,304.34
                                                                        Las Vegas, NV
                                                                        89142
        First Savings Bank Custodian For Robert J. D'Ambrosio IRA       14 Madrono Court                 Oak Shores II                                   $40,955.63
                                                                        Corte Madera, CA
                                                                        94925
        First Savings Bank Custodian For Robert L. Shurley IRA          4501 Gun Smoke Circle            Roam Development Group                            $1,747.45
                                                                        North Las Vegas, NV
                                                                        89031
        First Savings Bank Custodian For Roger Canary IRA               561 Calle de La Plata            Amesbury/Hatters Point                            $1,359.50
                                                                        Sparks, NV
                                                                        89436
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place             Amesbury/Hatters Point                             $679.74
                                                                        Los Angeles, CA
                                                                        90064
        First Savings Bank Custodian For Sharon E. Presswood IRA        9227 Arbor Trail Drive           Amesbury/Hatters Point                            $1,359.49
                                                                        Dallas, TX
                                                                        75243
        First Savings Bank custodian for Shellie Hilgenberg IRA         370 Pinecrest Dr                 Amesbury/Hatters Point                            $1,912.67
                                                                        Laguna beach, CA
                                                                        92651
        First Savings Bank Custodian For Steven A. Shane IRA            1810 Lakeland Hills Dr           Amesbury/Hatters Point                             $679.74
                                                                        Reno, NV
                                                                        89523
        First Savings Bank Custodian For Susan Davis IRA                104 Van Buren Court              Amesbury/Hatters Point                             $543.80
                                                                        Colleyville, TX
                                                                        76034
        First Savings Bank Custodian For Susan Davis IRA                104 Van Buren Court              Beau Rivage Homes/$8,000,000                        $58.39
                                                                        Colleyville, TX
                                                                        76034
        First Savings Bank Custodian For Tana Stigile IRA               4110 Santa Fe Drive              Bay Pompano Beach                               $12,951.80
                                                                        Fallon, NV
                                                                        89406
        First Savings Bank Custodian For Timothy J. Porter IRA          8970 S Bank Dr                   Oak Shores II                                   $40,955.63
                                                                        Roseburg, CA
                                                                        97470
        First Savings Bank Custodian For Todd C. Maurer IRA             3100 Chino Hills Pkwy Apt 1411   Bay Pompano Beach                               $15,024.10
                                                                        Chino Hills, CA
                                                                        91709
        First Savings Bank Custodian For Walter E. White IRA            2101 Calle De Espana             Bay Pompano Beach                               $12,951.80
                                                                        Las Vegas, NV
                                                                        89146




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                                        Debtor                                                                                     (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                       Mailing Address               Loan Name                 Unremitted Principal
        First Savings Bank Custodian For William A. Carone IRA             3125 Quarry Road               Amesbury/Hatters Point                             $407.85
                                                                           Manchester, NJ
                                                                           8759
        First Savings Bank Custodian for William L. Montgomery Jr. IRA     630 Garfield St                Preserve at Galleria, LLC                          $632.31
                                                                           Denver, CO
                                                                           80206
        First Savings Bank Custodian For William M. Bettencourt, Jr. IRA   52 Williams Dr.                Oak Shores II                                   $10,238.91
                                                                           Moraga, CA
                                                                           94556
        First Trust Co. Of Onaga Custodian For Bennie N. Revello, IRA      9728 Terrace Green Ave         Amesbury/Hatters Point                           $1,359.49
                                                                           Las Vegas, NV
                                                                           89117
        First Trust Co. Of Onaga Custodian For Bennie N. Revello, IRA      9728 Terrace Green Ave         Bay Pompano Beach                               $19,427.69
                                                                           Las Vegas, NV
                                                                           89117
        First Trust Co. Of Onaga Custodian For Brenda J. High IRA          2884 E Point Dr                Beastar, LLC                                    $21,792.24
                                                                           Chesapeake, VA
                                                                           23321
        First Trust Co. Of Onaga Custodian For Charles D. Cunningham IRA   1964 Oliver Springs Street     Amesbury/Hatters Point                             $842.89
                                                                           Henderson, NV
                                                                           89052
        First Trust Co. Of Onaga Custodian For David C. Coulson IRA        2050 Blue Spruce Rd            Oak Shores II                                   $20,477.82
                                                                           Reno, NV
                                                                           89511
        First Trust Co. Of Onaga Custodian For DeVera Cline IRA            1860 Papago Lane               Amesbury/Hatters Point                           $1,196.35
                                                                           Las Vegas, NV
                                                                           89109
        First Trust Co. Of Onaga Custodian For Donald Olsen IRA            8728 Castleview Ave            Amesbury/Hatters Point                             $244.71
                                                                           Las Vegas, NV
                                                                           89129
        First Trust Co. Of Onaga Custodian For Eileen Marie Lakin IRA      2727 Amy Court                 Amesbury/Hatters Point                             $299.09
                                                                           Mount Shasta, CA
                                                                           96067
        First Trust Co. Of Onaga Custodian For Georgette Aldrich IRA       2117 Las Flores Street         Amesbury/Hatters Point                           $1,441.06
                                                                           Las Vegas, NV
                                                                           89102
        First Trust Co. Of Onaga Custodian For Glenda Lambert Sibley IRA   16326 W Willow Creek Lane      Amesbury/Hatters Point                           $1,087.60
                                                                           Surprise, AZ
                                                                           85374
        First Trust Co. Of Onaga Custodian for Hamilton M. High IRA        2884 East Point Drive          Beastar, LLC                                    $21,792.24
                                                                           Chesapeake, VA
                                                                           23321
        First Trust Co. Of Onaga Custodian For Herbert W. Mueller IRA      2479 San Sebastian             Oak Shores II                                   $12,286.69
                                                                           Los Osos, CA
                                                                           93402
        First Trust Co. Of Onaga Custodian For Jean-Jacques LeBlanc IRA    P O Box 6434                   Oak Shores II                                   $10,238.91
                                                                           Incline Village, NV
                                                                           89450
        First Trust Co. Of Onaga Custodian For Karen S. Moberly IRA        420 Warren Terrace             Bay Pompano Beach                               $25,903.59
                                                                           Hinsdale, IL
                                                                           60521
        First Trust Co. Of Onaga Custodian For Lynda M. Settle IRA         1001 S 9th Street              Amesbury/Hatters Point                             $679.74
                                                                           Mena, AR
                                                                           71953
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA          2578 Highmore Avenue           Preserve at Galleria, LLC                         $1,600.77
                                                                           Henderson, NV
                                                                           89052
        First Trust Co. Of Onaga Custodian For Patricia Darnold IRA        2061 Sapphire Valley Ave       Amesbury/Hatters Point                             $326.28
                                                                           Henderson, NV
                                                                           89074
        First Trust Co. of Onaga Custodian For Robert Speckert IRA         2128 Red Dawn Sky St           Bay Pompano Beach                               $32,379.49
                                                                           Las Vegas, NV
                                                                           89134




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                                       Debtor                                                                                           (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address               Loan Name                 Unremitted Principal
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA                    8728 Castle View Ave         Amesbury/Hatters Point                           $1,957.68
                                                                                  Las Vegas, NV
                                                                                  89129
        Fiserv ISS & Co. Custodian for Raymond E. Brown IRA                       24 Danbury Lane              Universal Hawaii                                $12,684.01
                                                                                  Irvine, CA
                                                                                  92618
        Florence Bolatin Trustee of the Florence Bolatin Living Trust dated       2105 Diamond Brook Ct        Bay Pompano Beach                               $12,951.80
        10/28/93                                                                  Las Vegas, NV
                                                                                  89117
        Florence Bolatin Trustee of the Florence Bolatin Living Trust dated       2105 Diamond Brook Ct        Beau Rivage Homes/$8,000,000                        $43.76
        10/28/93                                                                  Las Vegas, NV
                                                                                  89117
        Floyd M. Spindle an unmarried man transferable on death to A. Cherryl     706 N E 22nd Street          Del Valle Isleton                                 $2,753.64
        Sergeant                                                                  Grand Prairie, TX
                                                                                  75050
        Ford S. Dunton, a married man dealing with his sole & separate property   1119 Ironwood Pkwy           Amesbury/Hatters Point                           $1,359.49
                                                                                  Coeur D'Alene, ID
                                                                                  83814
        Ford S. Dunton, a married man dealing with his sole & separate property   1119 Ironwood Pkwy           Roam Development Group                            $1,164.97
                                                                                  Coeur D'Alene, ID
                                                                                  83814
        Fraley Limited Partnership, a Nevada limited partnership                  9030 W Sahara Ave #240       Bay Pompano Beach                               $25,903.59
                                                                                  Las Vegas, NV
                                                                                  89117
        Fraley Limited Partnership, a Nevada limited partnership                  9030 W Sahara Ave #240       Roam Development Group                            $4,659.87
                                                                                  Las Vegas, NV
                                                                                  89117
        Frances E. Phillips, Trustee of the Phillips Family Trust dated 10/24/89  2275 Schooner Circle         Bay Pompano Beach                               $12,951.80
                                                                                  Reno, NV 89509
        Francis Howard Trustee of the Jaime Kefalas Trust                         7 Commerce Center Drive #A   Roam Development Group                            $1,164.97
                                                                                  Henderson, NV
                                                                                  89014
        Francis J. Karlin Trustee of the Karlin Trust dated 3/3/89                4009 Cutting Horse St        Amesbury/Hatters Point                            $2,718.99
                                                                                  North Las Vegas, NV
                                                                                  89032
        Francis R. Begnoche, an unmarried man & Christopher M. Begnoche, an       685 Moonlight Mesa Dr        Amesbury/Hatters Point                             $951.65
        unmarried man, as joint tenants with right of survivorship                Henderson, NV
                                                                                  89015
        Frank Charles Ruegg, Jr. & Margaret S. Ruegg Trustees of The Ruegg        107 Navigator Lane           Oak Shores II                                   $15,358.36
        Living Trust dated 11/28/94                                               Friday Harbor, WA
                                                                                  98250
        Frank Davenport, a single man                                             3372 Narod Street            Amesbury/Hatters Point                             $742.26
                                                                                  Las Vegas, NV 89121
        Frank Davenport, a single man                                             3372 Narod Street            Beau Rivage Homes/$8,000,000                       $291.90
                                                                                  Las Vegas, NV 89121
        Frank E. Ensign, a single man                                             P O Box 61770                Bay Pompano Beach                               $19,427.69
                                                                                  Boulder City, NV
                                                                                  89006
        Frank J. Belmonte Trustee of the Belmonte Family Trust                    3 Deerwood East              Brookmere/Matteson $27,050,000                      $77.66
                                                                                  Irvine, CA
                                                                                  92714
        Frank Reale, a single man                                                 6908 Emerald Springs         Beau Rivage Homes/$8,000,000                       $175.15
                                                                                  Las Vegas, NV
                                                                                  89113
        Frank S. Wasko, Trustee of the Frank S. Wasko Revocable Trust dated 5-21- 6222 W Wickieup Ln           Bay Pompano Beach                               $32,379.49
        02                                                                        Glendale, AZ
                                                                                  85308
        Frank Snopko Trustee of the Charlotte Snopko Marital Trust dated 8/31/04 278 Sussex Pl                 Preserve at Galleria, LLC                         $2,000.97
                                                                                  Carson City, NV
                                                                                  89701
        Frank T. Novak & Patricia A. Novak Trustees of the Novak Living Trust dtd 2593 Sumter St               Bay Pompano Beach                               $12,951.80
        10/21/97                                                                  Henderson, NV
                                                                                  89052




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                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Frank W. Richardson & Margaret S. Richardson Trustees of the Richardson 8 Corte Ladino                  Roam Development Group                            $1,164.97
        Family Trust Under Agreement dated 11/2/88                                San Clemente, CA
                                                                                  92673
        Franz J. Zimmer Trustee of the Franz J. Zimmer Revocable Trust dated      900 Spring Lake Ct            Bay Pompano Beach                               $25,903.59
        02/05/97                                                                  St Augustine, FL
                                                                                  32080
        Fred G. Altenburg, an unmarried man                                       2220 Schroeder Way            Lake Helen Partners                                 $98.02
                                                                                  Sparks , NV
                                                                                  89431
        Fred Holland & Marjorie Holland Trustees of the The Holland Family Trust 606 Bryant Court               Amesbury/Hatters Point                             $679.74
        dated 1993                                                                Boulder City, NV
                                                                                  89005
        Fred Holland & Marjorie Holland Trustees of the The Holland Family Trust 606 Bryant Court               Copper Sage Commerce Center, LLC                $17,875.36
        dated 1993                                                                Boulder City, NV
                                                                                  89005
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft Living Trust P O Box 362                   Oak Shores II                                   $10,238.91
        dated 1/10/02                                                             Carnelian Bay, CA
                                                                                  96140
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft Living Trust P O Box 362                   Preserve at Galleria, LLC                          $400.19
        dated 1/10/02                                                             Carnelian Bay, CA
                                                                                  96140
        Fred Vogel & Janis Moore Vogel, husband & wife, as joint tenants with     1710 Cedar Street             Amesbury/Hatters Point                             $679.74
        right of survivorship                                                     Calistoga, CA
                                                                                  94515
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84              189 International Blvd        Bay Pompano Beach                               $12,951.80
                                                                                  Rancho Mirage, CA
                                                                                  92270
        Frederick P. Windisch Trustee of the Windisch 1998 Living Trust           P O Box 626                   Bay Pompano Beach                               $12,951.80
                                                                                  Lake Havasu City, AZ
                                                                                  86405
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust dated      5426 Hidden Valley Ct         Amesbury/Hatters Point                           $1,359.49
        7/18/89                                                                   Reno, NV
                                                                                  89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust dated      5426 Hidden Valley Ct         Roam Development Group                            $1,164.97
        7/18/89                                                                   Reno, NV
                                                                                  89502
        Freedom Properties, Inc.                                                  1820 Star Pine Ct             Bay Pompano Beach                               $12,951.80
                                                                                  Reno, NV 89523
        Freedom Properties, Inc.                                                  1820 Star Pine Ct             Roam Development Group                            $1,164.97
                                                                                  Reno, NV 89523
        Freeman L. Rosebrooks, An Unmarried Man                                   2008 Marconi Way              Beau Rivage Homes/$8,000,000                       $145.99
                                                                                  South Lake Tahoe, CA
                                                                                  96150
        Frieda Mathes, a married woman dealing with her sole & separate property 2232 Spring Water Dr           Amesbury/Hatters Point                             $785.24
                                                                                  Las Vegas, NV
                                                                                  89134
        Frieda Moon Trustee of The Decedent's Trust of the Restated Moon 1987     2504 Callita Court            Bay Pompano Beach                               $12,951.80
        Irrevocable Trust dated 6/12/87                                           Las Vegas, NV
                                                                                  89102
        Fusayo Nelson, an unmarried woman                                         2005 Fife Drive               Beau Rivage Homes/$8,000,000                       $233.60
                                                                                  Reno, NV
                                                                                  89512
        G. Richard & F. A. Kindred Trustees of the Kindred Family Trust dated     2155 Skyline Boulevard        Roam Development Group                            $2,329.94
        3/17/97                                                                   Reno, NV
                                                                                  89509
        Gaetano Ambrosino & Orsola Ambrosino, husband & wife                      4872 Knollwood Drive          Beastar, LLC                                    $21,792.24
                                                                                  Las Vegas, NV
                                                                                  89147
        Gail M. Hock, a married woman dealing with her sole & separate property 2881 Sagittarius Drive          Bay Pompano Beach                               $12,951.80
                                                                                  Reno, NV
                                                                                  89509
        Gail R. Hodes Trustee of the Gail Hodes Living Trust dated 9/10/03        16872 Baruna Lane             Universal Hawaii                                $28,810.89
                                                                                  Huntington Beach, CA
                                                                                  92649




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 32
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                                       Debtor                                                                                          (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                           Mailing Address              Loan Name                  Unremitted Principal
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz Revocable Living 1320 N Street # 29            Amesbury/Hatters Point                           $1,767.35
        Trust dated 12/10/03                                                      Santa Rosa, CA
                                                                                  95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz Revocable Living 1320 N Street # 29            Bay Pompano Beach                               $38,855.38
        Trust dated 12/10/03                                                      Santa Rosa, CA
                                                                                  95404
        Gareth A. R. Craner Trustee of the Craner Family Trust Under Agreement P O Box 1284                   Bay Pompano Beach                               $12,951.80
        dated 2/23/99                                                             Minden, NV
                                                                                  89423
        Gareth A. R. Craner Trustee of the Craner Family Trust Under Agreement P O Box 1284                   Universal Hawaii                                $28,804.73
        dated 2/23/99                                                             Minden, NV
                                                                                  89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust Dtd 6/01/02 P O Box 1284                 Bay Pompano Beach                               $12,951.80
                                                                                  Minden, NV
                                                                                  89423
        Gary A. Michelsen, an unmarried man                                       P Box 2010                  Bay Pompano Beach                               $38,855.38
                                                                                  Stateline, NV
                                                                                  89449
        Gary A. Michelsen, an unmarried man                                       P Box 2010                  Oak Shores II                                   $10,238.91
                                                                                  Stateline, NV
                                                                                  89449
        Gary A. Michelsen, an unmarried man                                       P Box 2010                  Roam Development Group                            $1,747.45
                                                                                  Stateline, NV
                                                                                  89449
        Gary Deppe, A single man                                                  5961 Cross Rd               Roam Development Group                            $2,329.94
                                                                                  Seguin, TX
                                                                                  78155
        Gary E. Topp, a married man dealing with his sole & separate property     P O Box 3008                Cabernet                                        $11,538.46
                                                                                  Grass Valley, CA
                                                                                  95945
        Gary E. Topp, a married man dealing with his sole & separate property     P O Box 3008                Freeway 101                                     $41,666.67
                                                                                  Grass Valley, CA
                                                                                  95945
        Gary I. Miller & Barbara L. Miller Trustees of the Gary I. & Barbara L.   2832 Tilden Avenue          The Gardens, LLC Timeshare                        $1,699.89
        Miller Trust dated 08/13/87                                               Los Angeles, CA
                                                                                  90064
        Gary K Ashworth, a married man dealing with his sole & separate property 3232 Shoreline Drive         Beastar, LLC                                    $21,792.24
        & Dan Schapiro, a married man dealing with his sole & separate property, Las Vegas, NV
        as Tenants in Common                                                      89117
        Gary Larson & Dolores Larson, husband & wife, as joint tenants with right 544 Rolling Hills Dr        Bay Pompano Beach                               $20,722.87
        of survivorship                                                           Mesquite, NV
                                                                                  89027
        Gary Larson & Dolores Larson, husband & wife, as joint tenants with right 544 Rolling Hills Dr        Beau Rivage Homes/$8,000,000                       $145.99
        of survivorship                                                           Mesquite, NV
                                                                                  89027
        Gary N. Taylor Trustee of the Gary N. Taylor PSP                          532 College Drive #313      Beastar, LLC                                    $21,792.24
                                                                                  Henderson, NV 89015
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint tenants with   4645 Rio Encantado Ln       Roam Development Group                            $2,329.94
        right of survivorship                                                     Reno, NV
                                                                                  89502
        Gary T. Canepa & Lori R. Canepa Trustees of the G. & L. Trust dated       14170 Powder River Dr.      Cabernet                                        $23,076.92
        11/25/91                                                                  Reno, NV 89511
        Gary Tebbutt, an unmarried man                                            3723 Vancouver Drive        Amesbury/Hatters Point                             $135.94
                                                                                  Reno, NV
                                                                                  89511
        GDSS Investors LLC, a Colorado limited liability company                  6223 Buffalo Run            Cabernet                                         $6,923.08
                                                                                  Littleton, CO 80125
        Gene Montoya, an unmarried man and Angela J. Howard, an unmarried         2700 Prism Cavern Ct        Beau Rivage Homes/$8,000,000                        $72.99
        woman, as joint tenants with right of survivorship                        Henderson, AK
                                                                                  89052
        George Adornato and Arlene Adornato, husband and wife as joint tenants    3712 Liberator Way          Roam Development Group                            $1,164.97
        with the right of survivorship                                            North Las Vegas, NV 89031
        George C. Gorman, a married man dealing with his sole & separate property 952 The Alameda             Amesbury/Hatters Point                             $679.74
                                                                                  Berkeley, CA 94707




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                                        Debtor                                                                                           (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        George J. Gage & Miriam B. Gage Co-Trustees of the George J. Gage Trust 10813 Brinkwood Avenue          Bay Pompano Beach                               $12,951.80
        dated 10/8/99                                                              Las Vegas, NV 89134
        George Kechejian & Rosalie L. Kechejian Family Trust                       118 Windshire Dr             Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   South Windsor, CT
                                                                                   6074
        George Minar & Virginia Minar Trustees for the benefit of The Virginia & 10800 Clarion Lane             Amesbury/Hatters Point                             $679.74
        George Minar Living Trust                                                  Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The Virginia & 10800 Clarion Lane             Beau Rivage Homes/$8,000,000                        $72.99
        George Minar Living Trust                                                  Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The Virginia & 10800 Clarion Lane             Roam Development Group                            $1,164.97
        George Minar Living Trust                                                  Las Vegas, NV 89134
        George W. Hubbard and Carol N. Hubbard Trustees of the Hubbard trust       6340 N Calle Tregua Serena   Bay Pompano Beach                               $57,081.23
        dated 7/29/1998                                                            Tucson, AZ
                                                                                   85750
        George W. Hubbard and Carol N. Hubbard Trustees of the Hubbard trust       6340 N Calle Tregua Serena   Roam Development Group                            $1,164.97
        dated 7/29/1998                                                            Tucson, AZ
                                                                                   85750
        Gerald E. Colligan, an unmarried man                                       P O Box 5781                 Bay Pompano Beach                               $12,951.80
                                                                                   Incline Village, NV
                                                                                   89450
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 1/15/91   14067 Apricot Hill           Bay Pompano Beach                               $12,951.80
                                                                                   Saratoga, CA
                                                                                   95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 1/15/91   14067 Apricot Hill           Del Valle Isleton                                 $2,753.64
                                                                                   Saratoga, CA
                                                                                   95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 1/15/91   14067 Apricot Hill           Roam Development Group                            $1,164.97
                                                                                   Saratoga, CA
                                                                                   95070
        Gerald Marts & Linda R. Marts, husband & wife, as joint tenants with right 3181 Kips Korner Road        Amesbury/Hatters Point                           $4,453.62
        of survivorship                                                            Norco, CA 92860
        Gerald W. Bradish Trustee of the Bradish Family Trust dated 12/13/89       P O Box 667                  Amesbury/Hatters Point                             $543.79
                                                                                   Winston, OR
                                                                                   97496
        Gerard A. LaBossiere & Lucille LaBossiere Trustees of the LaBossiere       1271 Skylark St              Roam Development Group                            $1,397.97
        Family Trust dated 3/20/1987                                               Sparks, NV
                                                                                   89434
        Gerry Topp, a married man dealing with his sole & separate property        10745 W River St             Amesbury/Hatters Point                           $1,359.49
                                                                                   Truckee, CA
                                                                                   96161
        Gerry Topp, a married man dealing with his sole & separate property        10745 W River St             Preserve at Galleria, LLC                          $200.10
                                                                                   Truckee, CA
                                                                                   96161
        Gilbert Manuel, Trustee of the Gilbert Manuel Living Trust dated 1/3/92    4521 Pisa Dr                 Oak Shores II                                   $10,238.91
                                                                                   Reno, NV
                                                                                   89509
        Gina M. Goehner, an unmarried woman                                        255 Veronica Ave             Bay Pompano Beach                               $16,837.34
                                                                                   Sparks, NV 89436
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht Trust     630 West Hermosa Drive       Bay Pompano Beach                               $12,951.80
        dated 1/24/86                                                              Fullerton, CA
                                                                                   92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht Trust     630 West Hermosa Drive       Del Valle Isleton                                 $2,753.64
        dated 1/24/86                                                              Fullerton, CA
                                                                                   92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht Trust     630 West Hermosa Drive       Oak Shores II                                   $15,358.36
        dated 1/24/86                                                              Fullerton, CA
                                                                                   92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht Trust     630 West Hermosa Drive       Roam Development Group                            $1,747.45
        dated 1/24/86                                                              Fullerton, CA
                                                                                   92835
        Glenn B. Davis & Bernie S. Davis Trustees of the Davis Revocable Living 4104 Kietzke Ln # 185           Bay Pompano Beach                               $12,951.80
        Trust UA 7/06/88                                                           Reno, NV
                                                                                   89502




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In re                USA Commercial Mortgage Company                              ,                                                 Case No. 06-10725-LBR
                                        Debtor                                                                                               (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                              Mailing Address                  Loan Name                 Unremitted Principal
        Glenn B. Davis & Bernie S. Davis Trustees of the Davis Revocable Living   4104 Kietzke Ln # 185             Del Valle Isleton                                 $2,753.64
        Trust UA 7/06/88                                                          Reno, NV
                                                                                  89502
        Glenn Bullock & Sherry Bullock Trustees of the Bullock Family Trust dated 9811 W Charleston Blvd Ste 2429   Roam Development Group                            $2,096.94
        8/7/97 (KWA310956)                                                        Las Vegas, NV
                                                                                  89117
        Glenn W. Gaboury and Sharon M. Gaboury, husband and wife, as joint        1751 S.W. 18th Street             Bay Pompano Beach                               $25,903.59
        tenants with the rights of survivorship                                   Pendleton, OR 97801
        Glenn W. Gaboury and Sharon M. Gaboury, husband and wife, as joint        1751 S.W. 18th Street             Roam Development Group                            $2,329.94
        tenants with the rights of survivorship                                   Pendleton, OR 97801
        Glenn W. Graf Trustee of the Graf Family Trust dated 2/7/77               2613 White Pines Drive            Bay Pompano Beach                               $25,903.59
                                                                                  Henderson, NV 89074
        Gloria N. Cherrington Trustee of the Gloria N. Cherrington Trust dated    350 E. Desert Inn Rd #E-204       Amesbury/Hatters Point                             $543.80
        10/13/04                                                                  Las Vegas, NV
                                                                                  89109
        Gloria Valair, a single woman                                             3524 Webster Street               Amesbury/Hatters Point                           $1,359.49
                                                                                  San Francisco, CA 94123
        Gloria Valair, a single woman                                             3524 Webster Street               Bay Pompano Beach                               $12,951.80
                                                                                  San Francisco, CA 94123
        Gloria Valair, a single woman                                             3524 Webster Street               Beastar, LLC                                    $21,792.24
                                                                                  San Francisco, CA 94123
        Gloria Valair, a single woman                                             3524 Webster Street               Oak Shores II                                   $10,238.91
                                                                                  San Francisco, CA 94123
        Gold Plated LLC, Dwight W. Harouff, Manager                               5680 Ruffian Road                 The Gardens, LLC Timeshare                        $8,159.48
                                                                                  Las Vegas, NV
                                                                                  89149
        Gold Runner, LLC, a Nevada limited liability company, David Krynzel       357 Evening Side Ave              The Gardens, LLC Timeshare                        $2,379.85
        Managing Partner                                                          Henderson, NV
                                                                                  89012
        Gordon Marx, a married man dealing with his sole & separate property      2620 Western Ave                  Beau Rivage Homes/$8,000,000                      $5,490.68
                                                                                  Las Vegas, NV
                                                                                  89109
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The Stimpson 728 Pinnacle Court                    Oak Shores II                                   $10,238.91
        Family Trust Dated 5/9/00                                                 Mesquite, NV
                                                                                  89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The Stimpson 728 Pinnacle Court                    Roam Development Group                            $1,164.97
        Family Trust Dated 5/9/00                                                 Mesquite, NV
                                                                                  89027
        Gordon Ray Phillips, Trustee of The Gordon Ray and Nancy S. Phillips      4906 E Desert Inn Rd              Preserve at Galleria, LLC                          $400.19
        Living Trust dated January 17, 1994                                       Las Vegas, NV
                                                                                  89121
        Gordon Ray Phillips, Trustee of The Lyna Young Goodson LP                 4906 E Desert Inn Rd              Preserve at Galleria, LLC                          $800.39
                                                                                  Las Vegas, NV
                                                                                  89121
        Grable B. Ronning, an unmarried woman                                     P O Box 7804                      Oak Shores II                                   $20,477.82
                                                                                  Incline Village, NV
                                                                                  89452
        Grable B. Ronning, an unmarried woman                                     P O Box 7804                      Roam Development Group                            $2,329.94
                                                                                  Incline Village, NV
                                                                                  89452
        Grable B. Ronning, an unmarried woman                                     P O Box 7804                      Universal Hawaii                                $57,609.45
                                                                                  Incline Village, NV
                                                                                  89452
        Graydon L. Fladager and Cynthia A. Fladager, husband and wife, as joint   2235 Longwood Drive               The Gardens, LLC Timeshare                        $1,699.89
        tenants with right of survivorship                                        Reno , NV
                                                                                  89509
        Greater American Warehouse, a Nevada company                              9 Chateau Whistler Court          Beau Rivage Homes/$8,000,000                       $145.99
                                                                                  Las Vegas, NV 89148
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne Living Trust P O Box 661                         Amesbury/Hatters Point                           $2,718.99
        dated 3/11/87                                                             Kailua, HI
                                                                                  96734
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust             1982 Country Cove Ct              Cabernet                                         $5,769.23
                                                                                  Las Vegas, NV
                                                                                  89135




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                                        Debtor                                                                                                   (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                              Mailing Address                      Loan Name                 Unremitted Principal
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust                1982 Country Cove Ct               Preserve at Galleria, LLC                          $400.19
                                                                                     Las Vegas, NV
                                                                                     89135
        Gregory J. Walch Trustee of the Gregory J. Walch and Shauna M. Walch         344 Doe Run Circle                 Roam Development Group                            $3,494.91
        Family Trust dated 11/12/04                                                  Henderson, NV 89012
        Gregory W. Stimpson & Carrie M. Stimpson, husband & wife, as joint           2665 Firenze Drive                 The Gardens, LLC Timeshare                        $1,699.89
        tenants with right of survivorship                                           Sparks, NV
                                                                                     89434
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989 Kohler Living 842 Overlook Court                      Amesbury/Hatters Point                           $5,438.01
        Trust dated 6/13/89                                                          San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989 Kohler Living 842 Overlook Court                      Bay Pompano Beach                               $25,903.59
        Trust dated 6/13/89                                                          San Mateo, CA 94403
        Guido Mandarino POD Maria Rocco                                              7951 Avalon Island Street          Cabernet                                         $5,769.23
                                                                                     Las Vegas, NV 89139
        Guido Mandarino POD Maria Rocco                                              7951 Avalon Island Street          Preserve at Galleria, LLC                          $240.12
                                                                                     Las Vegas, NV 89139
        Guy Archer, a married man dealing with his sole & separate property          1725 Fairfield Ave                 Bay Pompano Beach                               $12,951.80
                                                                                     Reno, NV 89509
        Guy Archer, a married man dealing with his sole & separate property          1725 Fairfield Ave                 Universal Hawaii                                $28,804.73
                                                                                     Reno, NV 89509
        Guy R. Blatt & Cherie A. Blatt, husband & wife, as joint tenants with right 2712 Pepperwood Pl                  Amesbury/Hatters Point                           $1,359.48
        of survivorship                                                              Hayward, CA
                                                                                     94541
        H. Daniel Whitman, an unmarried man                                          P O Box 10200                      Universal Hawaii                                $28,804.73
                                                                                     Zephyr Cove, NV
                                                                                     89448
        H. George Cabanting & Ann T. Cabanting, husband & wife, as joint tenants 2442 Melody Lane                       Amesbury/Hatters Point                             $679.74
        with right of survivorship payable on death to George P. Cabanting           Reno, NV
                                                                                     89512
        Hannah Brehmer, an unmarried woman & Marti McAllister, a married             188 Beacon Hill                    Oak Shores II                                   $13,310.58
        woman dealing with her sole & separate property, as joint tenants with right Ashland, OR
        of survivorship                                                              97520
        Hans - Ueli Surber, a married man dealing with his sole and separate         2 Saturn St                        Roam Development Group                            $1,514.46
        property                                                                     San Francisco, CA
                                                                                     94114
        Hans J. Leer & Carolyn F. Leer, as joint tenants with right of survivorship 2024 Gentry Ln                      Universal Hawaii                                $28,810.89
                                                                                     Carson City, NV
                                                                                     89701
        Hans J. Prakelt, an unmarried man                                            2401-A Waterman Blvd Suite 4-230   Roam Development Group                            $2,329.94
                                                                                     Fairfield, CA
                                                                                     94534
        Harold A. Thompson & Diana C. Thompson Trustees of the Harold A.             973 Pete's Way                     The Gardens, LLC $2,425,000                     $20,618.56
        Thompson & Diana C. Thompson Revocable Family Trust dated 7/11/90            Sparks, NV 89434
        Harold B. Miller Trustee of the 1994 Miller Family Trust                     8800 Kingsmill Dr                  Oak Shores II                                   $10,238.91
                                                                                     Las Vegas, NV
                                                                                     89134
        Harold L. Miller Trustee of the Art-Kay Family Trust                         55 S Valle Verde 235               Bay Pompano Beach                               $12,951.80
                                                                                     Henderson, NV
                                                                                     89012
        Harold L. Miller Trustee of the Art-Kay Family Trust                         55 S Valle Verde 235               Roam Development Group                            $1,164.97
                                                                                     Henderson, NV
                                                                                     89012
        Harriet Bender Trustee of the Bender Family Trust dtd 7/30/92 Survivors      5461A Paseo Del Lago East          Del Valle Isleton                                 $2,753.64
        Trust                                                                        Laguna Woods, FL
                                                                                     92637
        Harriet Bender Trustee of The Bender Family Trust, By-Pass Trust , dated 5461A Paseo Del Lago East              Bay Pompano Beach                               $12,951.80
        7/30/92                                                                      Laguna Woods, CA 92653
        Harriet Bender Trustee of The Bender Family Trust, By-Pass Trust , dated 5461A Paseo Del Lago East              The Gardens, LLC Timeshare                        $3,399.78
        7/30/92                                                                      Laguna Woods, CA 92653
        Harry G. Fritz & Margeret A. Fritz, husband & wife, as joint tenants with    29 Buckingham Way                  Beau Rivage Homes/$8,000,000                       $145.99
        right of survivorship                                                        Rancho Mirage, CA
                                                                                     92270




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In re                 USA Commercial Mortgage Company                              ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        Harvey A. Kornhaber, a single man                                           P O Box 10376                 Copper Sage Commerce Center, LLC                $17,875.36
                                                                                    Truckee, CA
                                                                                    96162
        Harvey Alderson, an unmarried man                                           4941 East Harris Avenue       Universal Hawaii                                $28,804.73
                                                                                    Las Vegas, NV 89110
        Harvey J. McShaffrey & Christina F. McShaffrey Trustees of the              PO Box 560                    Bay Pompano Beach                               $12,951.80
        McShaffrey Living Trust dated 3/27/81                                       Big Bear, CA 92315
        Harvey J. McShaffrey & Christina F. McShaffrey Trustees of the              PO Box 560                    Del Valle Isleton                                 $2,753.64
        McShaffrey Living Trust dated 3/27/81                                       Big Bear, CA 92315
        Harvey J. McShaffrey & Christina F. McShaffrey Trustees of the              PO Box 560                    Roam Development Group                            $1,164.97
        McShaffrey Living Trust dated 3/27/81                                       Big Bear, CA 92315
        Heather Winchester & William Winchester, husband and wife as joint          2215 Stowe Drive              Bay Pompano Beach                               $12,951.80
        tenants with the right of survivorship                                      Reno, NV
                                                                                    89511
        Helen Clifton Trustee of the Clifton Family Trust                           10812 Windrose Point          Amesbury/Hatters Point                             $815.70
                                                                                    Las Vegas, NV 89144
        Helena A. Bova, a single woman                                              8137 Regis Way                Cabernet                                        $11,538.46
                                                                                    Los Angeles, CA
                                                                                    90045
        Henry E. Pattison & Ruth V. Pattison, joint tenants with right of           5219 West Ave L14             The Gardens, LLC $2,425,000                     $10,309.28
        survivorship                                                                Quartz Hill, CA
                                                                                    93536
        Henry Herr Gill & Mary Jane Gill, husband & wife, as joint tenants with the 1904 Scenic Sunrise Drive     Del Valle Isleton                                 $2,753.64
        right of survivorship                                                       Las Vegas , NV
                                                                                    89117
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the Henry &          P O Box 1161                  Amesbury/Hatters Point                           $2,718.99
        Mengia Obermuller Trust dated 9/14/90                                       Tahoe City, CA
                                                                                    96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the Henry &          P O Box 1161                  The Gardens, LLC Timeshare                        $1,699.89
        Mengia Obermuller Trust dated 9/14/90                                       Tahoe City, CA
                                                                                    96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the Henry &          P O Box 1161                  Universal Hawaii                                $28,804.73
        Mengia Obermuller Trust dated 9/14/90                                       Tahoe City, CA
                                                                                    96145
        Henry L. Letzerich and Norma W. Letzerich, husband and wife, as joint       2322 Joshua Circle            Cabernet                                         $5,769.23
        tenants with the rights of survivorship                                     Santa Clara, UT
                                                                                    84765
        Herbert C. Kaufman, Jr. and Hannah Kaufman, Trustees of the Kaufman         472 Pacheco Street            Roam Development Group                            $1,164.97
        Revocable Living Trust dated 4/14/95                                        San Francisco, CA
                                                                                    94116
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as joint     50 Nottingham Drive           Bay Pompano Beach                               $18,132.51
        tenants with right of survivorship                                          Old Bridge, NJ
                                                                                    8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as joint     50 Nottingham Drive           Beastar, LLC                                    $21,792.24
        tenants with right of survivorship                                          Old Bridge, NJ
                                                                                    8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as joint     50 Nottingham Drive           Del Valle Isleton                                 $2,753.64
        tenants with right of survivorship                                          Old Bridge, NJ
                                                                                    8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as joint     50 Nottingham Drive           Oak Shores II                                   $10,238.91
        tenants with right of survivorship                                          Old Bridge, NJ
                                                                                    8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as joint     50 Nottingham Drive           Roam Development Group                            $2,329.94
        tenants with right of survivorship                                          Old Bridge, NJ
                                                                                    8857
        Herbert Sonnenklar & Norma R. Sonnenklar, husband & wife, as joint          2501 Poinciana Drive          Amesbury/Hatters Point                           $1,359.49
        tenants with right of survivorship                                          Weston, FL 33327
        Herman M. Adams, Brian M. Adams & Anthony G. Adams as Joint Tenants 1341 Cashman Drive                    Roam Development Group                            $4,543.39
                                                                                    Las Vegas, NV
                                                                                    89102
        Hilary A. Huffman & Cynthia L. Huffman Trustees of the Huffman Family 140 Gazelle Rd                      Preserve at Galleria, LLC                          $200.10
        Trust dated 5/28/98                                                         Reno, NV 89511




SCHEDULES                                                                              Exhibit F-1                                                               PAGE 37
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In re                 USA Commercial Mortgage Company                             ,                                                     Case No. 06-10725-LBR
                                            Debtor                                                                                               (If known)




                                                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                    EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address                      Loan Name                 Unremitted Principal
        Holly J. Pickerel, a single woman                                           3415 Cooper Street                  Bay Pompano Beach                               $25,903.59
                                                                                    San Diego, CA
                                                                                    92104
        Holly J. Pickerel, a single woman                                           3415 Cooper Street                  Preserve at Galleria, LLC                          $400.19
                                                                                    San Diego, CA
                                                                                    92104
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Amesbury/Hatters Point                           $8,907.17
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Bay Pompano Beach                              $103,614.37
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Beastar, LLC                                    $43,584.48
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Brookmere/Matteson $27,050,000                     $310.67
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Del Valle Isleton                                 $5,507.26
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Oak Shores II                                   $20,477.82
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Roam Development Group                            $2,329.94
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                The Gardens, LLC Timeshare                        $6,799.56
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Homfeld II, LLC, a Florida limited liability company                        2515 N Atlantic Blvd                Universal Hawaii                                $57,609.45
                                                                                    Fort Lauderdale, FL
                                                                                    33305
        Howard Kolodny Trustee of the Howard Kolodny Trust dated 3/22/99            4404 Portico Place                  The Gardens, LLC Timeshare                        $1,699.89
                                                                                    Encino, CA
                                                                                    91316
        Howard P. Weiss & Curtis Weiss, as joint tenants with right of survivorship 2871 San Lago Court                 Brookmere/Matteson $27,050,000                      $77.66
                                                                                    Las Vegas, NV 89121
        Howie's Cigars, LLC                                                         9900 Wilbur May Pkwy 2702           Beau Rivage Homes/$8,000,000                       $131.34
                                                                                    Reno, NV
                                                                                    89521
        Huiyon Neilan, a married woman dealing with her sole & separate property P O Box 96001                          Amesbury/Hatters Point                             $815.70
        & Jennifer Neilan, an unmarried woman, as joint tenants with right of       Las Vegas, NV 89193
        survivorship
        Ian A. Falconer, a single man                                               PO Box 48447 Bentall Center         Amesbury/Hatters Point                             $679.74
                                                                                    Vancouver, BC
        Ian A. Falconer, a single man                                               PO Box 48447 Bentall Center         Universal Hawaii                                $28,804.73
                                                                                    Vancouver, BC
        India C. High, a single woman                                               1 Bon Secour Way Ste 135            Del Valle Isleton                                 $2,753.64
                                                                                    Portsmouth, VA
                                                                                    23703
        India C. High, a single woman                                               1 Bon Secour Way Ste 135            Roam Development Group                            $1,164.97
                                                                                    Portsmouth, VA
                                                                                    23703
        Inge Grist, an unmarried woman                                              Ave. Paseo De La Marina Norte 535   Beastar, LLC                                    $21,792.24
                                                                                    Apartamento # 504
                                                                                    Puerto Vallarta, Jalisco
                                                                                    48300
        Ingrid A. Rutherford, Trustee of the Ingrid A. Rutherford Family Trust      P.O. Box l4l6                       Amesbury/Hatters Point                           $3,953.48
        dated 7/8/99                                                                San Andreas, CA
                                                                                    95249
        IRA Services/First Regional Bank for the benefit of Dale Westerhout IRA 1 Charmaine Court                       Oak Shores II                                   $10,238.91
                                                                                    Novato, CA
                                                                                    94949




SCHEDULES                                                                             Exhibit F-1                                                                      PAGE 38
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In re                 USA Commercial Mortgage Company                           ,                                               Case No. 06-10725-LBR
                                          Debtor                                                                                         (If known)




                                                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                    EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                          Mailing Address                Loan Name                 Unremitted Principal
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84           1289 Ironwood St             Amesbury/Hatters Point                             $543.80
                                                                                   Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84           1289 Ironwood St             Bay Pompano Beach                               $25,903.59
                                                                                   Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84           1289 Ironwood St             Beastar, LLC                                    $21,792.24
                                                                                   Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84           1289 Ironwood St             Roam Development Group                            $1,164.97
                                                                                   Boulder City, NV 89005
        Irwin Schneider & Ursula Schneider, husband & wife, as joint tenants with 25A Eastgate Drive            Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Boynton Beach, FL 33436
        Irwin Schneider & Ursula Schneider, husband & wife, as joint tenants with 25A Eastgate Drive            Roam Development Group                            $1,164.97
        right of survivorship                                                      Boynton Beach, FL 33436
        J V Marrone Trustee for the benefit of The J V Marrone Revocable Trust     55 Colonial Drive            Bay Pompano Beach                               $12,951.80
        dated 12/12/95                                                             Rancho Mirage, CA
                                                                                   92270
        J V Marrone Trustee for the benefit of The J V Marrone Revocable Trust     55 Colonial Drive            Beau Rivage Homes/$8,000,000                        $72.99
        dated 12/12/95                                                             Rancho Mirage, CA
                                                                                   92270
        J V Marrone Trustee for the benefit of The J V Marrone Revocable Trust     55 Colonial Drive            Oak Shores II                                   $10,238.91
        dated 12/12/95                                                             Rancho Mirage, CA
                                                                                   92270
        J V Marrone Trustee for the benefit of The J V Marrone Revocable Trust     55 Colonial Drive            Universal Hawaii                                $28,804.73
        dated 12/12/95                                                             Rancho Mirage, CA
                                                                                   92270
        J. Laurel Bushman Trustee of the Grant M. & J. Laurel Bushman Family       PO Box 576                   Universal Hawaii                                $57,609.45
        Trust                                                                      Overton, NV 89040
        Jaceck M. Brown, an unmarried man transfer on death to Jagoda Brown        2020 8th Ave #176            Beau Rivage Homes/$8,000,000                       $729.89
                                                                                   West Linn, OR
                                                                                   97068
        Jaceck M. Brown, an unmarried man transfer on death to Jagoda Brown        2020 8th Ave #176            Roam Development Group                            $2,329.94
                                                                                   West Linn, OR
                                                                                   97068
        Jack Faradjollah & Sharon Faradjollah, husband & wife, as joint tenants    10851 Furlong Drive          Amesbury/Hatters Point                             $679.74
        with right of survivorship                                                 Santa Ana, CA 92705
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint tenants with 20155 NE 38th Ct Unit 1603   Amesbury/Hatters Point                           $1,781.43
        right of survivorship                                                      Aventura, FL
                                                                                   33180
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint tenants with 20155 NE 38th Ct Unit 1603   Bay Pompano Beach                               $25,903.59
        right of survivorship                                                      Aventura, FL
                                                                                   33180
        Jack Humphry & Alice Humphry Trustees of the Humphry 1999 Trust            3825 Champagne Wood Drive    Amesbury/Hatters Point                           $1,087.60
                                                                                   North Las Vegas, NV 89031
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Amesbury/Hatters Point                             $815.70
                                                                                   Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Bay Pompano Beach                               $19,427.69
                                                                                   Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Beastar, LLC                                    $32,688.36
                                                                                   Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Del Valle Isleton                                 $2,753.64
                                                                                   Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Oak Shores II                                   $20,477.82
                                                                                   Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust dated 6/28/88 3150 E Tropicana #234          Universal Hawaii                                $28,804.73
                                                                                   Las Vegas, NV 89121
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants with right 9900 Wilbur May Pkwy #4701   Bay Pompano Beach                               $12,951.80
        of survivorship                                                            Reno, NV
                                                                                   89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants with right 9900 Wilbur May Pkwy #4701   The Gardens, LLC $2,425,000                     $20,618.56
        of survivorship                                                            Reno, NV
                                                                                   89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants with right 9900 Wilbur May Pkwy #4701   Universal Hawaii                                $28,804.73
        of survivorship                                                            Reno, NV
                                                                                   89521




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In re                USA Commercial Mortgage Company                            ,                                                 Case No. 06-10725-LBR
                                       Debtor                                                                                              (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address                  Loan Name                 Unremitted Principal
        Jack S. Tiano, Trustee for An Accountancy Corporation Profit Sharing Plan 116 W El Portal Ste 103         Oak Shores II                                   $10,238.91
        & Trust dated 02/28/1997                                                  San Clemente, CA
                                                                                  92672
        Jackie Vohs, a married woman dealing with her sole & separate property    1202 Jessie Road                Universal Hawaii                                $28,804.73
                                                                                  Henderson, NV
                                                                                  89015
        Jacqueline Corkill, an unmarried woman & David Corkill, an unmarried      7057 Lexington Avenue 106       Bay Pompano Beach                               $12,951.80
        man, as joint tenants with right of survivorship                          Los Angeles, CA 90038
        Jacqueline Corkill, an unmarried woman & David Corkill, an unmarried      7057 Lexington Avenue 106       Roam Development Group                            $1,164.97
        man, as joint tenants with right of survivorship                          Los Angeles, CA 90038
        Jacqueline Thurmond, a married woman dealing with her sole & separate     1512 MacDonald Ranch Dr         Amesbury/Hatters Point                             $679.74
        property & Traci Landig, a married woman dealing with her sole & separate Henderson, NV
        property                                                                  89012
        James A. Conboy, an unmarried man                                         1206 D. South Barranca Avenue   Universal Hawaii                                $28,804.73
                                                                                  Glendora, CA 91740
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy &             3333 Royal Glen Court           Bay Pompano Beach                               $12,951.80
        Margaret G. Coy Revocable Trust dated 9/27/00                             Las Vegas, NV
                                                                                  89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy &             3333 Royal Glen Court           Universal Hawaii                                $28,804.73
        Margaret G. Coy Revocable Trust dated 9/27/00                             Las Vegas, NV
                                                                                  89117
        James Allen Linthicum and Carol Diane Linthicum, Trustees of the          21886 Wilson Court              Bay Pompano Beach                               $12,951.80
        Linthicum Revocable Trust, dated 1/14/80                                  Cupertino, CA 95014
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell Family      505 E Windmill Ln 1-B-158       Amesbury/Hatters Point                           $5,030.14
        Trust                                                                     Las Vegas, NV
                                                                                  89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell Family      505 E Windmill Ln 1-B-158       Copper Sage Commerce Center, LLC               $107,252.19
        Trust                                                                     Las Vegas, NV
                                                                                  89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell Family      505 E Windmill Ln 1-B-158       Roam Development Group                            $2,329.94
        Trust                                                                     Las Vegas, NV
                                                                                  89123
        James B. Corison Trustee of the James B. Corison Trust dated 12/3/98      P O Box 21214                   Brookmere/Matteson $27,050,000                       $0.01
                                                                                  Riverside, CA
                                                                                  92516
        James B. Simpson & Janet D. Simpson Trustees of the Simpson Family        4090 Partridge Lane             Lake Helen Partners                                 $98.02
        Trust dated 1/13/04                                                       Carson City, NV
                                                                                  89704
        James C. Wu & Jeanne K. Wu Trustees of the Wu Family Trust dated          67 Marsh Road                   Amesbury/Hatters Point                             $271.90
        06/19/91                                                                  Atherton, CA 94027
        James Cameron & Kirsten Cameron, husband & wife, as joint tenants with 774 Mays Blvd 10 PMB 313           Beau Rivage Homes/$8,000,000                       $291.90
        right of survivorship                                                     Incline Village, NV
                                                                                  89451
        James Cielen, a married man dealing with his sole & separate property     9775 S Maryland Pkwy # F102     Cabernet                                         $5,769.23
                                                                                  Las Vegas, NV
                                                                                  89123
        James Cielen, a married man dealing with his sole & separate property     9775 S Maryland Pkwy # F102     Preserve at Galleria, LLC                          $400.19
                                                                                  Las Vegas, NV
                                                                                  89123
        James Cielen, an unmarried man                                            9775 S Maryland Pkwy # F102     Amesbury/Hatters Point                             $679.74
                                                                                  Las Vegas, NV
                                                                                  89123
        James D. Climo and Dolores J. Climo, Trustees of the Climo Family Trust 985 Bernice Court                 Roam Development Group                            $2,329.94
        dated 2/6/92                                                              Sparks, NV
                                                                                  89436
        James D. Dery & Ann R. Dery, husband & wife                               PO Box 775107                   Amesbury/Hatters Point                           $4,078.51
                                                                                  Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                               PO Box 775107                   Bay Pompano Beach                               $19,427.69
                                                                                  Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                               PO Box 775107                   Freeway 101                                    $125,000.00
                                                                                  Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                               PO Box 775107                   Roam Development Group                            $1,164.97
                                                                                  Steam Boat Springs, CO 80477




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In re                 USA Commercial Mortgage Company                              ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                            (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        James D. Dery & Ann R. Dery, husband & wife                                PO Box 775107                  Universal Hawaii                                $28,804.73
                                                                                   Steam Boat Springs, CO 80477
        James E. Ahern, an unmarried man                                           6766 Runnymede Drive           The Gardens, LLC Timeshare                        $1,699.89
                                                                                   Sparks, NV
                                                                                   89436
        James E. Lofton & Denise G. Lofton, husband & wife as joint tenants with   1573 Diamond County Dr         Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Reno, NV
                                                                                   89521
        James F. Lawrence and Arla M. Lawrence, trustees of The James F.           14412 N. Giant Saguaro Place   Preserve at Galleria, LLC                         $1,000.48
        Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04                   Tucson, AZ
                                                                                   85737
        James F. Lawrence and Arla M. Lawrence, trustees of The James F.           14412 N. Giant Saguaro Place   Roam Development Group                            $1,164.97
        Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04                   Tucson, AZ
                                                                                   85737
        James Feeney Trustee of the E & M Hardware Profit Sharing Plan             P O Box 19122                  Roam Development Group                            $2,329.94
                                                                                   Reno, NV
                                                                                   89511
        James G. Barnhart & Mary Ann Barnhart Trustees of the Barnhart Family      10311 Sweet Fennel Drive       Amesbury/Hatters Point                           $2,039.25
        Trust dated 10/2/92                                                        Las Vegas, NV
                                                                                   89135
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. Lidster     P O Box 2577                   Amesbury/Hatters Point                           $1,359.49
        Family Trust dated 1/20/92                                                 Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. Lidster     P O Box 2577                   The Gardens, LLC Timeshare                        $1,699.89
        Family Trust dated 1/20/92                                                 Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. Lidster     P O Box 2577                   Universal Hawaii                                $28,804.73
        Family Trust dated 1/20/92                                                 Minden, NV 89423
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86           4569 South Sacks Drive         Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86           4569 South Sacks Drive         Cabernet                                        $23,076.92
                                                                                   Las Vegas, NV 89122
        James Klega & Shirley Klega Trustees of the James & Shirley Klega Trust    6805 Anteus Court              Beastar, LLC                                    $21,792.24
        dated 06/22/95                                                             Las Vegas, NV 89131
        James M. McConnell and Maudrene F. McConnell, Trustees of the              970 Fairway Blvd.              Universal Hawaii                                $31,685.18
        McConnell Family Trust dated 12/3/81                                       Incline Village, NV
                                                                                   89451
        James Nikolovski & Natalija Nikolovski, husband & wife, as joint tenants   6529 Crest Top Drive           Amesbury/Hatters Point                             $679.74
        with right of survivorship                                                 West Bloomfield, MI
                                                                                   48322
        James P. Randisi and Mary M. Randisi, husband and wife, as joint tenants   806 Chestnut Glen Garth        Preserve at Galleria, LLC                          $400.19
        with the rights of survivorship                                            Towson, MD
                                                                                   21204
        James Paul Goode, an unmarried man                                         300 John Thomas Lane           Beastar, LLC                                    $21,792.24
                                                                                   Reno, NV
                                                                                   89506
        James Paul Goode, an unmarried man                                         300 John Thomas Lane           Universal Hawaii                                $28,804.73
                                                                                   Reno, NV
                                                                                   89506
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of the            8635 W. Sahara Ave. PMB 220    Bay Pompano Beach                               $25,903.59
        Broadwalk Investments Limited Partnership                                  Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of the            8635 W. Sahara Ave. PMB 220    Beastar, LLC                                    $43,584.48
        Broadwalk Investments Limited Partnership                                  Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of the            8635 W. Sahara Ave. PMB 220    Copper Sage Commerce Center, LLC                $35,750.73
        Broadwalk Investments Limited Partnership                                  Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of the            8635 W. Sahara Ave. PMB 220    Freeway 101                                     $83,333.33
        Broadwalk Investments Limited Partnership                                  Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of the            8635 W. Sahara Ave. PMB 220    Roam Development Group                            $2,329.94
        Broadwalk Investments Limited Partnership                                  Las Vegas, NV 89117
        James R. Kloepfer & Nancy Ann Kloepfer Trustees of the Kloepfer Trust      225 Shadowmere Way             Amesbury/Hatters Point                             $679.74
        dated 11/27/00                                                             Aptos, CA
                                                                                   95003
        James Ronald Loftfield & Catherine Pauline Loftfield Trustees of the       1532 Beech Grove Drive         Copper Sage Commerce Center, LLC                $39,325.79
        Loftfield Revocable Living Trust                                           Las Vegas, NV
                                                                                   89119




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                                         Debtor                                                                                                 (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                            Mailing Address                      Loan Name                 Unremitted Principal
        James Ronald Loftfield & Catherine Pauline Loftfield Trustees of the      1532 Beech Grove Drive               Universal Hawaii                                $34,565.66
        Loftfield Revocable Living Trust                                          Las Vegas, NV
                                                                                  89119
        James S. Nelson, a married man dealing with his sole & separate property 408 N Berry Pine Rd                   Oak Shores II                                   $10,238.91
                                                                                  Rapid City, SD
                                                                                  57702
        James Starr & Sally Starr Trustees of the Starr Family Trust dated 9/6/96 251 Hunting Ridge Road               Amesbury/Hatters Point                           $1,359.49
                                                                                  Stamford, CT 6903
        James Supple, an unmarried man                                            P O Box 29                           Bay Pompano Beach                               $12,951.80
                                                                                  Fallon, NV
                                                                                  89407
        James W. Barnes Trustee of the JWB Trust Agreement dated 8/1/97           2100 Freedom Place                   Bay Pompano Beach                               $12,951.80
                                                                                  Fayetteville, AR
                                                                                  72704
        James W. Barnes Trustee of the JWB Trust Agreement dated 8/1/97           2100 Freedom Place                   Beastar, LLC                                    $21,792.24
                                                                                  Fayetteville, AR
                                                                                  72704
        James W. Barnes Trustee of the JWB Trust Agreement dated 8/1/97           2100 Freedom Place                   Cabernet                                         $5,769.23
                                                                                  Fayetteville, AR
                                                                                  72704
        James W. Forsythe & Earlene M. Forsythe, husband & wife, as joint tenants 2660 Lake Ridge Shores West          Amesbury/Hatters Point                           $1,359.48
        with right of survivorship                                                Reno, NV 89509
        James W. McCollum & Pamela P. McCollum, husband & wife, as joint          1011 F Ave                           Lake Helen Partners                                $147.04
        tenants with right of survivorship                                        Coronado, CA 92118
        James W. McCollum & Pamela P. McCollum, husband & wife, as joint          1011 F Ave                           Preserve at Galleria, LLC                         $2,601.26
        tenants with right of survivorship                                        Coronado, CA 92118
        James William Rogers, an unmarried man                                    22 Lopez Avenue                      Beastar, LLC                                    $43,584.48
                                                                                  San Francisco, CA 94116
        Jamie Huish & Margo Huish, husband & wife, as joint tenants with right of 2013 Madagascar Lane                 Amesbury/Hatters Point                           $1,359.49
        survivorship                                                              Las Vegas, NV
                                                                                  89117
        Jamie R. Bianchini, an unmarried man Account #2                           5111 Gardena Ave                     Roam Development Group                            $1,164.97
                                                                                  San Diego, CA
                                                                                  92110
        Jan Houston Properties Inc., a Nevada corporation                         Montreux RE Sales Att: Jan Houston   Roam Development Group                            $1,164.97
                                                                                  16475 Bordeaux Drive
                                                                                  Reno, NV
                                                                                  89511
        Jan Houston Properties Inc., a Nevada corporation                         Montreux RE Sales Att: Jan Houston   Universal Hawaii                                $57,609.46
                                                                                  16475 Bordeaux Drive
                                                                                  Reno, NV
                                                                                  89511
        Jan Mills, a widow                                                        1103 Sunshine Run                    Cabernet                                         $6,923.08
                                                                                  Arnolds Park, IA
                                                                                  51331
        Jane Hendler, a single woman                                              4154 St. Clair Avenue                Roam Development Group                            $1,514.46
                                                                                  Studio City, CA 91604
        Janet K. Pohl & Ronald L. Pohl Trustees of the Janet K. Pohl Trust dated  14070 Boxford Court                  Bay Pompano Beach                               $12,951.80
        6/24/94                                                                   Chesterfield, MO
                                                                                  63017
        Janet P. Johnson & Charles E. Johnson Trustees of the Janet P. Johnson    17 Front Street                      Oak Shores II                                   $20,477.82
        Living Trust dated 7/15/04                                                Palm Coast, FL
                                                                                  32137
        Janice A. Magrisi, an unmarried woman & Phillip W. Dickinson an           3725 Dorrington Drive                Bay Pompano Beach                               $12,951.80
        unmarried man, joint tenants with the right of survivorship               Las Vegas, NV 89129
        Janice Janis and Christine Brager, Tenants in Common                      406 Pearl Street                     Bay Pompano Beach                               $12,951.80
                                                                                  Boulder, CO
                                                                                  80302
        Janis N. Romo, the custodian of Mario West Romo, a minor under UTMA P O Box 50522                              Cabernet                                        $23,076.92
                                                                                  Henderson, NV
                                                                                  89016
        Janis N. Romo, the custodian of Mario West Romo, a minor under UTMA P O Box 50522                              Del Valle Isleton                                    $0.02
                                                                                  Henderson, NV
                                                                                  89016




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In re                USA Commercial Mortgage Company                           ,                                                Case No. 06-10725-LBR
                                       Debtor                                                                                            (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                           Mailing Address                 Loan Name                 Unremitted Principal
        Janis N. Romo, the custodian of Mario West Romo, a minor under UTMA       P O Box 50522                 Preserve at Galleria, LLC                          $200.10
                                                                                  Henderson, NV
                                                                                  89016
        Jason C. Weber, an unmarried man                                          226 W J St                    Preserve at Galleria, LLC                          $400.19
                                                                                  Encinitas, CA
                                                                                  92024
        Jasper Benincasa Jr., a married man dealing with his sole and separate    9359 Roping Cowboy Ave        Del Valle Isleton                                 $2,753.62
        property                                                                  Las Vegas, NV
                                                                                  89178
        Jay A. Pandaleon & Leigh B. Pandaleon Trustees of the Jay A. Pandaleon 142 Brighton Close               Cabernet                                          $5,769.23
        Profit Sharing Trust under agreement dated 1/1/75                         Nashville, TN
                                                                                  37205
        Jay A. Pandaleon & Leigh B. Pandaleon, husband & wife, as joint tenants 142 Brighton Close              Roam Development Group                            $1,164.97
        with right of survivorship                                                Nashville, TN
                                                                                  37205
        Jay Betz & Joy Betz Trustees of the Betz Family Trust                     16716 Otter Road              Amesbury/Hatters Point                            $2,969.06
                                                                                  Grass Valley, CA
                                                                                  95949
        Jay Betz & Joy Betz Trustees of the Betz Family Trust                     16716 Otter Road              The Gardens, LLC Timeshare                        $8,499.46
                                                                                  Grass Valley, CA
                                                                                  95949
        Jay E. Henman Trustee of the Jay E. Henman Retirement Plan                1023 Ridgeview Ct             Bay Pompano Beach                               $12,951.80
                                                                                  Carson City, NV
                                                                                  89705
        Jayem Family LP, a Nevada limited partnership                             7 Paradise Valley Ct          Amesbury/Hatters Point                            $2,039.24
                                                                                  Henderson, NV
                                                                                  89052
        Jayem Family LP, a Nevada limited partnership                             7 Paradise Valley Ct          Bay Pompano Beach                               $12,951.80
                                                                                  Henderson, NV
                                                                                  89052
        Jayem Family LP, a Nevada limited partnership                             7 Paradise Valley Ct          Beau Rivage Homes/$8,000,000                       $330.58
                                                                                  Henderson, NV
                                                                                  89052
        Jean G. Richards Trustee of the Jean G. Richards Trust dated 9/30/1999    1160 Magnolia Ln              Roam Development Group                            $1,164.97
                                                                                  Lincoln, CA 95648
        Jean Greco Trustee of the Jean V. Greco Living Trust dated 1/22/02        2301 South Gunderson Avenue   Amesbury/Hatters Point                             $679.74
                                                                                  Berwyn, IL
                                                                                  60402
        Jean H. Murray Trustee of the Jean H. Murray Separate Property Trust      865 Coloma Dr                 Amesbury/Hatters Point                            $1,484.53
        dated 9/12/02                                                             Carson City, NV
                                                                                  89705
        Jeanette D. Tarantino, a married woman dealing with her sole & separate   P. O. Box 2076                Bay Pompano Beach                               $19,427.69
        property                                                                  Carmel, CA
                                                                                  93921
        Jeffrey E. Barber & Suzanne M. Barber Trustees of the Barber Family Trust 9104 Blazing Fire Ct          Roam Development Group                            $1,747.45
        dated 4/24/98                                                             Las Vegas, NV 89117
        Jeffrey L. Edwards & Kathleen M. Edwards, husband & wife, as joint        1525 Cedar Court              Bay Pompano Beach                               $12,951.80
        tenants with right of survivorship                                        Southlake, TX
                                                                                  76092
        Jennifer A. Chun, an unmarried woman                                      9 Auburn Crest Court          Beau Rivage Homes/$8,000,000                       $116.78
                                                                                  Chico, CA
                                                                                  95973
        Jerome Bresson, Trustee of the Jerome Bresson Revocable Trust dated       P O Box 186                   Roam Development Group                            $2,329.94
        12/1/89                                                                   Narberth, PA
                                                                                  19072
        Jerome Marshall & Rochelle Marshall, husband & wife, as Tenants in        3175 La Mancha Way            Amesbury/Hatters Point                             $815.70
        Common                                                                    Henderson, NV 89014
        Jerrold Weinstein Trustee of the Jerrold Weinstein Self Declaration Trust 10524 Back Plains             Amesbury/Hatters Point                             $679.74
        dated 06/07/91                                                            Las Vegas, NV
                                                                                  89134
        Jerry Cohn & Gloria L. Cohn Trustees of the Cohn Family Living Trust      6365 Wetzel Court             Preserve at Galleria, LLC                          $200.10
        dated 1/15/96                                                             Reno, NV
                                                                                  89511




SCHEDULES                                                                          Exhibit F-1                                                                 PAGE 43
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In re                 USA Commercial Mortgage Company                             ,                                                Case No. 06-10725-LBR
                                        Debtor                                                                                              (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address                Loan Name                  Unremitted Principal
        Jerry Moreo, an unmarried man                                              485 Annet St                    Bay Pompano Beach                               $25,903.59
                                                                                   Henderson, NV
                                                                                   89052
        Jerry Moreo, an unmarried man                                              485 Annet St                    Beastar, LLC                                    $43,584.48
                                                                                   Henderson, NV
                                                                                   89052
        Jerry Woldorsky, a married man dealing with his sole & separate property 1415 Lakeview Avenue South        Bay Pompano Beach                               $38,855.38
                                                                                   Minneapolis, MN 55416
        Jerry Woldorsky, a married man dealing with his sole & separate property 1415 Lakeview Avenue South        Roam Development Group                            $1,164.97
                                                                                   Minneapolis, MN 55416
        Jester, LP, a Nevada limited partnership                                   2024 Winter Wind                Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV 89134
        Joan M. Crittenden, a single woman                                         P O Box 2577                    Copper Sage Commerce Center, LLC                $26,813.05
                                                                                   Olympic Valley, CA
                                                                                   96146
        Joan M. LeBlanc, a married woman, dealing with her sole and separate       P. O. Box 6434                  Bay Pompano Beach                               $47,921.65
        property                                                                   Incline Village, NV
                                                                                   89450
        Joan Ryba, an unmarried woman                                              3509 Robinhood St               Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Houston, TX
                                                                                   77005
        Joanne A. Halvorson, a married woman dealing with her sole & separate      3295 Palm Grove Dr              Beastar, LLC                                    $21,792.24
        property                                                                   Lake Havasu, AZ
                                                                                   86404
        Jocelyne Helzer, an unmarried woman                                        115 S Deer Run Rd               Bay Pompano Beach                               $12,951.80
                                                                                   Carson City, NV
                                                                                   89701
        Joe M. Serpa, a married man as his sole and separate property              PO Box 144                      Oak Shores II                                   $40,955.63
                                                                                   Verdi, NV
                                                                                   89439
        Johanna B. Kovacs, an unmarried woman                                      P. O. Box 275                   Bay Pompano Beach                               $25,903.58
                                                                                   Upper Lake, CA
                                                                                   95485
        John A. & April D. Blevins, husband & wife as joint tenants with right of  704 Fife Street                 Roam Development Group                            $1,164.97
        survivorship                                                               Henderson, NV
                                                                                   89015
        John A. & April D. Blevins, husband & wife as joint tenants with right of  704 Fife Street                 The Gardens, LLC Timeshare                        $1,699.89
        survivorship                                                               Henderson, NV
                                                                                   89015
        John A. M. Handal, a single man                                            3575 Siskiyou Court             Universal Hawaii                                $28,804.73
                                                                                   Hayward, CA 94542
        John B. Jaeger & Priscilla J. Jaeger Trustees of the John B. Jaeger &      2256 Hot Oak Ridge Street       Bay Pompano Beach                               $25,903.59
        Priscilla J. Jaeger Family Trust                                           Las Vegas, NV 89134
        John Bacon & Sandra Bacon, husband & wife, as joint tenants with right of 2001 Fallsburg Way               Amesbury/Hatters Point                             $679.74
        survivorship                                                               Henderson, NV
                                                                                   89015
        John Colin Taylor & Joy Dorine Taylor Trustees of the Taylor Family Trust 13658 La Jolla Circle Unit 8 B   Universal Hawaii                                $28,804.73
        dated 6/18/97                                                              La Mirada, CA
                                                                                   90638
        John D. Eichhorn & Jill A. Eichhorn, husband & wife, as joint tenants with 2259 Green Mountain Court       Bay Pompano Beach                               $25,903.59
        right of survivorship                                                      Las Vegas, NV 89135
        John D. Lane & Laura Jane Lane Trustees of the John D. Lane & Laura Jane 9404 Olympia Fields Drive         Amesbury/Hatters Point                           $1,441.07
        Lane Revocable Trust dated 3/7/03                                          San Ramon, CA 94583
        John D. Lane & Laura Jane Lane Trustees of the John D. Lane & Laura Jane 9404 Olympia Fields Drive         Roam Development Group                            $2,329.94
        Lane Revocable Trust dated 3/7/03                                          San Ramon, CA 94583
        John E. McKennon and Sharon M. McKennon, husband and wife as joint         1017 Long Point Dr              The Gardens, LLC Timeshare                        $1,699.89
        tenants with the right of survivorship                                     Grasonville, MD
                                                                                   21638
        John E. Michelsen Trustee of the John E. Michelsen Family Trust dated      P O Box 646                     Bay Pompano Beach                               $12,951.80
        11/75                                                                      Zephyr Cove, NV 89448
        John E. Michelsen Trustee of the John E. Michelsen Family Trust dated      P O Box 646                     Oak Shores II                                   $10,238.91
        11/75                                                                      Zephyr Cove, NV 89448
        John E. O'Riordan & Sonhild A. O'Riordan, husband & wife, as joint tenants 2745 Hartwick Pines Dr          Oak Shores II                                   $66,552.90
        with the right of survivorship                                             Henderson, NV 89052




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In re                 USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        John Goode, a widower                                                       5150 S Oakridge Box 126      Beau Rivage Homes/$8,000,000                        $72.99
                                                                                    Pahrump, NV
                                                                                    89048
        John H. Duberg, an unmarried man                                            4455 Vista Coronado Drive    Bay Pompano Beach                               $12,951.80
                                                                                    Chula Vista, CA 91910
        John J. Reber Trustee of the Reber Family Trust dated 01/18/99              P O Box 570032               Beau Rivage Homes/$8,000,000                       $145.99
                                                                                    Las Vegas, NV 89157
        John Krebbs & Elizabeth Lundy, joint tenants with right of survivorship     7200 Hwy 50 E                Amesbury/Hatters Point                             $679.74
                                                                                    P O Box 22030
                                                                                    Carson City, NV 89701
        John L. Wade, Trustee of the John L. Wade Trust dated 5/8/01                881 Lake Country Drive       Bay Pompano Beach                               $25,903.59
                                                                                    Incline Village, NV
                                                                                    89451
        John L. Willis, Jr., an unmarried man                                       1307 W Lake St Unit #304     The Gardens, LLC Timeshare                        $1,699.89
                                                                                    Addison, IL
                                                                                    60101
        John Lafayette & Marina Lafayette, husband & wife, as joint tenants with 3600 Riviera Ave                Beau Rivage Homes/$8,000,000                        $58.39
        right of survivorship                                                       Las Vegas, NV
                                                                                    89107
        John M. Luongo & Gloria Luongo, husband & wife, as joint tenants with       965 Leah Circle              Universal Hawaii                                $28,804.73
        right of survivorship payable on death to Stephanie Luongo                  Reno, NV 89511
        John M. Marston & Linda S. Marston, husband & wife, as joint tenants with 12441 County Rd 44             Oak Shores II                                   $20,477.82
        right of survivorhsip                                                       Mancos, CO
                                                                                    81328
        John M. Marston & Linda S. Marston, husband & wife, as joint tenants with 12441 County Rd 44             Roam Development Group                            $2,329.94
        right of survivorhsip                                                       Mancos, CO
                                                                                    81328
        John Manter, an unmarried man                                               1449 Tirol Dr                Amesbury/Hatters Point                           $2,175.20
                                                                                    Incline Village, NV 89451
        John Manter, an unmarried man                                               1449 Tirol Dr                Preserve at Galleria, LLC                          $200.10
                                                                                    Incline Village, NV 89451
        John Nix & Lisa Nix, husband & wife, as joint tenants with right of         836 Temple Rock Ct           Amesbury/Hatters Point                           $1,359.49
        survivorship                                                                Boulder City, NV
                                                                                    89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right of         836 Temple Rock Ct           Bay Pompano Beach                               $12,951.80
        survivorship                                                                Boulder City, NV
                                                                                    89005
        John Nix & Lisa Nix, husband & wife, as joint tenants with right of         836 Temple Rock Ct           Beau Rivage Homes/$8,000,000                       $218.95
        survivorship                                                                Boulder City, NV
                                                                                    89005
        John P. Aquino and Lisa Aquino, husband and wife, as joint tenants with the 2950 Cabrillo St             Oak Shores II                                   $10,238.91
        right of survivorship                                                       San Francisco, CA
                                                                                    94121
        John P. Manter & Nancy K. Manter Trustees of the John P. Manter &           1449 Tirol Dr                Beau Rivage Homes/$8,000,000                        $72.99
        Nancy K. Manter Living Trust                                                Incline Village, NV 89451
        John P. Ulrich, a widower                                                   308 NE 17th Ave Apt 1        Amesbury/Hatters Point                             $679.74
                                                                                    Boynton Beach, FL
                                                                                    33435
        John R. Cunningham & Mary Ann Cunningham, husband & wife, as joint 1899 Redwood Valley St                Beau Rivage Homes/$8,000,000                        $72.99
        tenants with right of survivorship                                          Henderson, NV
                                                                                    89052
        John R. Emery & Sandra Kipp Emery Trustees of the Emery Living Trust PO Box 155                          Bay Pompano Beach                               $12,951.80
        dated 6/04/91                                                               21460 National Street
                                                                                    Volcano, CA 95689
        John Robert Mallin, Jr. & Marie Theresa Mallin Trustees of the Mallin       9809 Pinnacle Pass Drive     Freeway 101                                     $83,333.33
        Family Trust dated 7/12/99                                                  Las Vegas, NV
                                                                                    89117
        John S. Borkoski & Kathleen Borkoski, husband & wife, as joint tenants      1110 Elo Road                Oak Shores II                                   $30,716.72
        with rights of survivorship                                                 McCall, ID
                                                                                    83638
        John S. Broders, an unmarried man                                           1372 Puente St               Beau Rivage Homes/$8,000,000                        $72.99
                                                                                    San Dimas, CA 91773




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In re                USA Commercial Mortgage Company                            ,                                                      Case No. 06-10725-LBR
                                         Debtor                                                                                                 (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address                       Loan Name                 Unremitted Principal
        John T. Chirgwin, a single man                                             P O Box 488                         Oak Shores II                                   $20,477.82
                                                                                   Edgartown, MA
                                                                                   2539
        John T. Mrasz & Janet F. Mrasz Trustees of the John & Janet Mrasz Trust 10015 Barling Street                   Bay Pompano Beach                               $25,903.59
        dated 12/2/04                                                              Shadow Hill, CA
                                                                                   91040
        John T. Mrasz & Janet Mrasz Trustees of the John T. Mrasz Enterprises,     10015 Barling Street                Cabernet                                        $46,153.85
        Inc. Defined Benefit Plan dated 5/86                                       Shadow Hill, CA
                                                                                   91040
        John T. Mrasz & Janet Mrasz, husband & wife as joint tenants with rights 10015 Barling Street                  Cabernet                                        $46,153.85
        of survivorship                                                            Shadow Hill, CA
                                                                                   91040
        John W. Stewart, a single man                                              Unit 7-8/10 Marshall Way            Amesbury/Hatters Point                            $1,740.16
                                                                                   Nambucca Heads Australia, NSW
                                                                                   2448
        John Weaver & Colleen Weaver, husband & wife, as joint tenants with right 9225 Cordoba Blvd                    Amesbury/Hatters Point                             $679.74
        of survivorship                                                            Sparks, NV
                                                                                   89436
        Jon Paul Jensen & Tamara Lee Jensen, husband & wife, as joint tenants      3777 N 161st Ave                    Roam Development Group                            $1,980.46
        with right of survivorship                                                 Goodyear, AZ
                                                                                   85338
        Jonathan R. Iger, A married man as his sole & separate property            1708 E. Sheena Drive                Beastar, LLC                                    $21,792.24
                                                                                   Phoenix, AZ
                                                                                   85022
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah Family Trust     1410 Murchison Drive                Bay Pompano Beach                               $12,951.80
        dated 9/18/03                                                              Millbrae, CA 94030
        Joseph A. Farrah & Emily T. Farrah Trustees of the Farrah Family Trust     1410 Murchison Drive                Roam Development Group                            $1,164.97
        dated 9/18/03                                                              Millbrae, CA 94030
        Joseph B. LaFayette & Catherine D. LaFayette, husband & wife, as joint     9030 Junipro Ave                    Amesbury/Hatters Point                            $2,718.99
        tenants with right of survivorship                                         Atascadero, CA 93422
        Joseph B. LaFayette & Catherine D. LaFayette, husband & wife, as joint     9030 Junipro Ave                    Universal Hawaii                                $28,804.73
        tenants with right of survivorship                                         Atascadero, CA 93422
        Joseph Basko, Trustee of the Basko Revocable Trust UTD 7/21/93             1827 Baton Rouge St.                Bay Pompano Beach                               $12,951.80
                                                                                   Henderson, NV
                                                                                   89052
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C. Bellan &      2466 23rd Ave.                      Bay Pompano Beach                               $12,951.80
        Verna J. Bellan Revocable Living Trust dated 2/4/00                        San Francisco, CA 94116
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C. Bellan &      2466 23rd Ave.                      Del Valle Isleton                                 $2,753.64
        Verna J. Bellan Revocable Living Trust dated 2/4/00                        San Francisco, CA 94116
        Joseph C. Bellan & Verna J. Bellan Trustees of the Joseph C. Bellan &      2466 23rd Ave.                      Roam Development Group                            $1,164.97
        Verna J. Bellan Revocable Living Trust dated 2/4/00                        San Francisco, CA 94116
        Joseph Davis & Marion Sharp Co-Trustees of the Davis Family Trust          3100 Ashby Avenue                   Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV
                                                                                   89102
        Joseph Donnolo & Loretta Donnolo Trustees of the Donnolo Family Trust 3120 Highland Falls Drive                Roam Development Group                          $27,959.27
        dated 8/24/88                                                              Las Vegas, NV 89134
        Joseph F. McMullin & Pearl A. McMullin, husband & wife, as joint tenants 1887 N Washington St                  The Gardens, LLC Timeshare                        $1,699.89
        with right of survivorship                                                 Twin Falls, ID
                                                                                   83301
        Joseph F. Sparks and Marcia A. Sparks, Trustees of The Joseph F. and       10401 W Charleston Blvd Unit A210   The Gardens, LLC $2,425,000                     $20,618.56
        Marcia A. Sparks Revocable Family Trust dated 12-11-03                     Las Vegas, NV
                                                                                   89135
        Joseph G. Daraskevius & Ardee S. Daraskevius                               635 Meadows Dr                      Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Lake Havasu City, AZ
                                                                                   86404
        Joseph G. Zappulla & Carol A. Zappulla, husband & wife, as joint tenants 2482 Provence Place                   Del Valle Isleton                                 $5,507.26
        with right of survivorship                                                 Biloxi, MS 39531
        Joseph J. Argier & Janice G. Argier, husband & wife, as joint tenants with 2166 Montana Pine Drive             Roam Development Group                            $2,329.94
        right of survivorship                                                      Henderson, NV
                                                                                   89052
        Joseph J. Benoualid & Helen Benoualid Trustees of the Joseph J. Benoualid 1852 Bogey Way                       Bay Pompano Beach                               $25,903.59
        & Helen L. Benoualid Trust                                                 Henderson, NV 89074




SCHEDULES                                                                           Exhibit F-1                                                                       PAGE 46
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In re                 USA Commercial Mortgage Company                               ,                                               Case No. 06-10725-LBR
                                         Debtor                                                                                              (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address                Loan Name                 Unremitted Principal
        Joseph J. Machetta, Trustee of the Joseph J. Machetta Trust dated 8/25/04  P O Box 187                      Amesbury/Hatters Point                           $1,359.50
                                                                                   Brush, CO
                                                                                   80723
        Joseph R. Agliolo Trustee of The 1991 Agliolo Revocable Living Trust       1309 Palm Drive                  Oak Shores II                                   $10,238.91
                                                                                   Burlingame, CA
                                                                                   94010
        Joseph R. Rinaldi & Gloria E. Rinaldi Trustees of the Joseph R. Rinaldi & 1069 Vanlier                      Amesbury/Hatters Point                             $815.70
        Gloria E. Rinaldi Revocable Trust dated 7/23/02                            Henderson, NV
                                                                                   89015
        Joseph R. Rinaldi & Gloria E. Rinaldi Trustees of the Joseph R. Rinaldi & 1069 Vanlier                      Beau Rivage Homes/$8,000,000                       $102.20
        Gloria E. Rinaldi Revocable Trust dated 7/23/02                            Henderson, NV
                                                                                   89015
        Joseph R. Rinaldi & Gloria E. Rinaldi Trustees of the Joseph R. Rinaldi & 1069 Vanlier                      The Gardens, LLC Timeshare                        $1,699.89
        Gloria E. Rinaldi Revocable Trust dated 7/23/02                            Henderson, NV
                                                                                   89015
        Joseph Sterling & Theresa Sterling Trustees of the Sterling Family Trust   25236 Via Entrada                Bay Pompano Beach                               $12,951.80
        dated 6/14/02                                                              Laguna Niguel, CA 92677
        Joseph Sterling & Theresa Sterling Trustees of the Sterling Family Trust   25236 Via Entrada                Oak Shores II                                   $10,238.91
        dated 6/14/02                                                              Laguna Niguel, CA 92677
        Joseph Sterling & Theresa Sterling Trustees of the Sterling Family Trust   25236 Via Entrada                Roam Development Group                            $1,164.97
        dated 6/14/02                                                              Laguna Niguel, CA 92677
        Joseph W. Sabia & Victoria L. Sabia, husband & wife, as joint tenants with 2720 E Quail Ave                 Freeway 101                                     $75,333.33
        right of survivorship                                                      Las Vegas, NV
                                                                                   89120
        Josephine Casebolt Trustee of the Casebolt Revocable Trust dated 2/30/94 201 Ada Avenue 46                  Bay Pompano Beach                               $12,951.80
                                                                                   Mountain View, CA
                                                                                   94043
        Joy Dorine Taylor, a married woman dealing with her sole & separate        13658 La Jolla Circle Unit 8 B   Amesbury/Hatters Point                           $1,359.49
        property                                                                   La Mirada, CA
                                                                                   90638
        Joy Investment, Inc., a Nevada Corporation                                 14375 White Star Lane            Bay Pompano Beach                               $30,566.24
                                                                                   Valley Center, CA
                                                                                   92082
        Joy Investment, Inc., a Nevada Corporation                                 14375 White Star Lane            Del Valle Isleton                               $13,960.87
                                                                                   Valley Center, CA
                                                                                   92082
        Joy Investment, Inc., a Nevada Corporation                                 14375 White Star Lane            Oak Shores II                                   $35,836.18
                                                                                   Valley Center, CA
                                                                                   92082
        Joy M. Jackson Trustee of the Joy M. Jackson Revocable Living Trust        827 Union Pacific Blvd.          Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   PMB 71175
                                                                                   Laredo, TX 78045
        Joyce A. Hayward Trustee of the 1985 Hayward Living Trust dated            10811 Zoeloer Ct                 Bay Pompano Beach                               $25,903.59
        7/06/1985                                                                  Reno, NV
                                                                                   89511
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99           3080 Red Springs Drive           Cabernet                                        $11,538.46
                                                                                   Las Vegas, NV 89135
        Joyce E. Smith Trustee of the Joyce E. Smith Trust dated 11/3/99           3080 Red Springs Drive           Preserve at Galleria, LLC                          $800.39
                                                                                   Las Vegas, NV 89135
        Judd Robbins & Lin Van Heuit-Robbins Trustee of the Tesseract Trust        1340 Anderson Creek Rd           Beau Rivage Homes/$8,000,000                       $145.99
        dated 3/31/04                                                              Talent, OR
                                                                                   97540
        Judd Robbins & Lin Van Heuit-Robbins Trustee of the Tesseract Trust        1340 Anderson Creek Rd           Universal Hawaii                                $57,609.45
        dated 3/31/04                                                              Talent, OR
                                                                                   97540
        Judith A. Robinson, Trustee of the Judith A. Robinson Revocable Living     10830 E Oak Creek Valley Dr      Oak Shores II                                   $10,238.91
        Trust dated 4/2/01                                                         Cornville, AZ
                                                                                   86325
        Judith Candelario, an unmarried woman                                      2575 Kellogg Loop                The Gardens, LLC Timeshare                        $1,699.89
                                                                                   Livermore, CA 94550
        Judith Eaton, an unmarried woman & Dixie B. Gross, an unmarried woman, 1333 Keene Road Rte 3                Bay Pompano Beach                               $12,951.80
        as joint tenants with right of survivorship                                Ladysmith, BC
        Judith Eaton, an unmarried woman & Dixie B. Gross, an unmarried woman, 1333 Keene Road Rte 3                Universal Hawaii                                $57,609.45
        as joint tenants with right of survivorship                                Ladysmith, BC




SCHEDULES                                                                               Exhibit F-1                                                                PAGE 47
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In re                 USA Commercial Mortgage Company                                ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                              (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                                Mailing Address              Loan Name                  Unremitted Principal
        Judith W. Hilgenberg Trustee of the Judith Hilgenberg Trust dated 1/26/06    1840 Canal St                  Roam Development Group                            $1,164.97
                                                                                     Auburn, CA
                                                                                     95603
        June Cook Trustee of the Alvin Broido Marital Trust U/A dated 4/24/72        7228 Estrella De Mar Road      Roam Development Group                            $1,164.97
                                                                                     Carlsbad, CA 92009
        June F. Brehm, a unmarried woman                                             103 Montesol Drive             Freeway 101                                     $41,666.67
                                                                                     Henderson, NV
                                                                                     89012
        June F. Brehm, a unmarried woman                                             103 Montesol Drive             The Gardens, LLC $2,425,000                     $10,309.28
                                                                                     Henderson, NV
                                                                                     89012
        June Y. Burlingame & David B. Burlingame, husband & wife, as joint           4465 Boca Way Sp 215           Roam Development Group                            $1,397.97
        tenants with right of survivorship                                           Reno, NV 89502
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda Living          P O Box 485                    Amesbury/Hatters Point                           $1,359.49
        Trust dated 5/30/02                                                          Truckee, CA
                                                                                     96160
        K. Ken Kaneda & Brigitte Arend-Kaneda Trustees of the Kaneda Living          P O Box 485                    Oak Shores II                                   $10,238.91
        Trust dated 5/30/02                                                          Truckee, CA
                                                                                     96160
        K. Van Ummersen, an unmarried man                                            P O Box 33                     Amesbury/Hatters Point                             $271.90
                                                                                     Reno, NV
                                                                                     89504
        Karen Gordon Trustee of the KGG Living Trust dated 7/29/96                   2305 Plaza Del Prada           Bay Pompano Beach                               $12,951.80
                                                                                     Las Vegas, NV
                                                                                     89102
        Karen Gordon Trustee of the KGG Living Trust dated 7/29/96                   2305 Plaza Del Prada           Beastar, LLC                                    $21,792.24
                                                                                     Las Vegas, NV
                                                                                     89102
        Karen R. Allison                                                             2656 Seashore Dr               Oak Shores II                                   $10,238.91
                                                                                     Las Vegas, CA
                                                                                     89128
        Karl O. Schelling, a married man dealing with his sole & separate property   4848 McCain Road               Amesbury/Hatters Point                           $1,359.49
                                                                                     Jackson , MI
                                                                                     49201
        Katherine S. Perlman, an unmarried woman                                     218 Kenneth Dr                 Oak Shores II                                   $20,477.82
                                                                                     Aptos, CA 95003
        Kathleen A. Boyce Trustee of the Kassu, LLC Profit Sharing Plan dated        16865 Rue Du Parc              Universal Hawaii                                $17,649.61
        1/1/05                                                                       Reno, NV
                                                                                     89511
        Kathleen F. Dellarusso Trustee of the 1996 Scafidi Childrens Trust dated     2897 Rio Vista Drive           The Gardens, LLC $2,425,000                     $10,309.28
        6/27/96                                                                      Minden, NV
                                                                                     89423
        Kathleen K. Borkoski Trustee of the Austin John Borkoski Trust dated         1110 Elo Road                  Oak Shores II                                   $15,358.36
        12/10/92                                                                     McCall, ID
                                                                                     83638
        Kathleen K. Borkoski Trustee of the Austin John Borkoski Trust dated         1110 Elo Road                  Roam Development Group                            $1,164.97
        12/10/92                                                                     McCall, ID
                                                                                     83638
        Kathleen K. Borkoski Trustee of the Kali Gene Borkoski Trust dated           1110 Elo Road                  Oak Shores II                                   $10,238.91
        12/21/89                                                                     McCall, ID
                                                                                     83638
        Kathleen K. Borkoski Trustee of the Kali Gene Borkoski Trust dated           1110 Elo Road                  Roam Development Group                            $1,164.97
        12/21/89                                                                     McCall, ID
                                                                                     83638
        Kathy A. Wilson, Trustee of the Kathy A. Wilson Separate Property Trust      3581 Birtcher Dr               Bay Pompano Beach                               $12,951.80
        dated November 18, 1994                                                      Las Vegas, NV
                                                                                     89118
        Kathy John, an unmarried woman & Tina Eden, as unmarried woman, as           57 Poinsettia Dr               Amesbury/Hatters Point                             $815.70
        joint tenants with right of survivorship                                     Ormond Beach, FL
                                                                                     32176
        Kathy John, an unmarried woman & Tina Eden, as unmarried woman, as           57 Poinsettia Dr               Beau Rivage Homes/$8,000,000                        $72.99
        joint tenants with right of survivorship                                     Ormond Beach, FL
                                                                                     32176




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In re                 USA Commercial Mortgage Company                             ,                                               Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address                Loan Name                 Unremitted Principal
        Katrine Mirzaian, an unmarried woman                                         708 Prospect Drive           Bay Pompano Beach                               $25,903.59
                                                                                     Glendale, CA
                                                                                     91205
        Kay J. Hart, an unmarried woman                                              2240 Park Newport Apt. 312   Roam Development Group                            $1,164.97
                                                                                     Newport Beach, CA
                                                                                     92660
        Kay M. Cantrell, an unmarried woman, and Donald L. Hess, an unmarried 914 Shore Crest Rd.                 Roam Development Group                            $1,164.97
        man, as joint tenants with the right of survivorship                         Carlsbad, CA
                                                                                     92009
        Ken Wyatt Enterprises, Inc., a Nevada corporation                            P.O. Box 370400              Universal Hawaii                                $57,609.45
                                                                                     Las Vegas, NV 89137
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust                100 W Broadway Apt # 7V      Bay Pompano Beach                               $25,903.59
                                                                                     Long Beach, NY 11561
        Kenneth Addes & Victoria Addes Co-Trustees of the Addes Trust                100 W Broadway Apt # 7V      The Gardens, LLC Timeshare                        $1,699.89
                                                                                     Long Beach, NY 11561
        Kenneth B. Schulz & Mary Kay Bryan-Schulz, husband & wife, as joint          525 Jones Drive              Universal Hawaii                                $28,804.73
        tenants with right of survivorship                                           Lake Havasu City, AZ
                                                                                     86406
        Kenneth Kistinger & Tina Kistinger, husband and wife as joint tenants with 839 Lyndon Street              Roam Development Group                            $4,077.39
        rights of survivorship                                                       South Pasadena, CA 91030
        Kenneth L. Hansen & Donna J. Hansen Trustees of the Hansen Family Trust 13287 Rattlesnake Rd              Preserve at Galleria, LLC                          $240.12
        dated 6/6/89                                                                 Grass Valley, CA
                                                                                     95945
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace Becker & 920 South Elizabeth Street           Bay Pompano Beach                               $25,903.59
        Sarah Becker, their minor children with right of survivorship                Denver, CO 80209
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace Becker & 920 South Elizabeth Street           The Gardens, LLC Timeshare                        $1,699.89
        Sarah Becker, their minor children with right of survivorship                Denver, CO 80209
        Kenneth R. Becker & Joanne T. Becker, husband & wife, Grace Becker & 920 South Elizabeth Street           Universal Hawaii                                $57,609.45
        Sarah Becker, their minor children with right of survivorship                Denver, CO 80209
        Kenneth S. Eckstein & Judy A. Eckstein, husband & wife, as joint tenants 377 Prewett Dr                   Roam Development Group                            $2,912.42
        with right of survivorship                                                   Folsom, CA 95630
        Kevin J. Higgins & Ana Marie Higgins Trustees of the Kevin J. Higgins & 10413 Mansion Hills Avenue        Oak Shores II                                   $20,477.82
        Ana Marie Higgins Family Trust dated 8/4/92                                  Las Vegas, NV 89144
        Kevin Kehl Custodian For Andrew R. Kehl UNVUTMA                              1770 Dover Court             Bay Pompano Beach                                 $2,590.36
                                                                                     Dubuque, IA 52003
        Kevin Kehl Custodian For Susan L. Kehl UIAUTMA                               1770 Dover Court             Bay Pompano Beach                                 $2,590.36
                                                                                     Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate property          1770 Dover Court             Bay Pompano Beach                               $38,855.38
                                                                                     Dubuque, IA 52003
        Kevin Kehl, a married man dealing with his sole & separate property          1770 Dover Court             Roam Development Group                            $3,494.91
                                                                                     Dubuque, IA 52003
        Kevon Cottrell & Karen Cottrell, husband & wife, as joint tenants with right P O Box 716                  Amesbury/Hatters Point                             $815.70
        of survivorship                                                              El Granada, CA 94018
        Kim W. Gregory & Debbie R. Gregory Trustees of the Gregory Family            6242 W Coley Avenue          Oak Shores II                                   $10,238.91
        Trust of 1988                                                                Las Vegas, NV 89102
        Kip E. Virts & Melissa A. Virts, husband & wife, as joint tenants with right 5925 Bar Harbor Ct           Universal Hawaii                                $28,804.76
        of survivorship                                                              Elk Grove, CA
                                                                                     95758
        Kirk Capra & Mary Capra, husband & wife, as joint tenants with right of      HC02 Box 14404               Bay Pompano Beach                               $12,951.80
        survivorship                                                                 Vieques,
                                                                                     765
        Kiwi-Nevada LP                                                               P. O. Box 370400             Bay Pompano Beach                               $12,951.80
                                                                                     Las Vegas, NV 89137
        Kiwi-Nevada LP                                                               P. O. Box 370400             Beastar, LLC                                    $21,792.24
                                                                                     Las Vegas, NV 89137
        KTaylorGO Investments, LTD, a Texas company                                  P. O. Box 911209             Amesbury/Hatters Point                            $2,718.99
                                                                                     St. George, UT
                                                                                     84791
        KTaylorGO Investments, LTD, a Texas company                                  P. O. Box 911209             Bay Pompano Beach                               $25,903.59
                                                                                     St. George, UT
                                                                                     84791
        KTaylorGO Investments, LTD, a Texas company                                  P. O. Box 911209             Beau Rivage Homes/$8,000,000                       $145.99
                                                                                     St. George, UT
                                                                                     84791




SCHEDULES                                                                             Exhibit F-1                                                                PAGE 49
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In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        KTaylorGO Investments, LTD, a Texas company                                P. O. Box 911209             Oak Shores II                                   $20,477.82
                                                                                   St. George, UT
                                                                                   84791
        KTaylorGO Investments, LTD, a Texas company                                P. O. Box 911209             Roam Development Group                            $2,329.94
                                                                                   St. George, UT
                                                                                   84791
        L. Ronald Trepp & Jacqueline P. Trepp Trustees of the L. Ronald Trepp & 13829 Jolly Roger Street        Bay Pompano Beach                               $23,313.25
        Jacqueline P. Trepp Family Trust                                           Corpus Chrisi, TX 78418
        L. V. Knight & Margaret E. Knight, husband & wife, as joint tenants with 529 Shasta Ave                 Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Oroville, CA
                                                                                   95965
        Laila Aziz, a single woman                                                 9785 Ice Box Canyon Ct       Beastar, LLC                                    $21,792.24
                                                                                   Las Vegas, NV
                                                                                   89117
        Lammert Kuiper, Jr. & Audrey Kuiper, husband & wife, as joint tenants      1120 Broken Hills Drive      Beau Rivage Homes/$8,000,000                        $72.99
        with right of survivorship                                                 Henderson, NV
                                                                                   89015
        Larry Apigian & Leona Apigian, husband & wife, as joint tenants with right 172 Woodland Road            Freeway 101                                     $41,666.67
        of survivorship                                                            Goldendale, WA 98620
        Larry B. Bartholomew & Karen S. Bartholomew Trustees of the                P O Box 521                  Freeway 101                                     $83,333.33
        Bartholomew Family Trust under agreement dated 7/1/99                      American Fork, UT 84043
        Larry D. Lehrmann & Kathleen F. Lehrmann Trustees of the Lehrmann          204 W. Mill Valley Drive     Bay Pompano Beach                               $12,951.80
        Family Trust dated 4/19/96                                                 Colleyville, TX 76034
        Larry D. Sargent & Marjean Sargent, husband & wife, as joint tenants with 26813 Oak Branch Circle       Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Newhall, CA
                                                                                   91321
        Larry E. Colborn & Loretta A. Colborn Trustees for the Colborn Revocable 38831 Parker Ridge Way         Lake Helen Partners                                 $98.02
        Living Trust dated 8/6/90                                                  Palm Desert, CA
                                                                                   92260
        Larry E. Hanan Trustee of the Larry E. Hanan Revocable Trust dated         4410 Endicott Place          The Gardens, LLC $2,425,000                     $10,309.28
        5/20/02                                                                    Tampa, FL 33624
        Larry H. Anderson and Frank Cornwell, Trustees of the Fred L. Baybarz and 13250 Mahogany Dr             Bay Pompano Beach                               $12,951.80
        Carolyn C. Baybarz Foundation                                              Reno, NV
                                                                                   89511
        Larry J. Newman & Elsie D. Newman Trustees of the Newman Family Trust 1150 Monroe Court                 Del Valle Isleton                                 $5,507.25
        dated 9/30/97                                                              Reno, NV
                                                                                   89509
        Larry J. Newman & Elsie D. Newman Trustees of the Newman Family Trust 1150 Monroe Court                 Preserve at Galleria, LLC                          $400.19
        dated 9/30/97                                                              Reno, NV
                                                                                   89509
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger & Patsy 2615 Glen Eagles Drive        Amesbury/Hatters Point                          $12,915.28
        R. Rieger Revocable Trust dated 8/14/91                                    Reno, NV
                                                                                   89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger & Patsy 2615 Glen Eagles Drive        Freeway 101                                    $166,666.67
        R. Rieger Revocable Trust dated 8/14/91                                    Reno, NV
                                                                                   89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger & Patsy 2615 Glen Eagles Drive        Roam Development Group                            $2,912.42
        R. Rieger Revocable Trust dated 8/14/91                                    Reno, NV
                                                                                   89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger & Patsy 2615 Glen Eagles Drive        The Gardens, LLC Timeshare                        $1,699.89
        R. Rieger Revocable Trust dated 8/14/91                                    Reno, NV
                                                                                   89523
        Larry L. Rieger & Patsy R. Rieger Trustees of the Larry L. Rieger & Patsy 2615 Glen Eagles Drive        Universal Hawaii                               $148,056.25
        R. Rieger Revocable Trust dated 8/14/91                                    Reno, NV
                                                                                   89523
        Larry Laub & Betty Morris-Laub, husband & wife, as joint tenants with      18532 Spicer Lake Court      Amesbury/Hatters Point                             $190.32
        right of survivorship                                                      Reno, NV
                                                                                   89506
        Larry M. Brown & Marie S. Brown, husband & wife, as joint tenants with 7020 Earldom Avenue              Bay Pompano Beach                               $25,903.59
        right of survivorship                                                      Playa Del Rey, CA
                                                                                   90293
        Larry M. Brown & Marie S. Brown, husband & wife, as joint tenants with 7020 Earldom Avenue              Roam Development Group                            $2,329.94
        right of survivorship                                                      Playa Del Rey, CA
                                                                                   90293




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                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & Susan L. P. O. Box 6585                 Freeway 101                                     $41,666.67
        Brasuell 1996 Living Trust dated 7/22/96                                     Gardnerville, NV
                                                                                     89460
        Larry R. Brasuell & Susan L. Brasuell Trustees of The Larry R. & Susan L. P. O. Box 6585                 Universal Hawaii                                $86,414.16
        Brasuell 1996 Living Trust dated 7/22/96                                     Gardnerville, NV
                                                                                     89460
        Lauren Reale, a single woman                                                 211 Cherry St.              Beau Rivage Homes/$8,000,000                       $102.16
                                                                                     Petaluma, CA
                                                                                     94952
        Laurence A. Da Costa, Jr. & Sylvia J. Da Costa, husband & wife, as joint     1172 Del Mesa Ct            Del Valle Isleton                                 $2,753.64
        tenants with right of survivorship                                           Minden, NV
                                                                                     89423
        Lawrence D. Wengert & Dawn M. Wengert Trustees of the Wengert Family 868 Judi Place                      The Gardens, LLC $2,425,000                     $10,309.28
        Trust Dated 2/20/98                                                          Boulder City, NV 89005
        Lawrence Rausch, a married man as his sole & separate property               10708 Brinkwood Avenue      Amesbury/Hatters Point                           $2,718.98
                                                                                     Las Vegas, NV 89134
        Lawrence Rausch, a married man as his sole & separate property               10708 Brinkwood Avenue      Beau Rivage Homes/$8,000,000                       $145.99
                                                                                     Las Vegas, NV 89134
        Lee Bryant & Patricia Bryant, husband & wife, as joint tenants with right of 521 W Painted Trails Rd     Freeway 101                                     $41,666.67
        survivorship                                                                 Pahrump, NV
                                                                                     89060
        Leif A. Johansen & Roberta K. Johansen Trustees of The Johansen Family P O Box 2773                      Oak Shores II                                   $30,716.72
        Trust dated 10/23/87; as Amended 6/11/04                                     Truckee, CA
                                                                                     96160
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. Swanson 212 Greenbriar Lane                 Roam Development Group                            $2,329.94
        Living Trust dated 6/26/01                                                   Buffalo, MN 55313
        Leland K. Swanson Trustee of the Alvin M. Swanson & Grace E. Swanson 212 Greenbriar Lane                 Bay Pompano Beach                               $41,445.76
        Living Trust dated 7/26/01                                                   Buffalo, MN 55313
        Leland T. Pearce & Isabelle J. Pearce, husband & wife, as joint tenants with 3160 Eaglewood Drive        Beau Rivage Homes/$8,000,000                        $29.21
        right of survivorship                                                        Reno, NV
                                                                                     89502
        Lelia Yvonne Needens Trustee of the Needens 1997 Living Trust                1329 Hwy 395 10130          Amesbury/Hatters Point                           $2,148.01
                                                                                     Gardnerville, NV 89410
        Lelia Yvonne Needens Trustee of the Needens 1997 Living Trust                1329 Hwy 395 10130          Del Valle Isleton                                 $8,260.87
                                                                                     Gardnerville, NV 89410
        Leo Lucas & Mary Lucas Trustees of the Leo & Mary Lucas Family               6121 West Eugene            Beau Rivage Homes/$8,000,000                        $72.99
        Revocable Trust dated 5/16/96                                                Las Vegas, NV 89108
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & Suzy Singer 2601 Byron Drive               Bay Pompano Beach                               $12,951.80
        Revocable Trust dated 6/30/99                                                Las Vegas, NV 89134
        Leon E. Singer & Suzy Singer Trustees of the Leon E. Singer & Suzy Singer 2601 Byron Drive               Roam Development Group                            $1,164.97
        Revocable Trust dated 6/30/99                                                Las Vegas, NV 89134
        Leona Lubliner Trustee of the Leona Lubliner Living Trust U/A dated          880 Buffwood Avenue         Bay Pompano Beach                               $12,951.80
        7/16/96                                                                      Las Vegas, NV
                                                                                     89123
        Leonard J. Georges & Jean Georges Co-Trustees of the Georges 1987 Trust 701 Rancho Circle                Roam Development Group                            $4,659.87
        dated 12/23/87                                                               Las Vegas, NV
                                                                                     89107
        Leonard J. Ramos & Claudia C. Ramos Trustees of the Ramos Family Trust 115 Mia Vista Court               Preserve at Galleria, LLC                          $400.19
        dated 8/27/97                                                                Reno, NV
                                                                                     89502
        Leonard Jay Nevins & Ruth Nevins Trustees of the Nevins Family Trust         3027 Big Green Lane         Roam Development Group                            $1,164.97
        dated 6/9/00                                                                 Las Vegas, NV 89134
        Leonard Newman, Trustee of the Leonard Newman Trust dated 10/11/05           1597 Santa Anita Drive      Amesbury/Hatters Point                             $679.75
                                                                                     Las Vegas, NV
                                                                                     89119
        Leonard Vandergaag & Hillegonda Vandergaag Trustees of the LHV Living 7242 Evening Hills Avenue          Bay Pompano Beach                               $12,951.80
        Trust dated 10/31/01                                                         Las Vegas, NV 89113
        Lesleigh J. Tolin, a single woman                                            5950 Canterbury Dr C-210    Preserve at Galleria, LLC                          $200.10
                                                                                     Culver City, CA
                                                                                     90230
        Lesley Stricker, a widow                                                     4 Stanley Street            Amesbury/Hatters Point                           $2,164.27
                                                                                     Pleasantville, NY
                                                                                     10570




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                                         Debtor                                                                                            (If known)




                                               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                   EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        Leslie S. Lanes, a married woman as her sole and separate property         1390 Frank Hill Road           Bay Pompano Beach                               $12,951.80
                                                                                   Ashland, OR
                                                                                   97520
        Lewis H. Fine & Arlene J. Fine, husband & wife                             P O Box 487                    Bay Pompano Beach                               $12,951.80
                                                                                   Oakley, UT
                                                                                   84055
        Lewis H. Fine & Arlene J. Fine, husband & wife                             P O Box 487                    Roam Development Group                            $1,164.97
                                                                                   Oakley, UT
                                                                                   84055
        Lexey S. Parker                                                            4005 Plateau Road              Oak Shores II                                   $20,477.82
                                                                                   Reno, NV 89509
        Liberty Resource Management Corp., a Pennsylvania company                  P O Box 7069                   Amesbury/Hatters Point                           $2,718.99
                                                                                   Audubon, PA
                                                                                   19407
        Lily Markham, a married woman dealing with her sole & separate property    7746 Foredawn Dr               Beau Rivage Homes/$8,000,000                        $87.59
        & Irene Anne Markham-Tafoya, a married woman dealing with her sole &       Las Vegas, NV
        separate property                                                          89123
        Lily Markham, a married woman dealing with her sole & separate property    7746 Foredawn Dr               Cabernet                                        $11,538.46
        & Irene Anne Markham-Tafoya, a married woman dealing with her sole &       Las Vegas, NV
        separate property                                                          89123
        Lincoln Trust Company Trustee for the benefit of Jeffrey Janus             8013 Glendale Drive            Amesbury/Hatters Point                           $1,087.60
                                                                                   Frederick, MD 21702
        Linda E. Reynolds, a married woman dealing with her sole and separate      337 Westminster Avenue         Del Valle Isleton                                 $2,753.64
        property                                                                   Salt Lake City , UT
                                                                                   84115
        Linda F. Carsten, an unmarried woman                                       2330 Overlook Ct.              Preserve at Galleria, LLC                          $532.26
                                                                                   Reno, NV
                                                                                   89509
        Linda F. Carsten, an unmarried woman                                       2330 Overlook Ct.              Universal Hawaii                                $28,804.73
                                                                                   Reno, NV
                                                                                   89509
        Linda Kiel, a single woman                                                 12001 Clover Avenue            Roam Development Group                            $1,980.46
                                                                                   Los Angeles, CA 90066
        Linda Levin, a married woman dealing with her sole and separate property   8000 Castle Pines Ave          Bay Pompano Beach                               $15,542.15
                                                                                   Las Vegas, NV
                                                                                   89113
        Linda M. Herdman Trustee for the Linda M. Herdman Family Trust dated       3709 Lake Avenue               Bay Pompano Beach                               $12,951.80
        12/11/03                                                                   Newport Beach, CA 92663
        Lisa Y. Daskas, a single woman                                             3464 Caraway Lane              Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Yorba Linda, CA
                                                                                   92886
        LK Wolfe Family, LP, a Nevada limited partnership                          5035 Landy Bank Court          Lake Helen Partners                                $196.05
                                                                                   Reno, NV 89509
        LK Wolfe Family, LP, a Nevada limited partnership                          5035 Landy Bank Court          Universal Hawaii                                $28,804.73
                                                                                   Reno, NV 89509
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust dated 5/20/99   5626 E Edgemont Avenue         Amesbury/Hatters Point                           $3,534.70
                                                                                   Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust dated 5/20/99   5626 E Edgemont Avenue         Bay Pompano Beach                               $12,951.80
                                                                                   Scottsdale, AZ 85257
        Lloyd F. Van Sickle Trustee of The Van Sickle Family Trust dated 5/20/99   5626 E Edgemont Avenue         Roam Development Group                            $3,494.91
                                                                                   Scottsdale, AZ 85257
        Lori Dietzman and William Dietzman, wife and husband as joint tenants      10374 Summer Holly Circle      Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                 Los Angeles, CA
                                                                                   90077
        Lori E. Oxx, a married woman dealing with her sole & separate property     6501 Dume Drive                Bay Pompano Beach                               $12,951.80
                                                                                   Malibu, CA
                                                                                   90265
        Lorin Loughlin and Rand Yazzolino, husband & wife as joint tenants with    1259 Bags Blvd                 Oak Shores II                                   $20,477.82
        right of survivorship                                                      Sonoma, CA
                                                                                   95476
        Lorraine Moscianese, an unmarried woman                                    1306 West Shellfish Drive      Amesbury/Hatters Point                             $815.70
                                                                                   Gilbert, AZ 85233
        Lorraine Moscianese, an unmarried woman                                    1306 West Shellfish Drive      Freeway 101                                     $41,666.67
                                                                                   Gilbert, AZ 85233




SCHEDULES                                                                              Exhibit F-1                                                               PAGE 52
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In re                USA Commercial Mortgage Company                             ,                                                   Case No. 06-10725-LBR
                                        Debtor                                                                                                (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                    Loan Name                 Unremitted Principal
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust under           303 E. Wildwood Drive            Cabernet                                        $23,076.92
        agreement dated 10/3/95                                                     Phoenix, AZ 85048
        Lou O. Maldonado Trustee for the benefit of Maldonado Trust under           303 E. Wildwood Drive            Preserve at Galleria, LLC                          $800.39
        agreement dated 10/3/95                                                     Phoenix, AZ 85048
        Louis DeGravina                                                             1138 West Sea Fog Drive          Bay Pompano Beach                               $25,903.59
                                                                                    Gilbert, AZ 85233
        Louis H. Shahin Trustor & Trustee of The Louis H. Shahin Trust dated        19211 Chole Rd.                  Oak Shores II                                   $10,238.91
        6/9/94                                                                      Apple Valley, CA 92307
        Louise Teeter & Norman Teeter, as joint tenants with right of survivorship 4201 Via Marina #300              Universal Hawaii                                $37,446.14
                                                                                    Marina Del Rey, CA 90292
        Loyal Crownover, Trustee of the Lora and Loyal Crownover Family Trust 2213 Plaza Del Puerto                  Roam Development Group                            $4,659.87
                                                                                    Las Vegas, NV 89102
        Lucas W. Landau, an unmarried man                                           10582 Eagle Fall Way             Lake Helen Partners                                 $98.02
                                                                                    Reno, NV 89521
        Lucille Farrlow Trustee of the Lucille Farrlow Trust 2000                   7821 Sailboat Lane               Beau Rivage Homes/$8,000,000                       $321.13
                                                                                    Las Vegas, NV 89145
        Lucrecia Sparks Trustee of the Lucrecia Sparks Living Trust dated 3/29/00 868 Vegas Valley Drive             Beau Rivage Homes/$8,000,000                       $218.95
                                                                                    Las Vegas, NV 89108
        Luther E. Tate, an unmarried man                                            678 Wells Road                   Bay Pompano Beach                               $12,951.80
                                                                                    Boulder City, NV
                                                                                    89005
        Luther E. Tate, an unmarried man                                            678 Wells Road                   The Gardens, LLC Timeshare                        $1,699.89
                                                                                    Boulder City, NV
                                                                                    89005
        Lynda Gay Anderson, Trustee of the Lynda Gay Anderson Trust dated           802 San Remo Way                 Bay Pompano Beach                               $12,951.80
        7/7/04                                                                      Boulder City, NV
                                                                                    89005
        Lynn L Fetterly & Melody A. Fetterly Trustees of the Fetterly Family Trust P O Box 5986                      Oak Shores II                                   $20,477.82
        dated 6/30/89                                                               Incline Village, NV
                                                                                    89450
        Lynn M. Maguire, an unmarried woman                                         2816 Vista Del Sol               Amesbury/Hatters Point                             $679.74
                                                                                    Las Vegas, NV
                                                                                    89120
        Lynn Wilkelis, an unmarried woman & Ann Marsden, as unmarried woman, PO Box 642                              Preserve at Galleria, LLC                          $400.19
        as joint tenants with right of survivorship                                 Buellton, CA 93427
        M & R M, LLC, a Nevada limited liability company                            2877 Paradise Rd Ste 1004        Beastar, LLC                                   $108,961.19
                                                                                    Las Vegas, NV 89109
        M. Evelyn Fisher, and/or successor(s) in trust, as Trustee of The M. Evelyn 3406 S Feldspar Ave              Universal Hawaii                                $43,207.07
        Fisher Revocable Trust dated 11/07/05                                       Tucson, AZ
                                                                                    85735
        M. Glenn Dennison & Susan M. Dennison, husband & wife, as joint tenants 3345 Meridian Lane                   Freeway 101                                     $83,333.33
        with right of survivorship                                                  Reno, NV
                                                                                    89509
        Madalene Luca, a single woman                                               1398 Minuet Street               Amesbury/Hatters Point                             $679.74
                                                                                    Henderson, NV 89052
        Madeline P. Von Tagen Trustee of the Von Tagen Trust dated 5/2/96           8557 Little Fox St               Roam Development Group                            $2,329.94
                                                                                    Las Vegas, NV
                                                                                    89123
        Mae Mineo Trustee of the Mae Mineo Trust dated 3/23/00                      2287 Western Oak Drive           Del Valle Isleton                                 $5,507.26
                                                                                    Redding, CA
                                                                                    96002
        Mahendra C. Mody, a single man                                              100 N Arlington Ave #7-A         Amesbury/Hatters Point                             $516.61
                                                                                    Reno, NV
                                                                                    89501
        Mahendra C. Mody, a single man                                              100 N Arlington Ave #7-A         Beau Rivage Homes/$8,000,000                       $145.99
                                                                                    Reno, NV
                                                                                    89501
        Malcolm Telloian Jr. and Joan B. Telloian, husband and wife, as joint       7806 Broadwing Drive             Beastar, LLC                                    $26,150.67
        tenants with the right of survivorship                                      North Las Vegas, NV
                                                                                    89084
        Malden Ventures Ltd.                                                        400 Dorla Ct Ste 171 PMB 10162   Bay Pompano Beach                               $25,903.59
                                                                                    Zephyr Cove, NV
                                                                                    89448




SCHEDULES                                                                            Exhibit F-1                                                                    PAGE 53
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In re                USA Commercial Mortgage Company                             ,                                                  Case No. 06-10725-LBR
                                       Debtor                                                                                                (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                   Loan Name                 Unremitted Principal
        Malden Ventures Ltd.                                                       400 Dorla Ct Ste 171 PMB 10162   Beastar, LLC                                    $21,792.24
                                                                                   Zephyr Cove, NV
                                                                                   89448
        Malden Ventures Ltd.                                                       400 Dorla Ct Ste 171 PMB 10162   Roam Development Group                            $2,329.94
                                                                                   Zephyr Cove, NV
                                                                                   89448
        Manuel F. Rendon & Constance M. Rendon, husband & wife, as joint           9900 Wilbur May Pkwy #1206       Universal Hawaii                                $28,804.73
        tenants with right of survivorship                                         Reno , NV
                                                                                   89521
        Marc A. Goddard and Damara R. Stone-Goddard, husband and wife, as joint P. O. Box 2028                      Oak Shores II                                   $10,238.91
        tenants with the right of survivorship                                     Truckee, CA
                                                                                   96160
        Marcia C. Albiol & Henry Albiol, husband & wife, as joint tenants with     P O Box 221356                   Bay Pompano Beach                               $12,951.80
        right of survivorship                                                      Carmel, CA
                                                                                   93922
        Marcia J. Knox Trustee of the Marcia J. Knox Living Trust dated 8/16/04    1885 Vintners Place              Bay Pompano Beach                               $25,903.59
                                                                                   Reno, NV 89509
        Margaret E. Schryver Trustee of the Margaret E. Schryver Trust dated       41880 Creighton Rd               Amesbury/Hatters Point                             $271.90
        12/6/90                                                                    Fall River Mills, CA
                                                                                   96028
        Marge Karney, an unmarried woman                                           8445 Allenwood Road              Amesbury/Hatters Point                             $951.65
                                                                                   Los Angeles, CA 90046
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg 2000 Trust      727 Third Ave                    Copper Sage Commerce Center, LLC                $35,750.73
        dated 6/20/00                                                              Chula Vista, CA
                                                                                   91910
        Marguerite Falkenborg Trustee of the Marguerite Falkenborg 2000 Trust      727 Third Ave                    Roam Development Group                            $2,329.94
        dated 6/20/00                                                              Chula Vista, CA
                                                                                   91910
        Maria Adelaide Rayment, transfer on death to Paul Rayment                  7662 Villa Del Mar Avenue        Roam Development Group                            $1,164.97
                                                                                   Las Vegas, NV
                                                                                   89131
        Maria Enamorado, a married woman dealing with her sole & separate          955 Temple View Drive            Beau Rivage Homes/$8,000,000                      $1,459.73
        property                                                                   Las Vegas, NV 89110
        Marian D. Barbarigos, an unmarried woman                                   2675 Del Norte Court             Del Valle Isleton                                 $2,753.64
                                                                                   Minden, NV 89423
        Marie L. Ehlers, an unmarried woman                                        7265 Shady Lane Way              Bay Pompano Beach                               $15,542.15
                                                                                   Roseville, CA 95747
        Marietta Voglis, a married woman dealing with her sole & separate property 201 E 79 St Apt 17A              Roam Development Group                            $1,164.97
                                                                                   New York, NY 10021
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated 11/18/93        102 Topsail                      Amesbury/Hatters Point                           $1,359.49
                                                                                   Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated 11/18/93        102 Topsail                      Bay Pompano Beach                               $12,951.80
                                                                                   Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated 11/18/93        102 Topsail                      Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated 11/18/93        102 Topsail                      Freeway 101                                     $41,666.67
                                                                                   Boulder City, NV 89005
        Marilyn Hilborn Trustee of the Marilyn Hilborn Trust dated 11/18/93        102 Topsail                      Roam Development Group                            $1,164.97
                                                                                   Boulder City, NV 89005
        Marion C. Sharp Trustee of the Marion C. Sharp Trust                       20 Leroy Terrace                 Roam Development Group                            $1,747.45
                                                                                   New Haven, CT
                                                                                   6512
        Marjorie Anne Holler, an unmarried woman and Debra Underwood, a            3632 Madrid Street               Roam Development Group                            $1,397.97
        married woman with her sole and separate property                          Las Vegas, NV
                                                                                   89121
        Marjorie C. Gregory Trustee for the benefit of Gregory Family Trust UAD 32016 Crystalaire Drive             Beau Rivage Homes/$8,000,000                       $128.45
        5/25/93                                                                    Llano, CA 93544
        Marjorie Dodge Tambellini Trustee of the Marjorie Dodge Tambellini Trust 1106 Vannessa Drive                Beastar, LLC                                    $21,792.24
        Dated 12/08/93                                                             San Jose, CA 95126
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel Living Trust as 20 Redonda                       Bay Pompano Beach                               $25,903.59
        amended dated 1/9/98                                                       Irvine, CA
                                                                                   92620




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In re                USA Commercial Mortgage Company                             ,                                                 Case No. 06-10725-LBR
                                       Debtor                                                                                               (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                  Loan Name                 Unremitted Principal
        Mark A. Daniel and Cathy A. Daniel, Trustees of the Daniel Living Trust as 20 Redonda                      Beastar, LLC                                    $43,584.48
        amended dated 1/9/98                                                          Irvine, CA
                                                                                      92620
        Mark A. Sauceda & Lisa A. Sauceda, husband & wife                             P.O. Box 736                 Universal Hawaii                                $80,653.21
                                                                                      Burbank, CA 91510
        Mark Daniel Donnolo, an unmarried man                                         6413 Hillside Brook Ave      Roam Development Group                          $13,979.63
                                                                                      Las Vegas, NV 89130
        Mark Fanelli, a married man dealing with his sole & separate property         244 Prospect Street          Bay Pompano Beach                               $38,855.38
                                                                                      Leominster, MA 1453
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint tenants with 7849 S Valentia St                  Amesbury/Hatters Point                           $1,359.49
        right of survivorship                                                         Englewood, CO
                                                                                      80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint tenants with 7849 S Valentia St                  Copper Sage Commerce Center, LLC                $26,813.05
        right of survivorship                                                         Englewood, CO
                                                                                      80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint tenants with 7849 S Valentia St                  Freeway 101                                     $50,000.00
        right of survivorship                                                         Englewood, CO
                                                                                      80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint tenants with 7849 S Valentia St                  Oak Shores II                                   $10,238.91
        right of survivorship                                                         Englewood, CO
                                                                                      80112
        Mark L. Eames & Sandra K. Eames, husband & wife, as joint tenants with 7849 S Valentia St                  The Gardens, LLC $2,425,000                     $10,309.28
        right of survivorship                                                         Englewood, CO
                                                                                      80112
        Mark R. Josifko & Deborah F. Josifko Trustees of the Josifko Family Living 1906 Catherine Court            Amesbury/Hatters Point                             $679.74
        Trust U/T/D 9/21/99                                                           Gardnerville, NV
                                                                                      89410
        Mark R. Josifko & Deborah F. Josifko Trustees of the Josifko Family Living 1906 Catherine Court            Beau Rivage Homes/$8,000,000                        $72.99
        Trust U/T/D 9/21/99                                                           Gardnerville, NV
                                                                                      89410
        Mark S. Acri & Sherri L. Acri, husband & wife, as joint tenants with right of 2022 Marconi Way             Roam Development Group                            $1,164.97
        survivorship                                                                  South Lake Tahoe, CA 96150
        Mark Scheiner Trustee of the Mark Scheiner Living Trust                       1900 Plantea Court           Roam Development Group                            $2,329.94
                                                                                      Las Vegas, NV
                                                                                      89117
        Markus Friedlin and Antoinette Friedlin, Trustees of the 1995 Markus          52 Middlefield Rd.           Beastar, LLC                                    $43,584.48
        Friedlin and Antoinette Friedlin Revocable Trust dated 11/8/95                Atherton, CA
                                                                                      94027
        Markus Muchenberger Trustee of the Markus Muchenberger Revocable              617 Effort Drive             Beau Rivage Homes/$8,000,000                       $145.99
        Trust dated 11/19/03                                                          Las Vegas, NV
                                                                                      89145
        Marsha Kendall Trustee of the David A. Gean Revocable Trust dated 4/3/92 6615 E. Pacific Coast Hwy.#260    Beastar, LLC                                    $43,584.48
                                                                                      Long Beach, CA 92614
        Marshall D. Kubly & Kathleen Kubly, husband & wife, as joint tenants with 4687 Bradford Lane               Universal Hawaii                                $34,565.66
        right of survivorship                                                         Reno, NV
                                                                                      89509
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Amesbury/Hatters Point                           $1,359.49
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Beastar, LLC                                    $21,792.24
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Del Valle Isleton                                 $2,753.64
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Oak Shores II                                   $20,477.82
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Roam Development Group                            $1,164.97
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835
        Marshall J. Brecht & Janet L. Brecht Trustees of the Marshall J. Brecht       640 Colonial Circle          Universal Hawaii                                $57,609.45
        Trust dated 2/5/86                                                            Fullerton, CA
                                                                                      92835




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In re                 USA Commercial Mortgage Company                            ,                                                  Case No. 06-10725-LBR
                                          Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                            Mailing Address                   Loan Name                 Unremitted Principal
        Marshall R. Zerbo, a single man                                            250 W El Camino Real #5100       Amesbury/Hatters Point                           $1,484.53
                                                                                   Sunnyvale, CA
                                                                                   94087
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis Family 2000 3900 Galt Ocean Drive                Bay Pompano Beach                               $25,903.59
        Trust                                                                      Playa del Mar 1701
                                                                                   Fort Lauderdale, FL
                                                                                   33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis Family 2000 3900 Galt Ocean Drive                Beastar, LLC                                    $43,584.48
        Trust                                                                      Playa del Mar 1701
                                                                                   Fort Lauderdale, FL
                                                                                   33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis Family 2000 3900 Galt Ocean Drive                Beau Rivage Homes/$8,000,000                       $291.90
        Trust                                                                      Playa del Mar 1701
                                                                                   Fort Lauderdale, FL
                                                                                   33308
        Martin A. Davis & Virginia Lee Davis Trustees of the Davis Family 2000 3900 Galt Ocean Drive                Oak Shores II                                   $20,477.82
        Trust                                                                      Playa del Mar 1701
                                                                                   Fort Lauderdale, FL
                                                                                   33308
        Martin E. Brown Trustee of the Martin E. Brown Exempt Trust dated          2315 Western Oak Dr              Roam Development Group                            $4,659.87
        3/21/95                                                                    Redding, CA
                                                                                   96002
        Martin Gittleman, an unmarried man                                         3375 E. Tompkins Ave. Unit 147   Amesbury/Hatters Point                           $1,359.48
                                                                                   Las Vegas, NV 89121
        Martin L. Manning, a married man dealing with his sole & separate property PO Box 426                       Preserve at Galleria, LLC                          $200.10
                                                                                   Genoa, NV 89411
        Martin N. Leaf, an unmarried man                                           71 Pierce Road Box 142           Bay Pompano Beach                               $12,951.80
                                                                                   Windsor, MA 1270
        Martin W. McColly & Carmen Garcia McColly Trustees of the Martin W. 1009 Domnus Lane #102                   Roam Development Group                            $1,747.45
        McColly & Carmen Garcia McColly Revocable Trust Agreement dated            Las Vegas, NV 89144
        5/27/03
        Mary Ann Deal, a single woman                                              1813 N California St             Amesbury/Hatters Point                           $1,631.40
                                                                                   Burbank, CA
                                                                                   91505
        Mary Ann Deal, a single woman                                              1813 N California St             Beau Rivage Homes/$8,000,000                      $1,147.81
                                                                                   Burbank, CA
                                                                                   91505
        Mary Ann Harouff and Dwight W. Harouff, trustees of the Skip and Mary 5680 Ruffian Road                     Roam Development Group                            $1,164.97
        Harouff Trust dated 12/5/95                                                Las Vegas, NV
                                                                                   89149
        Mary E. Groves Trustee of the Mary E. Groves Trust dated 9/11/03           2328 Airlands St                 Amesbury/Hatters Point                             $679.74
                                                                                   Las Vegas, NV
                                                                                   89134
        Mary F. Gambosh, a married woman dealing with her sole and separate        14669 Penmore Lane               Amesbury/Hatters Point                           $1,484.53
        property                                                                   Charlotte, NC 28269
        Mary F. Gambosh, a married woman dealing with her sole and separate        14669 Penmore Lane               Roam Development Group                            $1,164.97
        property                                                                   Charlotte, NC 28269
        Mary G. Christ, an unmarried woman                                         75-6060 Kuakini Hwy              Bay Pompano Beach                               $12,951.80
                                                                                   B-3 Kona Sea Villas
                                                                                   Kailua-Kona, HI
                                                                                   96740
        Mary H. Cross Trustee of The Mary H. Cross Trust dated 12/29/88            1474 Wessex Circle               Roam Development Group                            $1,164.97
                                                                                   Reno, NV 89503
        Mary H. Earp, a married woman dealing with her sole & separate property 700 Post Oak Court                  Amesbury/Hatters Point                             $679.74
                                                                                   El Paso, TX
                                                                                   79932
        Mary Jean Ignacio Trustee or the MJI Trust dtd                             1816 Ridgefield Drive            Roam Development Group                            $1,164.97
                                                                                   Las Vegas, NV 89108
        Mary Jean Jellison, a married woman dealing with her sole & separate       1415 Lakeview Avenue South       Bay Pompano Beach                               $12,951.80
        property                                                                   Minneapolis, MN 55416
        Masaru Kagawa & Mitzi Kagawa, husband & wife, as joint tenants with        2701 Echo Mesa Drive             Beau Rivage Homes/$8,000,000                        $72.99
        right of survivorship                                                      Las Vegas, NV
                                                                                   89134




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In re                USA Commercial Mortgage Company                          ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                         (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                          Mailing Address               Loan Name                 Unremitted Principal
        Matthew Molitch Trustee of the Molitch 1997 Trust                         2251 N Rampart #185        Roam Development Group                            $4,659.87
                                                                                  Las Vegas, NV
                                                                                  89128
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the M & J        697 Blue Lake Drive        Amesbury/Hatters Point                             $815.70
        Cauchois Family Trust dated 2/25/93                                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the M & J        697 Blue Lake Drive        Bay Pompano Beach                               $12,951.80
        Cauchois Family Trust dated 2/25/93                                       Boulder City, NV 89005
        Maurice A. Cauchois & Jacqueline M. Cauchois Trustees of the M & J        697 Blue Lake Drive        Freeway 101                                     $41,666.67
        Cauchois Family Trust dated 2/25/93                                       Boulder City, NV 89005
        Max Mathews, a married man dealing with his sole & separate property as 1351 Poplar Avenue           Amesbury/Hatters Point                             $815.70
        to an undivided one-half interest & Richard G. Messersmith, a married man Twin Falls, ID
        dealing with his sole & separate property as to an undivided one-half     83301
        interest, as tenants-in-common
        Mazal Yerushalmi, an unmarried woman                                      8904 Greensboro Lane       Copper Sage Commerce Center, LLC                $35,750.73
                                                                                  Las Vegas, NV
                                                                                  89134
        Mel Herman & Emma Herman husband & wife as joint tenants with rights 4590 Eucalyptus Ave Ste A       Bay Pompano Beach                               $38,855.38
        of survivorship                                                           Chino, CA
                                                                                  91710
        Melba L.Terry, transfer on death to Jeanette Stewart                      2236 Clinton Lane          Bay Pompano Beach                               $12,951.80
                                                                                  Las Vegas, NV 89115
        Melissa F. Miller, a married woman as her sole & separate property        1553 South Livonia         Amesbury/Hatters Point                             $543.80
                                                                                  Los Angeles, CA
                                                                                  90035
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87              9700 Verlaine Court        Bay Pompano Beach                               $95,843.30
                                                                                  Las Vegas, NV 89145
        Melvin Lamph Trustee of the Melvin Lamph Trust dated 2/19/87              9700 Verlaine Court        Oak Shores II                                   $32,764.51
                                                                                  Las Vegas, NV 89145
        Melvin W. Kerner Trustee of the Kerner Revocable Trust B dated 3/16/81 15758 Sunset Drive            Roam Development Group                            $1,164.97
                                                                                  Poway, CA
                                                                                  92064
        Merrill Molsberry Trustee of the Molsberry Trust dated 7/10/79            8144 Maddingley Ave        Beastar, LLC                                    $28,329.91
                                                                                  Las Vegas, NV 89117
        Merrill Molsberry Trustee of the Molsberry Trust dated 7/10/79            8144 Maddingley Ave        Copper Sage Commerce Center, LLC                $17,875.36
                                                                                  Las Vegas, NV 89117
        Mesa LLC, a Nevada limited liability company                              P O Box 31450              Beastar, LLC                                    $21,792.24
                                                                                  Mesa, AZ
                                                                                  85275
        Michael A. Hayes & Marsha M. Hayes Trustees of the Michael A. &           109 So Royal Ascot Dr      Bay Pompano Beach                               $12,951.80
        Marsha M. Hayes Family Trust                                              Las Vegas, NV 89144
        Michael A. Morgan & Rosalie A. Morgan, husband & wife, as joint tenants 465 S Meadows Pkwy Ste # 8   Preserve at Galleria, LLC                          $424.20
        with right of survivorship                                                Reno, NV
                                                                                  89521
        Michael C Maroko & Haviva Maroko Trustees of the Michael C Maroko & 2395 Buckingham Lane             Bay Pompano Beach                               $25,903.59
        Haviva Maroko 2001 Revocable Intervivos Trust dated 12/19/01              Bel Air, CA
                                                                                  90077
        Michael D. Kelsey, Trustee of The Jesse J. Kelsey Revocable Living Trust 4910 Ellicott Hwy           Amesbury/Hatters Point                             $679.74
        dated April 16, 1985                                                      Calhan, CO
                                                                                  80808
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint tenants     8019 160th Avenue          Amesbury/Hatters Point                           $2,718.99
        with rights of survivorship                                               Howard Beach, NY
                                                                                  11414
        Michael Dashosh & Elizabeth Dashosh, husband & wife, as joint tenants     8019 160th Avenue          Bay Pompano Beach                               $12,951.80
        with rights of survivorship                                               Howard Beach, NY
                                                                                  11414
        Michael E. Pile, a single man                                             10225 Coyote Creek Drive   Amesbury/Hatters Point                             $543.80
                                                                                  Reno, NV
                                                                                  89521
        Michael E. Pile, a single man                                             10225 Coyote Creek Drive   Beau Rivage Homes/$8,000,000                       $116.78
                                                                                  Reno, NV
                                                                                  89521
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as joint       8119 Pinnacle Peak         Bay Pompano Beach                               $12,951.80
        tenants with the rights of survivorship                                   Las Vegas, NV
                                                                                  89113




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In re                 USA Commercial Mortgage Company                           ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                          (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address               Loan Name                 Unremitted Principal
        Michael E. Reynolds and Teresa Reynolds, husband and wife, as joint         8119 Pinnacle Peak         Cabernet                                         $5,769.23
        tenants with the rights of survivorship                                     Las Vegas, NV
                                                                                    89113
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 7/27/00       5631 Granary Way           Amesbury/Hatters Point                           $1,359.49
                                                                                    Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 7/27/00       5631 Granary Way           Beau Rivage Homes/$8,000,000                       $145.99
                                                                                    Athens, AL 35611
        Michael H. Greeley Trustee of the Michael Greeley Trust dated 7/27/00       5631 Granary Way           Freeway 101                                     $41,666.67
                                                                                    Athens, AL 35611
        Michael H. Ricci, a married man dealing with his sole & separate property 1204 Camballeria Drive       Bay Pompano Beach                               $12,951.80
                                                                                    Carson City, NV
                                                                                    89701
        Michael H. Ricci, a married man dealing with his sole & separate property 1204 Camballeria Drive       Cabernet                                         $8,076.92
                                                                                    Carson City, NV
                                                                                    89701
        Michael Hadjigeorgalis and Brenda G. Hadjigeorgalis, Husband and wife as 1 Councilman Avenue           Bay Pompano Beach                               $25,903.59
        tenants in common                                                           Baltimore, MD 21206
        Michael Hadjigeorgalis and Brenda G. Hadjigeorgalis, Husband and wife as 1 Councilman Avenue           Beastar, LLC                                    $21,792.24
        tenants in common                                                           Baltimore, MD 21206
        Michael Hedlund & Carol Hedlund, husband & wife, as joint tenants with 130 East Adams PO Box 823       Roam Development Group                            $2,329.94
        right of survivorship                                                       O'Neill, NE 68763
        Michael John Goodwin, an unmarried man                                      555 Yellow Pine Rd         Del Valle Isleton                                 $2,753.64
                                                                                    Reno, NV
                                                                                    89511
        Michael John Goodwin, an unmarried man                                      555 Yellow Pine Rd         Universal Hawaii                                $28,804.73
                                                                                    Reno, NV
                                                                                    89511
        Michael L. Price and Susan M. Price, husband and wife as joint tenants with P. O. Box 5322             Roam Development Group                            $1,164.97
        the right of survivorship                                                   Kent, WA 98064
        Michael Marinchak and Jennifer Marinchak, husband and wife as joint         967 Willow Glen Way        Bay Pompano Beach                               $12,951.80
        tenants with the right of survivorship                                      San Jose, CA 95125
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint tenants with       2216 Harrison Ave          Bay Pompano Beach                               $12,951.80
        right of survivorship                                                       Medford, OR 97504
        Michael Pezzano & Lisa Pezzano, husband & wife, as joint tenants with       2216 Harrison Ave          Beau Rivage Homes/$8,000,000                        $52.49
        right of survivorship                                                       Medford, OR 97504
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. Brines & 4935 El Sereno Ave             Amesbury/Hatters Point                           $1,631.38
        Cindy G. Brines Revocable Family Trust U/A dated 11/5/94                    La Crescenta, CA
                                                                                    91214
        Michael R. Brines & Cindy G. Brines Trustees of the Michael R. Brines & 4935 El Sereno Ave             Roam Development Group                            $1,584.36
        Cindy G. Brines Revocable Family Trust U/A dated 11/5/94                    La Crescenta, CA
                                                                                    91214
        Michael R. Shuler Trustee of the Shuler Revocable Trust                     201 Valhalla               Roam Development Group                            $1,630.96
                                                                                    Solvang, CA
                                                                                    93463
        Michael S. Blau and Shamiran Blau, husband and wife as joint tenants with 1204 Palomar Drive           Bay Pompano Beach                               $25,903.60
        right of survivorship                                                       Tracy, CA
                                                                                    95377
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint tenants     2535 Lake Road             Roam Development Group                            $1,164.97
        with right of survivorship                                                  Delanson, NY 12053
        Michael S. Freedus & Helen C. Freedus, husband & wife, as joint tenants     2535 Lake Road             Universal Hawaii                                $57,609.46
        with right of survivorship                                                  Delanson, NY 12053
        Michael T. Bridges, Trustee of the Bridges Family Trust                     4235 Citrus Circle         Bay Pompano Beach                               $51,807.18
                                                                                    Yorba Linda, CA
                                                                                    92886
        Michael T. Heffner & Barbara C. Heffner Trustees of the Heffner Family      1705 Caughlin Creek Road   Lake Helen Partners                                $392.09
        Trust dated 9/10/02                                                         Reno, NV 89509
        Michael T. McGrath Trustee of the 2001 Michael T. McGrath Revocable         66 Schanda Dr              Freeway 101                                     $41,666.67
        Trust dated 12/11/01                                                        New Market, NH 3857
        Michael Woolard, Vice President of Spinal Logic Systems, Inc., a Nevada 90 Adar Ave                    Roam Development Group                            $1,397.97
        corporation                                                                 Clayton, IN
                                                                                    46118
        Michaelian Holdings, LLC, a Nevada limited liability company                413 Canyon Greens Drive    Amesbury/Hatters Point                           $1,359.49
                                                                                    Las Vegas, NV
                                                                                    89144




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                                       Debtor                                                                                                (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                   Loan Name                 Unremitted Principal
        Michaelian Holdings, LLC, a Nevada limited liability company               413 Canyon Greens Drive          Universal Hawaii                                $57,609.45
                                                                                   Las Vegas, NV
                                                                                   89144
        Michel Tessel. an unmarried man, Jean-Jacques Berthelot with POA           9328 Sienna Vista Drive          Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV
                                                                                   89117
        Michele Spinelli Trustee of the Giovanni Spinelli Trust                    16636 Fairfax Court              Preserve at Galleria, LLC                          $400.19
                                                                                   Tinley Park, IL
                                                                                   60477
        Miguel Diaz & Cynthia Diaz, husband & wife, as joint tenants with right of 1350 Athens Point Avenue         Universal Hawaii                                $57,609.45
        survivorship                                                               Las Vegas, NV 89123
        Miklos Steuer Trustee of the MS Trust, dated 3/2/05                        P O Box 60267                    Copper Sage Commerce Center, LLC               $253,830.14
                                                                                   Las Vegas, NV
                                                                                   89160
        Mildred P. Kesler Trustee of the Lindsey H. Kesler Family Revocable Trust 4847 Damon Circle                 Lake Helen Partners                                 $98.02
        dated 10/15/80                                                             Salt Lake City, UT 84117
        Mildred P. Kesler Trustee of the Lindsey H. Kesler Family Revocable Trust 4847 Damon Circle                 Roam Development Group                            $1,164.97
        dated 10/15/80                                                             Salt Lake City, UT 84117
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint tenants 12422 Crystal Pointe Dr 201        Amesbury/Hatters Point                           $1,495.44
        with right of survivorship                                                 Boyton Beach, FL
                                                                                   33437
        Milton B. Senfeld & Barbara A. Senfeld, husband & wife, as joint tenants 12422 Crystal Pointe Dr 201        Freeway 101                                     $41,666.67
        with right of survivorship                                                 Boyton Beach, FL
                                                                                   33437
        Milton H. Lees III, an unmarried man                                       P. O. Box 315                    Lake Helen Partners                                 $98.02
                                                                                   Tahoe Vista, CA 96148
        Milton P Kaplan, MD, TTEE FBO the Milton P Kaplan Profit Sharing Plan 18370 Burbank Blvd, Ste 501           Bay Pompano Beach                               $12,951.80
        Dtd 10/1/77                                                                Tarzana, CA
                                                                                   91356
        Milton P Kaplan, MD, TTEE FBO the Milton P Kaplan Profit Sharing Plan 18370 Burbank Blvd, Ste 501           Roam Development Group                            $1,164.97
        Dtd 10/1/77                                                                Tarzana, CA
                                                                                   91356
        Milton W. Laird & Beverly J. Laird, husband & wife, as joint tenants with 712 Pinnacle Court                Roam Development Group                            $1,164.97
        right of survivorship                                                      Mesquite, NV 89027
        Miriam Franklin Trustee of the The Levy Family Trust dated 5/5/94          2550 Dana Street Apt 8D          Amesbury/Hatters Point                             $742.26
                                                                                   Berkeley, CA
                                                                                   94704
        MLH Family Investment Limited, a Texas company                             8912 E Pinnacle Peak Rd F9-602   Bay Pompano Beach                               $19,427.69
                                                                                   Scottsdale, AZ
                                                                                   85255
        MLH Family Investment Limited, a Texas company                             8912 E Pinnacle Peak Rd F9-602   Roam Development Group                            $5,824.85
                                                                                   Scottsdale, AZ
                                                                                   85255
        Mohammad Kianjah                                                           P O Box 3412                     Brookmere/Matteson $27,050,000                      $77.66
                                                                                   Cedar City, UT
                                                                                   84721
        Mojave Canyon, Inc., a Nevada Corporation; J.B. Partain, President         1400 Colorado St #C              Roam Development Group                            $2,329.94
                                                                                   Boulder City, NV 89005
        Monighetti, Inc., a Nevada corporation                                     6515 Frankie Lane                Bay Pompano Beach                               $12,951.80
                                                                                   Prunedale, CA
                                                                                   93907
        Monighetti, Inc., a Nevada corporation                                     6515 Frankie Lane                Beastar, LLC                                    $21,792.24
                                                                                   Prunedale, CA
                                                                                   93907
        Monighetti, Inc., a Nevada corporation                                     6515 Frankie Lane                Del Valle Isleton                                 $5,507.26
                                                                                   Prunedale, CA
                                                                                   93907
        Monighetti, Inc., a Nevada corporation                                     6515 Frankie Lane                Oak Shores II                                   $10,238.91
                                                                                   Prunedale, CA
                                                                                   93907
        Monighetti, Inc., a Nevada corporation                                     6515 Frankie Lane                Roam Development Group                            $1,164.97
                                                                                   Prunedale, CA
                                                                                   93907




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In re                USA Commercial Mortgage Company                           ,                                                Case No. 06-10725-LBR
                                      Debtor                                                                                             (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                   Creditor Name                                            Mailing Address                 Loan Name                 Unremitted Principal
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family Trust             8635 W Sahara Ave # 532         Amesbury/Hatters Point                             $679.74
                                                                                Las Vegas, NV
                                                                                89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family Trust             8635 W Sahara Ave # 532         Bay Pompano Beach                               $12,951.80
                                                                                Las Vegas, NV
                                                                                89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family Trust             8635 W Sahara Ave # 532         Beastar, LLC                                    $21,792.24
                                                                                Las Vegas, NV
                                                                                89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family Trust             8635 W Sahara Ave # 532         Beau Rivage Homes/$8,000,000                        $72.99
                                                                                Las Vegas, NV
                                                                                89117
        Monroe Mayo & Louise Mayo Trustees of the Mayo Family Trust             8635 W Sahara Ave # 532         Freeway 101                                     $41,666.67
                                                                                Las Vegas, NV
                                                                                89117
        Morris Massry, a married man dealing with his sole & separate property  255 Washington Ave Extension    Bay Pompano Beach                               $25,903.59
                                                                                Albany, NY
                                                                                12205
        Morris Massry, a married man dealing with his sole & separate property  255 Washington Ave Extension    Roam Development Group                            $2,329.94
                                                                                Albany, NY
                                                                                12205
        Morris Massry, a married man dealing with his sole & separate property  255 Washington Ave Extension    The Gardens, LLC $2,425,000                     $41,237.11
                                                                                Albany, NY
                                                                                12205
        Moshe Ram & Barbara Ram Trustees for the benefit of The Ram Family      8063 Alpine Fir Avenue          Oak Shores II                                   $11,262.80
        Trust dated 6/22/01                                                     Las Vegas, NV 89117
        Murlyn F. Ronk & Penny Ronk Trustees of the Ronk Trust dated 05/18/00 1413 Clover Hills Drive           Amesbury/Hatters Point                             $679.74
                                                                                Elko, NV 89801
        Murray Marcus, an unmarried man                                         545 Canosa Avenue               Bay Pompano Beach                               $12,951.80
                                                                                Las Vegas, NV 89104
        Nancy Golden, a married woman dealing with her sole & separate property 3456 Ridgecrest Drive           Roam Development Group                            $1,164.97
                                                                                Reno, NV 89512
        Nancy L. Argier, an unmarried woman                                     5260 Ladyhawk Way               Roam Development Group                            $1,164.97
                                                                                Las Vegas, NV 89118
        Nancy L. Gouveia Trustee of the Nancy L. Gouveia Trust dated 10/23/98   1543 Alisal Avenue              The Gardens, LLC $2,425,000                     $10,309.28
                                                                                San Jose, CA 95125
        Nancy L. Gouveia Trustee of the Nancy L. Gouveia Trust dated 10/23/98   1543 Alisal Avenue              Universal Hawaii                                $28,804.73
                                                                                San Jose, CA 95125
        Nancy L. Griffin, a married woman dealing with her sole & separate      6025 Pintail Lane               The Gardens, LLC $2,425,000                     $13,402.06
        property and Karen L. Cecchi, a married woman dealing with her sole &   Citrus Heights, CA
        separate property, as joint tenants with right of survivorship          95621
        Nancy R. Davis Trustee of the Nancy R. Davis Defined Benefit Plan       12261 Prosser Dam Road          Bay Pompano Beach                               $19,427.69
                                                                                Truckee, CA
                                                                                96161
        Nancy R. Davis Trustee of the Nancy R. Davis Defined Benefit Plan       12261 Prosser Dam Road          Del Valle Isleton                                 $5,507.26
                                                                                Truckee, CA
                                                                                96161
        Naomi F. Stearns Trustee of the Naomi F. Stearns Trust Dated 8/9/1985   3200 Port Royale Dr N Apt 412   Bay Pompano Beach                               $12,951.80
                                                                                Ft. Lauderdale, FL
                                                                                33308
        Naomi F. Stearns Trustee of the Naomi F. Stearns Trust Dated 8/9/1985   3200 Port Royale Dr N Apt 412   Oak Shores II                                   $20,477.82
                                                                                Ft. Lauderdale, FL
                                                                                33308
        NBNA Unique Properties, LLC, an Washington State limited liability      74478 Highway 111 #342          Roam Development Group                            $3,494.91
        company                                                                 Palm Desert, CA 92260
        Neil Tobias, a married man                                              1994 East 4th Street            Bay Pompano Beach                               $25,903.59
                                                                                Brooklyn, NY 11223
        Nellie Pleser Trustee of the Pleser Family Trust dated 1/28/00          2836 Meadow Park Avenue         Amesbury/Hatters Point                           $1,087.60
                                                                                Henderson, NV 89052
        Nelson Chardoul & Virginia Chardoul Trustees of the Nelson & Virginia   7013 Hershberger Court          Amesbury/Hatters Point                             $407.85
        Chardoul Trust dated 10/7/91                                            Citrus Heights, CA
                                                                                95610




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In re                 USA Commercial Mortgage Company                           ,                                              Case No. 06-10725-LBR
                                          Debtor                                                                                         (If known)




                                               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                   EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                          Mailing Address               Loan Name                  Unremitted Principal
        Nemo Harding & Erin Harding, joint tenants with right of survivorship   419A Atkinson Drive 504         Bay Pompano Beach                               $12,951.80
                                                                                Honolulu, HI
                                                                                96814
        Nemo Harding & Erin Harding, joint tenants with right of survivorship   419A Atkinson Drive 504         Beastar, LLC                                    $21,792.24
                                                                                Honolulu, HI
                                                                                96814
        Nevada Trust Company Custodian for Cal-Mark Beverage Company            440 Corte Sur Suite 200         Roam Development Group                            $1,164.97
        Defined Benefit Plan                                                    Ignacio, CA
                                                                                94949
        Nicholas A. Steinmetz & Cynthia M. Steinmetz Trustees of the 2001       2006 Marconi Way                Bay Pompano Beach                               $12,951.80
        Steinmetz Family Trust                                                  South Lake Tahoe, CA
                                                                                96150
        Nicholas Loader Trustee of the Nicholas Loader Trust U/A                101425 Overseas Hwy PMB 706     Cabernet                                        $11,538.46
                                                                                Key Largo, FL
                                                                                33037
        Nicholas Perrone Trustee of the Nicholas Perrone Trust dated 7/12/99    5112 San Anselmo St             Bay Pompano Beach                               $25,903.59
                                                                                Las Vegas, NV
                                                                                89120
        Nick Springer, an unmarried man                                         General Delivery                Bay Pompano Beach                               $32,379.49
                                                                                Elwood, IN
                                                                                46036
        Nick Springer, an unmarried man                                         General Delivery                Copper Sage Commerce Center, LLC                $89,376.80
                                                                                Elwood, IN
                                                                                46036
        Nickolas Verlinich & Beverly Verlinich, joint tenants with right of     3749 S 4th Ave Unit 209         Amesbury/Hatters Point                           $1,359.49
        survivorship                                                            Yuma, AZ
                                                                                85365
        Nicole Dana Flier, a single woman                                       21574 St Andrews Grand Circle   Amesbury/Hatters Point                             $543.80
                                                                                Boca Raton, FL
                                                                                33486
        Nicole Dana Flier, a single woman                                       21574 St Andrews Grand Circle   Roam Development Group                            $1,747.45
                                                                                Boca Raton, FL
                                                                                33486
        Nienke A. Lels-Hohmann, Trustee of the Nienke A. Lels-Hohmann           1559 Francisco St.              Beastar, LLC                                    $30,634.50
        Revocable Trust Agreement, dated 3/8/00                                 San Francisco, CA
                                                                                94123
        Nili Weingart, an unmarried woman                                       1406 Camden Avenue 201          Bay Pompano Beach                               $12,951.80
                                                                                Los Angeles, CA 90025
        Nina M. Schwartz Trustee of the NMS Living Trust dated 12/27/01         2112 Plaza Del Fuentes          Amesbury/Hatters Point                           $1,359.49
                                                                                Las Vegas, NV
                                                                                89102
        Noel L. Campbell, an unmarried man                                      2640 N. Ave                     Roam Development Group                            $1,164.97
                                                                                Chico, CA 95973
        Norma M. Deull, an unmarried women                                      140 Riverside Dr Apt 8A         Bay Pompano Beach                               $12,951.80
                                                                                New York, NY 10024
        Norma Wagman Trustee of the Wagman Family Trust dated 8/13/93           4436 Coventry Circle            Roam Development Group                            $1,164.97
                                                                                Las Vegas, NV 89121
        Norman D. Prins & Charlene J. Prins Trustees of the Norman & Charlene   7425 W 104th St                 Amesbury/Hatters Point                           $1,100.28
        Prins Revocable Living Trust dated 10/29/03                             Bloomington, MN
                                                                                55438
        Norman Martineau & Kathryn J. Martineau, husband & wife, as joint       P O Box 575                     Bay Pompano Beach                               $12,951.80
        tenants with right of survivorship                                      Valley Center, CA
                                                                                92082
        Norman Martineau & Kathryn J. Martineau, husband & wife, as joint       P O Box 575                     Roam Development Group                            $2,329.94
        tenants with right of survivorship                                      Valley Center, CA
                                                                                92082
        Norman Teeter, a single man                                             4201 Via Marina 300             Amesbury/Hatters Point                             $679.74
                                                                                Marina Del Rey, CA
                                                                                90292
        Norman Teeter, a single man                                             4201 Via Marina 300             Bay Pompano Beach                               $12,951.80
                                                                                Marina Del Rey, CA
                                                                                90292




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In re                USA Commercial Mortgage Company                             ,                                                   Case No. 06-10725-LBR
                                        Debtor                                                                                                (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                           Mailing Address                    Loan Name                 Unremitted Principal
        Norman Teeter, a single man                                                4201 Via Marina 300               Universal Hawaii                                $31,685.18
                                                                                   Marina Del Rey, CA
                                                                                   90292
        Norris R. Coit Trustee of the Norris R. Coit Family Trust dated 5/19/04    P O Box 86                        Roam Development Group                            $1,164.97
                                                                                   Genoa, NV
                                                                                   89411
        Norscot Financial Corp., a Nevada corporation                              185 Gymkhana Ln                   Amesbury/Hatters Point                             $679.74
                                                                                   Reno, NV
                                                                                   89506
        Olga O'Buch Trustee of the Olga O'Buch Trust dated 5/28/98                 140 Gazelle Rd                    Preserve at Galleria, LLC                          $200.10
                                                                                   Reno, NV 89511
        Oliver Puhr, a single man                                                  1696 Hearthstone Court            Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Reno, NV 89521
        Oliver Puhr, a single man                                                  1696 Hearthstone Court            Lake Helen Partners                                 $98.02
                                                                                   Reno, NV 89521
        Orvin Calhoun & Anita J. Calhoun, husband & wife, as joint tenants with    2026 Bel Air Ave                  Amesbury/Hatters Point                           $1,631.40
        right of survivorship                                                      San Jose, CA
                                                                                   95128
        Osvaldo Zunino Trustee of the Osvaldo Zunino Living Trust dated 12/18/98 3575 Tioga Way                      Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV 89109
        Osvaldo Zunino Trustee of the Osvaldo Zunino Living Trust dated 12/18/98 3575 Tioga Way                      Oak Shores II                                   $40,955.63
                                                                                   Las Vegas, NV 89109
        Pamela Jean Marton an unmarried woman transfer on death to James           2652 1/2 Lake View Terrace East   Bay Pompano Beach                               $12,951.80
        Dickinson                                                                  Los Angeles, CA
                                                                                   90039
        Panagiotis Dovanidis and Aikaterini Giannopoulou as husband and wife,      14, Mikinon Street                Cabernet                                        $11,538.46
        joint tenants with rights of survivorship                                  166 74 Glyfada, Athens Hellas
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a married woman 14 Mikinon Street                    Amesbury/Hatters Point                             $815.70
        dealing with her sole & separate property, as joint tenants with right of  16675 Glyfada, Athens
        survivorship
        Panagiotis Dovanidis, a single man & Dimitra Dovanidou, a married woman 14 Mikinon Street                    Beau Rivage Homes/$8,000,000                        $87.59
        dealing with her sole & separate property, as joint tenants with right of  16675 Glyfada, Athens
        survivorship
        Paolo M. Arroyo, an unmarried man, and Mario D. Arroyo, an unmarried       847 5th St Apt 201                Beastar, LLC                                    $21,792.24
        man, as joint tenants with the right of survivorship                       Santa Monica, CA
                                                                                   90403
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants with right 4410 W Jefferson Blvd             Bay Pompano Beach                               $25,903.59
        of survivorship                                                            Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants with right 4410 W Jefferson Blvd             Cabernet                                        $11,538.46
        of survivorship                                                            Los Angeles, CA 90016
        Pat A Dolce & Lora Dean Dolce, husband & wife, as joint tenants with right 4410 W Jefferson Blvd             Roam Development Group                            $1,164.97
        of survivorship                                                            Los Angeles, CA 90016
        Pat Dolce & Frank Dolce Co-Trustees of the Pauline Dolce Trust dtd May 4410 W Jefferson Blvd                 Oak Shores II                                   $10,238.91
        9, 1996                                                                    Los Angeles, CA
                                                                                   90016
        Pat M. Chiappetta & Joann Chiappetta Trustees of The Chiappetta Trust      7043 Cinnamon Drive               Cabernet                                        $11,538.46
        dated 4/1/03                                                               Sparks, NV
                                                                                   89436
        Patricia Ann Webber Trustee of the Webber Family Trust dated 10/31/89      9157 Shadow Glen Way              Oak Shores II                                   $10,238.91
                                                                                   Fort Myers, FL
                                                                                   33913
        Patricia Ann Webber Trustee of the Webber Family Trust dated 10/31/89      9157 Shadow Glen Way              The Gardens, LLC Timeshare                        $1,699.89
                                                                                   Fort Myers, FL
                                                                                   33913
        Patricia B. De Sota, an unmarried woman                                    2381 Juniper Rd                   Oak Shores II                                   $10,238.91
                                                                                   Gardnerville, NV
                                                                                   89410
        Patricia L. Port Trustee of the Patricia L. Port Trust dated 1/28/04       PO Box 7724                       Amesbury/Hatters Point                             $271.90
                                                                                   Incline Village, NV
                                                                                   89452
        Patricia L. Port Trustee of the Patricia L. Port Trust dated 1/28/04       PO Box 7724                       Oak Shores II                                   $10,238.91
                                                                                   Incline Village, NV
                                                                                   89452




SCHEDULES                                                                            Exhibit F-1                                                                    PAGE 62
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In re                 USA Commercial Mortgage Company                               ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address               Loan Name                 Unremitted Principal
        Patrick Davis & Susan Davis, husband & wife, as joint tenants with right of 104 Van Buren Court            Beau Rivage Homes/$8,000,000                       $291.90
        survivorship                                                                  Colleyville, TX
                                                                                      76034
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & wife, as 7328 Gentle Valley St.               Amesbury/Hatters Point                             $679.74
        joint tenants with right of survivorship                                      Las Vegas, NV 89149
        Patrick Edward O'Sullivan & Soon Young O'Sullivan, husband & wife, as 7328 Gentle Valley St.               Copper Sage Commerce Center, LLC                $17,875.36
        joint tenants with right of survivorship                                      Las Vegas, NV 89149
        Patrick Henry & Cynthia B. Henry, husband & wife, as joint tenants with       P O Box 181                  Roam Development Group                            $1,164.97
        right of survivorship                                                         Anatone, WA 99401
        Patrick J. Anglin, an unmarried man                                           5130 Dunn Road               Bay Pompano Beach                               $12,951.80
                                                                                      East Dubuque, IL 61025
        Patrick J. Dreikosen & Marion T. Dreikosen Trustees of the Dreikosen          9321 Queen Charlotte Drive   Freeway 101                                     $41,666.67
        Revocable Trust dated 9/25/97                                                 Las Vegas, NV
                                                                                      89145
        Patrick J. Murphy & Penny E. Murphy, husband & wife, as joint tenants         20 Lacrosse Court            Freeway 101                                     $41,666.67
        with right of survivorship                                                    Henderson, NV
                                                                                      89052
        Patrick J. Murphy & Penny E. Murphy, husband & wife, as joint tenants         20 Lacrosse Court            Oak Shores II                                   $10,238.91
        with right of survivorship                                                    Henderson, NV
                                                                                      89052
        Patrick P. Lynch, a single man                                                25130 Genuine Risk Rd        Beau Rivage Homes/$8,000,000                        $72.99
                                                                                      Monterey, CA
                                                                                      93940
        Patrick P. Lynch, a single man                                                25130 Genuine Risk Rd        Cabernet                                         $5,769.23
                                                                                      Monterey, CA
                                                                                      93940
        Paul E. Anderson, Jr., a married man dealing with his sole & separate         2559 Perra Circle            Beau Rivage Homes/$8,000,000                        $72.99
        property                                                                      Las Vegas, NV 89121
        Paul Fedrizzi & Jane E. Fedrizzi, husband & wife, as joint tenants with right 11005 S E 18th Street        Universal Hawaii                                $28,804.73
        of survivorship                                                               Vancouver, WA
                                                                                      98664
        Paul Fedrizzi, a married man dealing with his sole & separate property        11005 SE 18th Street         Del Valle Isleton                                 $2,753.64
                                                                                      Vancouver, WA
                                                                                      98664
        Paul G. Chelew, an unmarried man                                              P. O. Box 370                Bay Pompano Beach                               $25,903.59
                                                                                      Dayton, NV 89403
        Paul G. Chelew, an unmarried man                                              P. O. Box 370                Oak Shores II                                   $61,433.45
                                                                                      Dayton, NV 89403
        Paul G. Chelew, an unmarried man                                              P. O. Box 370                The Gardens, LLC Timeshare                        $5,099.67
                                                                                      Dayton, NV 89403
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint tenants with right 6950 Darby Avenue             Oak Shores II                                   $20,477.82
        of survivorship                                                               Las Vegas, NV 89117
        Paul Hargis & Susan Gail Hargis, husband & wife, as joint tenants with right 6950 Darby Avenue             Roam Development Group                            $3,494.91
        of survivorship                                                               Las Vegas, NV 89117
        Paul L. Kwiatkowski and Colita Jo Kwiatkowski, Trustees of the                15380 Hamilton Street        Amesbury/Hatters Point                             $815.70
        Kwiatkowski Revocable Trust, dated 12/17/04                                   Omaha, NE
                                                                                      68154
        Paul M. McAffee, an unmarried man                                             P. O. Box 2580               Roam Development Group                            $1,164.97
                                                                                      Carson City, NV 89702
        Paul M. McAffee, an unmarried man                                             P. O. Box 2580               Universal Hawaii                                $28,804.73
                                                                                      Carson City, NV 89702
        Paul P. Backes & Loretta D. Backes Co-Trustees of the Backes Family           1570 East Level Street       Amesbury/Hatters Point                             $815.70
        Trust dated 8/8/88                                                            Covina, CA 91724
        Paul Rogan & Maureen Rogan, husband & wife, as joint tenants with right P O Box 1687                       Beau Rivage Homes/$8,000,000                       $291.90
        of survivorship                                                               Crystal Bay, NV
                                                                                      89402
        Paula M. Lawson, a married woman dealing with her sole & separate             P O Box 18652                Beastar, LLC                                    $43,584.48
        property                                                                      Reno, NV
                                                                                      89511
        Paulius Mosinskis, a married man dealing with his sole & separate property 1545 Gruversvile Road           Del Valle Isleton                                 $4,130.43
                                                                                      Richland Town, PA 18955
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit of the        3231 Cambridgeshire St       Beau Rivage Homes/$8,000,000                        $72.99
        Pedro L. & Carol A. Barroso Trust dated 11/29/90                              Las Vegas, NV
                                                                                      89146




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In re                 USA Commercial Mortgage Company                            ,                                                      Case No. 06-10725-LBR
                                        Debtor                                                                                                   (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                            Mailing Address                      Loan Name                  Unremitted Principal
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit of the        3231 Cambridgeshire St            Cabernet                                         $5,769.23
        Pedro L. & Carol A. Barroso Trust dated 11/29/90                              Las Vegas, NV
                                                                                      89146
        Pedro Luis Barroso & Carol Ann Barroso Trustees for the benefit of the        3231 Cambridgeshire St            Freeway 101                                     $41,666.67
        Pedro L. & Carol A. Barroso Trust dated 11/29/90                              Las Vegas, NV
                                                                                      89146
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95                355 Mugo Pine Circle              Bay Pompano Beach                               $12,951.80
                                                                                      Reno, NV
                                                                                      89511
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95                355 Mugo Pine Circle              Lake Helen Partners                                 $98.02
                                                                                      Reno, NV
                                                                                      89511
        Penny L. Brock Trustee of the Brock Family Trust dated 5/25/95                355 Mugo Pine Circle              Universal Hawaii                                $28,804.73
                                                                                      Reno, NV
                                                                                      89511
        Penny Stanard, a Single Woman                                                 16004-D Village Green Dr          Amesbury/Hatters Point                             $679.74
                                                                                      Mill Creek, WA 98012
        Pensco Trust Company Custodian for Gary Deppe, IRA                            5961 Cross Rd                     Bay Pompano Beach                               $18,132.51
                                                                                      Seguin, TX
                                                                                      78155
        Pensco Trust Company Custodian For James E. Reardon IRA                       120 S Main Street                 Amesbury/Hatters Point                             $679.74
                                                                                      Mansfield, MA
                                                                                      2048
        Pensco Trust Company Custodian For Robert William Ulm IRA                     414 Morning Glory Rd              Cabernet                                         $5,769.23
                                                                                      St Marys, GA
                                                                                      31558
        Pensco Trust Company Custodian For Robert William Ulm IRA                     414 Morning Glory Rd              The Gardens, LLC $2,425,000                     $11,340.21
                                                                                      St Marys, GA
                                                                                      31558
        Pensco Trust Company Custodian For Tamara J. Perlman IRA                      P O Box 10672                     Oak Shores II                                   $10,238.91
                                                                                      Truckee, CA
                                                                                      96162
        Peter A. Bolino & Fabiola A. Bolino Trustees of the Bolino Family             17412 Serene Drive                Bay Pompano Beach                               $19,427.69
        Revocable Trust dated 3/6/95                                                  Morgan Hill, CA
                                                                                      95037
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family Trust          3201 Plumas Street #293           Bay Pompano Beach                               $12,951.80
                                                                                      Reno, NV 89509
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family Trust          3201 Plumas Street #293           Beastar, LLC                                    $21,792.24
                                                                                      Reno, NV 89509
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family Trust          3201 Plumas Street #293           Freeway 101                                     $41,666.67
                                                                                      Reno, NV 89509
        Peter Bellas & Joyce Bellas Trustees of the Bellas 1996 Family Trust          3201 Plumas Street #293           Universal Hawaii                                $28,804.73
                                                                                      Reno, NV 89509
        Peter E. Sprock Trustee of the Peter E. Sprock 2001 Trust                     P O Box 4517                      Amesbury/Hatters Point                           $1,821.73
                                                                                      Stateline, NV 89449
        Peter Labadia and Beverly Labadia, husband and wife as joint tenants with 1604 Wandering Winds Way              Bay Pompano Beach                               $12,951.80
        the right of survivorship                                                     Las Vegas, NV
                                                                                      89128
        Peter Papas & Rita Papas Trustees of the Lou Christian Trust                  2060 Diamond Bar Drive            Beau Rivage Homes/$8,000,000                       $116.78
                                                                                      Las Vegas, NV
                                                                                      89117
        Peter T. Gacs & Ute D. Gacs, husband and wife, as joint tenants with right P O Box 6268                         The Gardens, LLC Timeshare                        $3,399.78
        of survivorship                                                               Incline Village, NV
                                                                                      89450
        Peter W. Capone & Deidre D. Capone, husband & wife, as joint tenants          P O Box 1470                      Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                    Gardnerville, NV
                                                                                      89410
        Phil L. Pfeiler & Loy E. Pfeiler, husband & wife, as joint tenants with right 806 Buchanan Blvd #115 PMB #249   The Gardens, LLC $2,425,000                     $20,618.56
        of survivorship                                                               Boulder City, NV
                                                                                      89005
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the Palmintere         11219 Stauffer Lane               Amesbury/Hatters Point                           $1,359.49
        Revocable Trust dated 6/19/98                                                 Cupertino, CA
                                                                                      95014




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                                        Debtor                                                                                            (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the Palmintere        11219 Stauffer Lane         Del Valle Isleton                                 $2,753.64
        Revocable Trust dated 6/19/98                                                Cupertino, CA
                                                                                     95014
        Philip A. Palmintere & Nanci S. Palmintere Trustees of the Palmintere        11219 Stauffer Lane         Roam Development Group                            $1,164.97
        Revocable Trust dated 6/19/98                                                Cupertino, CA
                                                                                     95014
        Philip H. Lynch, a single man                                                410 East 17th Street        Oak Shores II                                   $10,238.91
                                                                                     Escondido, CA 92025
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons Trust UA 2008 Marble Gorge Drive           Bay Pompano Beach                               $12,951.80
        8/9/99                                                                       Las Vegas, NV
                                                                                     89117
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons Trust UA 2008 Marble Gorge Drive           Roam Development Group                            $1,164.97
        8/9/99                                                                       Las Vegas, NV
                                                                                     89117
        Philip Lyons & Dora Lyons Trustees of the Philip & Dora Lyons Trust UA 2008 Marble Gorge Drive           Universal Hawaii                                $28,804.73
        8/9/99                                                                       Las Vegas, NV
                                                                                     89117
        Philip T. Ansuini & Carol J. Ansuini, husband & wife, as joint tenants with 10716 Clear Meadows Dr       Beastar, LLC                                    $21,792.24
        right of survivorship                                                        Las Vegas, NV 89134
        Philip T. Cleary and Katherine Cleary Trustees of the Cleary Family          9705 ShadowStone Ct.        Brookmere/Matteson $27,050,000                     $580.76
        Revocable Living Trust                                                       Reno, NV
                                                                                     89521
        Phillip E. McMullin & Rosemarie L. McMullin Trustees and/or their            578 Sutton Way PMB 223      Bay Pompano Beach                               $12,951.80
        successors under the Phillip E. McMullin & Rosemarie L. McMullin Family Grass Valley, CA
        Trust dated 4/4/80 as amended 3/19/94                                        95945
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint tenants with 2800 A Wrondel Way          Bay Pompano Beach                               $51,807.18
        right of survivorship                                                        Reno, NV
                                                                                     89502
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint tenants with 2800 A Wrondel Way          Beau Rivage Homes/$8,000,000                       $145.99
        right of survivorship                                                        Reno, NV
                                                                                     89502
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint tenants with 2800 A Wrondel Way          Del Valle Isleton                                 $8,260.87
        right of survivorship                                                        Reno, NV
                                                                                     89502
        Phillip M. Rulon & Shirley S. Rulon, husband and wife, as joint tenants with 2800 A Wrondel Way          Preserve at Galleria, LLC                          $800.39
        right of survivorship                                                        Reno, NV
                                                                                     89502
        Phillip W. Dickinson LP, a Nevada limited partnership                        3725 Dorrington Drive       Beau Rivage Homes/$8,000,000                       $145.99
                                                                                     Las Vegas, NV 89129
        Pompeo J. Lombardi, an unmarried man                                         572 Sugarpine Drive         Beau Rivage Homes/$8,000,000                      $7,362.52
                                                                                     Incline Village, NV
                                                                                     89451
        Pompeo J. Lombardi, an unmarried man                                         572 Sugarpine Drive         Preserve at Galleria, LLC                          $220.11
                                                                                     Incline Village, NV
                                                                                     89451
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a married          2660 W Lakeridge Shores     Bay Pompano Beach                               $12,951.80
        woman, as joint tenants with the right of survivorship                       Reno , NV
                                                                                     89509
        Pompeo J. Lombardi, an unmarried man, and Sarah A. Grant, a married          2660 W Lakeridge Shores     Oak Shores II                                   $20,477.82
        woman, as joint tenants with the right of survivorship                       Reno , NV
                                                                                     89509
        Preswick Corp., a Nevada corporation                                         1400 Colorado S Ste C       Bay Pompano Beach                              $103,614.37
                                                                                     Boulder City, NV 89005
        Priscilla M. Guptail, an unmarried woman                                     P O Box 9550                Bay Pompano Beach                               $12,951.80
                                                                                     Bend, OR
                                                                                     97708
        Queen Butcher Trustee of the Separate Property Subtrust of the Butcher       5555 Mount Diablo Drive     Amesbury/Hatters Point                             $679.74
        Family Trust dated 8/30/95                                                   Las Vegas, NV 89118
        R & N Real Estate Investments LP, Robert J. Verchota, General Partner        8365 So Bonita Vista        Bay Pompano Beach                               $77,710.80
                                                                                     Las Vegas, NV
                                                                                     89148
        R & N Real Estate Investments LP, Robert J. Verchota, General Partner        8365 So Bonita Vista        Beastar, LLC                                   $130,753.43
                                                                                     Las Vegas, NV
                                                                                     89148




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In re                 USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        R & N Real Estate Investments LP, Robert J. Verchota, General Partner       8365 So Bonita Vista         Oak Shores II                                   $34,812.29
                                                                                    Las Vegas, NV
                                                                                    89148
        Rachel Riehle, an unmarried woman                                           9962 Westhaven Circle        Cabernet                                         $9,230.77
                                                                                    Westminster, CA 92683
        Ralph C. Holder & Naomi S. Holder Trustees of the Holder Revocable Trust 526 Greenbriar DR               Roam Development Group                            $1,397.97
        dated 10/21/91                                                              Carson City, NV
                                                                                    89701
        Ralph F. Cameron Trustee of the Cameron Survivors Trust dated 12/22/97 25482 Cadillac Dr.                Bay Pompano Beach                               $12,951.80
        For the Benefit of his children John Cameron & Katherine Cameron-           Laguna Hills, CA
        Hoffman                                                                     92653
        Ramon L. Snyder & Linda L. Snyder Trustees of the Ramon L. Snyder &         405 Graeagle Court           Oak Shores II                                   $25,597.27
        Linda L. Snyder Family Trust dated 10/14/98                                 Lincoln, CA
                                                                                    95648
        Ramon Pazos and Maria V. Pazos, husband and wife, as joint tenants with 7653 NW 88th Lane                The Gardens, LLC Timeshare                        $3,399.78
        rights of survivorship                                                      Tamarac, FL 33321
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez Living Trust 5713 N White Sands Rd             Cabernet                                        $11,538.46
        dated 10/13/03                                                              Reno, NV
                                                                                    89511
        Randy M. Sanchez & Sharon Sanchez Trustees of the Sanchez Living Trust 5713 N White Sands Rd             Roam Development Group                            $1,397.97
        dated 10/13/03                                                              Reno, NV
                                                                                    89511
        Raul A. Domiguez, an unmarried man                                          P O Box 1531                 Cabernet                                         $7,846.15
                                                                                    Lovelock, NV
                                                                                    89419
        Raul A. Wood, an unmarried man                                              5211 N Lisa Lane             Amesbury/Hatters Point                             $407.85
                                                                                    Las Vegas, NV
                                                                                    89149
        Ray L. Coffin & Toni H. Coffin, husband & wife, as joint tenants with right 4179 Mentone Avenue          Del Valle Isleton                                 $8,260.87
        of survivorship                                                             Culver City, CA 90232
        Ray Properties, LLC, a Nevada limited liability company                     1202 Jessie Rd               Del Valle Isleton                                 $5,507.26
                                                                                    Henderson, NV
                                                                                    89015
        Ray Properties, LLC, a Nevada limited liability company                     1202 Jessie Rd               Universal Hawaii                                $28,804.73
                                                                                    Henderson, NV
                                                                                    89015
        Raymond C. Moore & Rose Moore, husband & wife, as joint tenants with 902 University Ridge Dr             Oak Shores II                                   $10,238.91
        right of survivorship                                                       Reno, NV
                                                                                    89512
        Raymond E. Brown, a single man dealing with his sole & separate property 24 Danbury lane                 Universal Hawaii                                $16,126.88
                                                                                    Irvine, CA
                                                                                    92618
        Raymond E. Harshman & Margaret E. Harshman Trustees of the Raymond PO Box 716                            Bay Pompano Beach                               $25,903.59
        E. & Margaret Elise Harshman Family Trust dated 3/4/87                      Oceanside, CA 92049
        Raymond G. Hawkins, an unmarried man                                        940 Venetian Shores Blvd.    Bay Pompano Beach                               $24,867.45
                                                                                    Islamorada, FL 33036
        Raymond G. Hawkins, an unmarried man                                        940 Venetian Shores Blvd.    Roam Development Group                            $5,824.85
                                                                                    Islamorada, FL 33036
        Raymond Hornberger & Florence Hornberger Trustee of the Hornberger          1834 Scarborough Drive       Universal Hawaii                                $28,804.73
        Family Trust dated 1/14/03                                                  Columbia, MO 65201
        Raymond J. Healey                                                           330 S. Decatur Blvd #360     Amesbury/Hatters Point                           $8,157.00
                                                                                    Las Vegas, NV 89107
        Raymond J. Healey                                                           330 S. Decatur Blvd #360     Del Valle Isleton                               $19,275.36
                                                                                    Las Vegas, NV 89107
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as joint      120 Danbury Dr               Bay Pompano Beach                               $12,951.80
        tenants with right of survivorship                                          Redding, CA
                                                                                    96003
        Raymond J. Zurfluh, Jr. & Shirley J. Zurfluh, husband & wife, as joint      120 Danbury Dr               Roam Development Group                            $1,397.97
        tenants with right of survivorship                                          Redding, CA
                                                                                    96003
        Raymond M. Smith & Margaret M. Smith Grantors of the Raymond M.             P O Box 1195                 Bay Pompano Beach                               $25,903.59
        Smith Revocable Trust dated 3/12/79                                         Minden, NV
                                                                                    89423




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                                         Debtor                                                                                             (If known)




                                               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                   EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address               Loan Name                 Unremitted Principal
        Raymond Nunez & Sandra L. Lawson Trustees of the The Raymond &              4238 Curragh Oaks lane         Amesbury/Hatters Point                             $679.74
        Sandra Nunez Family Trust                                                   Fair Oaks, CA
                                                                                    95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The Raymond &              4238 Curragh Oaks lane         Freeway 101                                     $41,666.67
        Sandra Nunez Family Trust                                                   Fair Oaks, CA
                                                                                    95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The Raymond &              4238 Curragh Oaks lane         Oak Shores II                                   $15,358.36
        Sandra Nunez Family Trust                                                   Fair Oaks, CA
                                                                                    95628
        Raymond Nunez & Sandra L. Lawson Trustees of the The Raymond &              4238 Curragh Oaks lane         Roam Development Group                            $2,329.94
        Sandra Nunez Family Trust                                                   Fair Oaks, CA
                                                                                    95628
        Raymond Troll Trustee of the Raymond Troll Trust                            77-420- Sky Mesa Lane          Oak Shores II                                   $35,836.18
                                                                                    Indian Wells, CA 92210
        Raymond Troll Trustee of the Raymond Troll Trust                            77-420- Sky Mesa Lane          Roam Development Group                          $26,794.30
                                                                                    Indian Wells, CA 92210
        Rebecca A. Rogers Trustee of the Rebecca A. Rogers Trust dated 9/18/96      2309 Sierra Heights Dr         Roam Development Group                            $1,164.97
                                                                                    Las Vegas, NV
                                                                                    89134
        Rena F. De Hart Trustee of the A. Robert De Hart Trust C dated 1/21/93      2737 Billy Casper Drive        Roam Development Group                            $1,514.46
                                                                                    Las Vegas, NV 89134
        Retirement Accounts Inc C/F Judd Robbins IRA                                1340 Anderson Creek Rd         Del Valle Isleton                                    $0.02
                                                                                    Talent, OR
                                                                                    97540
        Ricardo Giannetti & Rose Giannetti Trustees of the Ricardo & Rose           5295 Via Andalusia             Amesbury/Hatters Point                           $1,359.49
        Giannetti Trust                                                             Yorba Linda, CA 92886
        Richard A. Brening, Sr. and Helen R. Brening Trustees of the Richard A.     656 Goldstrike Court           Bay Pompano Beach                               $12,951.80
        Brening, Sr. and Helen R. Brening Revocable Trust dated 7/17/97             Lincoln, CA 95648
        Richard A. Brening, Sr. and Helen R. Brening Trustees of the Richard A.     656 Goldstrike Court           Beastar, LLC                                    $21,792.24
        Brening, Sr. and Helen R. Brening Revocable Trust dated 7/17/97             Lincoln, CA 95648
        Richard A. Helmberger                                                       2300 Rock Springs Dr # 2044    Beau Rivage Homes/$8,000,000                        $72.99
                                                                                    Las Vegas, NV
                                                                                    89125
        Richard A. Helmberger & Genene M. Helmberger, joint tenants with right      2300 Rock Springs Dr # 2044    Amesbury/Hatters Point                           $5,438.01
        of survivorship                                                             Las Vegas, NV
                                                                                    89125
        Richard A. Johnson, a married man dealing with his sole & separate          PO Box 1844                    Amesbury/Hatters Point                             $679.74
        property                                                                    Zephyr Cove, NV 89448
        Richard A. Johnson, a married man dealing with his sole & separate          PO Box 1844                    Bay Pompano Beach                               $12,951.80
        property                                                                    Zephyr Cove, NV 89448
        Richard A. Nielsen Inc., a California Corporation                           1305 Bonnie Cove Ave           The Gardens, LLC Timeshare                        $3,399.78
                                                                                    Glendora, CA
                                                                                    91740
        Richard C. L. Lee & Estella W. Y. Lee, husband & wife, as joint tenants     1446 35th Avenue               Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                  San Francisco, CA 94122
        Richard Cruise & Margaret Cruise, husband & wife, as joint tenants with     8021 Divernon Avenue           Beau Rivage Homes/$8,000,000                       $145.99
        right of survivorship                                                       Las Vegas, NV
                                                                                    89129
        Richard D. Barzan and Lelia J. Barzan, husband and wife, as joint tenants   7231 Langworth Rd              Bay Pompano Beach                               $51,807.18
        with the right of survivorship                                              Oakdale, CA
                                                                                    95361
        Richard D. Boren & Connie L. Boren Trustees of the Boren Living Trust       7491 SW 86th Way               The Gardens, LLC $2,425,000                     $10,309.28
        dated 6/21/04.                                                              Gainesville, FL
                                                                                    32608
        Richard D. Luthi Trustee of the Richard D. Luthi Trust dated 5/20/93        4908 Womack Circle             Bay Pompano Beach                               $12,951.80
                                                                                    The Colony, TX
                                                                                    75056
        Richard D. Wood Trustee of the Wood Living Trust dated 10/1/99              1075 La Guardia Lane           Roam Development Group                            $4,077.39
                                                                                    Reno, NV 89511
        Richard D. Wood Trustee of the Wood Living Trust dated 10/1/99              1075 La Guardia Lane           Universal Hawaii                                $40,326.62
                                                                                    Reno, NV 89511
        Richard E. Thurmond Limited Partnership, a Nevada limited partnership       749 Willow Ave                 Bay Pompano Beach                               $77,710.80
                                                                                    Henderson, NV
                                                                                    89015




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                                       Debtor                                                                                             (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                           Mailing Address                 Loan Name                  Unremitted Principal
        Richard G. Evans and Dorothy D. Evans, Trustees of The Richard G. Evans 7143 Via Solana                  Bay Pompano Beach                               $12,951.80
        and Dorothy D. Evans Revocable Trust dated 3/5/01                          San Jose, CA
                                                                                   95135
        Richard G. Vrbancic, a single man                                          103 Willowbrook Dr            Bay Pompano Beach                               $12,951.80
                                                                                   Waren, OH 44483
        Richard G. Vrbancic, a single man                                          103 Willowbrook Dr            Beau Rivage Homes/$8,000,000                       $218.98
                                                                                   Waren, OH 44483
        Richard Gralinski Trustee of The Esther & Richard Gralinski Family Trust 7825 Geyser Hill Lane           Beau Rivage Homes/$8,000,000                       $145.99
        dated 10/17/01                                                             Las Vegas, NV 89147
        Richard Ianni, an unmarried man                                            2840 N Ocean Blvd #1004       Freeway 101                                     $83,333.33
                                                                                   Fort Lauderdale , FL 33308
        Richard J. Harris Trustee of the Richard J. Harris Trust dated 1/6/95      2400 West Coast Hwy Suite K   Roam Development Group                            $1,164.97
                                                                                   Newport Beach, CA 92663
        Richard K. Harrison, an unmarried man                                      5463 Sierra Brook Court       Amesbury/Hatters Point                             $271.90
                                                                                   Las Vegas, NV 89129
        Richard L. English, an unmarried man, Transfer on Death to Allison R.      6727 East Swarthmore Drive    Beau Rivage Homes/$8,000,000                       $218.95
        English & Andrea R. English, his daughters equally                         Anaheim, CA 92807
        Richard L. Jagodzinski Trustee of the Richard L. Jagodzinski Trust dated   4615 Monterey Circle # 2      Roam Development Group                            $1,164.97
        4/8/97                                                                     Las Vegas, NV
                                                                                   89109
        Richard N. Dahlke, a married man dealing with his sole & separate property 25 Harmony Lane               Bay Pompano Beach                               $12,951.80
                                                                                   Walnut Creek, CA 94596
        Richard N. Krupp a married man dealing with his sole & separate property 101 State Place Ste. I          Oak Shores II                                   $51,194.54
                                                                                   Escondido, CA
                                                                                   92029
        Richard Retin, a married man dealing with his sole and separate property   1755 Rockhaven Drive          Roam Development Group                            $2,329.94
                                                                                   Reno, NV 89511
        Richard S. Worthen and Stephany Worthen, Trustees of the Richard S.        117 Worthen Circle            The Gardens, LLC $2,425,000                     $20,618.56
        Worthen Family Trust dated 5/4/05                                          Las Vegas, NV
                                                                                   89145
        Richard Small & Jacqueline Small Trustees of the Small Family Trust        4801 N Calle Santa Cruz       Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Prescott Valley, AZ 86314
        Richard Stevenson & Doris Stevenson Trustees of the Stevenson Family       2051 High Mesa Dr             Beau Rivage Homes/$8,000,000                       $145.99
        Trust                                                                      Henderson, NV
                                                                                   89012
        Richard T. Fiory Trustee of the Richard T. Fiory Revocable Trust dated     55 New Montgomery Blvd #805   Bay Pompano Beach                               $12,951.80
        05/30/01                                                                   San Francisco, CA 94105
        Richard T. Todd & Valere J. Todd Trustees of the Todd Family Living        5961 Saddle Tree Rd           Copper Sage Commerce Center, LLC                $17,875.36
        Trust Agreement dated 12/13/01                                             Pahrump, NV 89061
        Richard Z. Evans, an unmarried man                                         10409 Summershade Lane        Bay Pompano Beach                               $25,903.59
                                                                                   Reno, NV 89521
        Richmond Dean II & Jean Dean Trustees of the Dean Family Trust dated       8730 Petite Creek Dr          Bay Pompano Beach                               $12,951.80
        12/26/84                                                                   Orangevale, CA 95662
        Richmond Dean II & Jean Dean Trustees of the Dean Family Trust dated       8730 Petite Creek Dr          Lake Helen Partners                                 $98.02
        12/26/84                                                                   Orangevale, CA 95662
        Richmond Dean II & Jean Dean Trustees of the Dean Family Trust dated       8730 Petite Creek Dr          Oak Shores II                                   $10,238.91
        12/26/84                                                                   Orangevale, CA 95662
        Rifqa Shahin Trustor & Trustee of The Rifqa Shahin Trust dated 6/8/94      19211 Chole Rd                Oak Shores II                                   $10,238.91
                                                                                   Apple Valley, CA 92307
        Rita B. Taylor Trustee of the Rita B. Taylor Revocable Living Trust dated P O Box 81                     Amesbury/Hatters Point                             $271.90
        10/2/96                                                                    McArthur, CA
                                                                                   96056
        Rita K. Malkin Trustee of the Rita K. Malkin Trust dated 7/26/2002         1705 Burwood Circle           Bay Pompano Beach                               $12,951.80
                                                                                   Reno, NV
                                                                                   89521
        Rita P. Anderson Trustee For the Benefit of Rita P. Anderson Trust         211 Copper Ridge Court        Roam Development Group                            $2,329.94
                                                                                   Boulder City, NV 89005
        Robert A. Kehl & Tina M. Kehl, husband & wife, as joint tenants with right 9001 Lincoln Road             Bay Pompano Beach                              $103,614.37
        of survivorship                                                            Fulton, IL 61252
        Robert A. Schell & Ruth M Schell Trustees of the Schell Family Trust dated 855 Blue Spruce Rd            Amesbury/Hatters Point                           $2,882.13
        8/21/92                                                                    Reno, NV
                                                                                   89511




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                                       Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address                Loan Name                 Unremitted Principal
        Robert A. Schell & Ruth M Schell Trustees of the Schell Family Trust dated 855 Blue Spruce Rd           Roam Development Group                            $1,164.97
        8/21/92                                                                     Reno, NV
                                                                                    89511
        Robert A. Susskind, an unmarried man                                        9900 Wilbur May Pkwy #206   Lake Helen Partners                                $196.05
                                                                                    Reno, NV
                                                                                    89521
        Robert A. Susskind, an unmarried man                                        9900 Wilbur May Pkwy #206   Oak Shores II                                   $10,238.91
                                                                                    Reno, NV
                                                                                    89521
        Robert B. Bender & Paula S. Bender, husband & wife, as joint tenants with 733 Champagne                 Bay Pompano Beach                               $64,758.99
        right of survivorship                                                       Incline Village, NV
                                                                                    89451
        Robert C. Toombes and Patsy G. Toombes, husband and wife, as joint          P. O. Box 11665             Oak Shores II                                   $20,477.82
        tenants with the right of survivorship                                      Zephyr Cove, NV
                                                                                    89448
        Robert D. Earp, a married man dealing with his sole & separate property     609 North Laurel            Amesbury/Hatters Point                             $679.74
                                                                                    El Paso, TX
                                                                                    79903
        Robert D. Earp, a married man dealing with his sole & separate property     609 North Laurel            Del Valle Isleton                                 $2,753.64
                                                                                    El Paso, TX
                                                                                    79903
        Robert D. Howard Sr. Trustee of The 2001 Robert D. Howard Sr. Trust         2361 Zuni Avenue            Cabernet                                        $11,538.46
                                                                                    Pahrump, NV
                                                                                    89048
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau Living Trust P O Box 562                     Amesbury/Hatters Point                             $679.74
        dated 9/14/98                                                               Glenbrook, NV
                                                                                    89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau Living Trust P O Box 562                     Bay Pompano Beach                               $12,951.80
        dated 9/14/98                                                               Glenbrook, NV
                                                                                    89413
        Robert D. Mierau & Sandra J. Mierau Trustees of the Mierau Living Trust P O Box 562                     Beastar, LLC                                    $21,792.24
        dated 9/14/98                                                               Glenbrook, NV
                                                                                    89413
        Robert D. Phillips, an unmarried man                                        5382 Edinger Avenue         Cabernet                                         $5,769.23
                                                                                    Huntington Beach, CA
                                                                                    92649
        Robert D. Phillips, an unmarried man                                        5382 Edinger Avenue         Preserve at Galleria, LLC                          $456.22
                                                                                    Huntington Beach, CA
                                                                                    92649
        Robert E. Brooks, a married man dealing with his sole and separate property 1405 14th Ave SW            Bay Pompano Beach                               $12,951.80
                                                                                    Minot, ND
                                                                                    58701
        Robert E. Brooks, a married man, and Candith Brooks, an unmarried           1405 14th Ave SW            Roam Development Group                            $1,164.97
        woman, as joint tenants with the right of survivorship                      Minot, ND
                                                                                    58701
        Robert E. Burnett Jr. married man dealing with his sole & separate property PSC 2 Box 6533              The Gardens, LLC $2,425,000                     $10,309.28
                                                                                    APO, AE
                                                                                    9012
        Robert E. Hughes, an unmarried man                                          3465 Brittlewood Avenue     Roam Development Group                            $1,164.97
                                                                                    Las Vegas, NV 89120
        Robert E. Meldrum, a married man dealing with his sole & separate property 7077 Heatherwood Drive       Oak Shores II                                   $10,238.91
                                                                                    Reno, NV 89523
        Robert E. Meldrum, a married man dealing with his sole & separate property 7077 Heatherwood Drive       Roam Development Group                            $1,164.97
                                                                                    Reno, NV 89523
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust dated           1202 Jessie Rd              Amesbury/Hatters Point                           $1,359.49
        6/28/89                                                                     Henderson, NV
                                                                                    89015
        Robert E. Ray & Peggie Ray Trustees of the Ray Family Trust dated           1202 Jessie Rd              Oak Shores II                                   $10,238.91
        6/28/89                                                                     Henderson, NV
                                                                                    89015
        Robert Eric Brandin and Evelyn Mary Brandin, Trustees of The Brandin        2 La Lomita Street          Roam Development Group                            $1,164.97
        Family Trust dated December 1980 as updated.                                Newbury Park, CA
                                                                                    91320




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In re                 USA Commercial Mortgage Company                               ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                              (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                               Mailing Address               Loan Name                 Unremitted Principal
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family Trust dated   2860 Heybourne Road            Freeway 101                                    $121,666.67
        6/18/02                                                                     Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family Trust dated   2860 Heybourne Road            Oak Shores II                                   $20,477.82
        6/18/02                                                                     Minden, NV 89423
        Robert Essaff & Cindy H. Essaff Trustees of the Essaff Family Trust dated   2860 Heybourne Road            The Gardens, LLC $2,425,000                     $20,618.56
        6/18/02                                                                     Minden, NV 89423
        Robert F. Smith and Terrylin W. Smith, Trustees of the Robert F. and        P O Box 40072                  Oak Shores II                                   $10,238.91
        Terrylin W. Smith Trust dated 2/6/92                                        Reno, NV
                                                                                    89504
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the O'Connor          200 Rainbow Dr #10236          Amesbury/Hatters Point                           $1,359.49
        Revocable Trust UTD 9/17/97                                                 Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the O'Connor          200 Rainbow Dr #10236          Bay Pompano Beach                               $12,951.80
        Revocable Trust UTD 9/17/97                                                 Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the O'Connor          200 Rainbow Dr #10236          Beastar, LLC                                    $21,792.24
        Revocable Trust UTD 9/17/97                                                 Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the O'Connor          200 Rainbow Dr #10236          Beau Rivage Homes/$8,000,000                       $145.99
        Revocable Trust UTD 9/17/97                                                 Livingston, TX 77399
        Robert H. O'Connor & Cathleen B. O'Connor Trustees of the O'Connor          200 Rainbow Dr #10236          Cabernet                                        $28,846.15
        Revocable Trust UTD 9/17/97                                                 Livingston, TX 77399
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H. Perlman & 2877 Paradise Road 3501            Amesbury/Hatters Point                           $1,685.78
        Lynn R. Perlman Trust dated 9/17/92                                         Las Vegas, NV 89109
        Robert H. Perlman & Lynn R. Perlman Trustees of the Robert H. Perlman & 2877 Paradise Road 3501            Beau Rivage Homes/$8,000,000                       $145.99
        Lynn R. Perlman Trust dated 9/17/92                                         Las Vegas, NV 89109
        Robert H. Turner & Nancy A. Turner Trustees of the 1994 Turner Family       60354 Woodside Loop            Bay Pompano Beach                               $51,807.18
        Trust dated 9/23/94                                                         Bend, OR
                                                                                    97702
        Robert Hitchins, an unmarried man                                           5935 30th Ave Apt 214          Amesbury/Hatters Point                             $679.74
                                                                                    Gulfport, FL
                                                                                    33707
        Robert J. Cowen Trustee of the Robert J. Cowen Trust dated 11/7/97          10403 Sawmill Avenue           Bay Pompano Beach                               $18,132.51
                                                                                    Las Vegas, NV 89134
        Robert J. D'Ambrosio, a married man dealing with his sole & separate        14 Madrono Court               Del Valle Isleton                                    $0.01
        property                                                                    Corte Madera, CA 94925
        Robert J. Esperance & Mary A. Esperance Trustees of the Esperance Family 904 Dolce Drive                   Preserve at Galleria, LLC                          $480.23
        Trust Dated December 9, 2004                                                Sparks, NV 89434
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint tenants with right 4963 Mesa Capella Dr           Copper Sage Commerce Center, LLC               $357,507.24
        of survivorship                                                             Las Vegas, NV
                                                                                    89148
        Robert J. Kehl & Ruth Ann Kehl, husband & wife, as joint tenants with right 4963 Mesa Capella Dr           Freeway 101                                    $250,000.00
        of survivorship                                                             Las Vegas, NV
                                                                                    89148
        Robert J. Moretto & Josephine Moretto Trustees of the Moretto Family        3211 Baker Street              Bay Pompano Beach                               $12,951.80
        Living Trust dated 9/19/94                                                  San Francisco, CA
                                                                                    94123
        Robert J. Yoder & Nancy R. Davis Trustees of the Davis Yoder Trust dated 12261 Prosser Dam Road            Universal Hawaii                                $43,207.07
        2/16/00                                                                     Truckee, CA
                                                                                    96161
        Robert J. Yoder Trustee of the Robert J. Yoder Defined Benefit Plan         12261 Prosser Dam Rd           Bay Pompano Beach                               $19,427.69
                                                                                    Truckee, CA
                                                                                    96161
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L. Allgeier       1767 Shamrock Circle           Freeway 101                                     $83,333.33
        Family Trust dated 10/4/97                                                  Minden, NV 89423
        Robert L. Allgeier & Donna L. Allgeier Trustees of the R. L. Allgeier       1767 Shamrock Circle           Universal Hawaii                                $57,609.45
        Family Trust dated 10/4/97                                                  Minden, NV 89423
        Robert L. Herpst Trustee of the Herpst Family Trust dated 8/16/90           1805 Royal Birkdale Drive      Beau Rivage Homes/$8,000,000                       $437.96
                                                                                    Boulder City, NV 89005
        Robert L. Lowe & Mary M. Lowe Trustees of the Lowe Family Trust             225 Garfield Drive             Amesbury/Hatters Point                             $543.80
                                                                                    Henderson, NV 89074
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren Trust dated 3768 Rick Stratton Drive        Amesbury/Hatters Point                           $3,398.74
        6/30/92                                                                     Las Vegas, NV
                                                                                    89120
        Robert L. Ogren Trustee for the benefit of the Robert L. Ogren Trust dated 3768 Rick Stratton Drive        Beau Rivage Homes/$8,000,000                       $204.36
        6/30/92                                                                     Las Vegas, NV
                                                                                    89120




SCHEDULES                                                                               Exhibit F-1                                                               PAGE 70
